      CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 1 of 202




                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MINNESOTA

 JAMES BRUNER, JOSE LUNA, CLINT                    No. 18-CV-0939 (WMW-DTS)
 HALVORSROD, ROBERT LENZ,
 MICHAEL ZEECK, JIMMY GUTHRIE,                     JURY TRIAL DEMANDED
 CHAD ROGERS, RICHARD BERENS,
 MICHAEL JACKS, BENJAMIN ELKIN,
 LES TURGEON, BRYAN FORREST,
 ISAAC RODRIGUEZ, and ED BEATTIE,
 individually and on behalf of all others
 similarly situated,

                    Plaintiffs,

    v.

 POLARIS INDUSTRIES, INC. and
 POLARIS SALES INC.

                    Defendants.



      FIRST AMENDED CONSOLIDATED CLASS ACTION COMPLAINT

         Plaintiffs James Bruner, Jose Luna, Clint Halvorsrod, Robert Lenz, Michael Zeeck,

Jimmy Guthrie, Chad Rogers, Richard Berens, Michael Jacks, Benjamin Elkin, Les

Turgeon, Bryan Forrest, Isaac Rodriguez, and Ed Beattie, individually and on behalf of the

other members of the below-defined nationwide and statewide classes (collectively, the

“Class”), hereby allege against Defendants Polaris Industries, Inc. and Polaris Sales, Inc.

(collectively, “Polaris”), upon personal knowledge as to themselves and their own acts, and

as to all other matters upon information and belief, based upon investigation of counsel, as

follows:
      CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 2 of 202




                               I.     INTRODUCTION

       1.     This action concerns recreational off-road vehicles (“ROVs”) manufactured

by Polaris that all suffer from a common design defect (the “Excessive Heat Defect”). As

described in detail below, the Excessive Heat Defect immediately affects all Class

Vehicles1 because it degrades the Class Vehicles’ component parts, reduces the Class

Vehicles’ service life, and makes them vulnerable to catastrophic fires. In certain cases,

the Excessive Heat Defect has also led to personal injury and even death.

       2.     For almost a decade, Polaris has been the industry leader in off-road vehicle

sales. In 2018, Polaris sold more than 500,000 off-road vehicles for net sales of $6.08

billion. Polaris’s off-road vehicles include the popular Ranger and RZR lines.

       3.     The Class Vehicles are equipped with an unusually high-powered “ProStar”

engine that is located directly behind the occupant compartment in a tight space that

restricts airflow and provides the surrounding components with little clearance from the

hot exhaust and the complex series of heat shields. The ProStar’s exhaust gas exits the

engine via the exhaust manifold head pipe, which is routed forward toward the occupants,

then turns 180 degrees, creating a U-shape, where it is connected to the remainder of the

exhaust piping, located longitudinally in the engine compartment along the upper right side



1
 The Class Vehicles are the: 2011-2014 RZR XP 900 series, 2012-2018 RZR 570 series,
2014-2018 RZR XP 1000 series, 2015-2018 RZR 900 and S 900 series, 2016-2018 RZR
XP Turbo series, 2016-2018 General 1000 series, 2014-2018 Ranger XP 900 series,
2017-2018 Ranger XP 1000, 2014-2018 Ranger Crew XP 900, 2014-2018 Ranger 570
series, 2014-2018 Ranger 570 Crew series, 2017-2018 Ranger 500, 2017-2018 Ace 500,
2017-2018 Ace 570, and 2017-2018 Ace 900.


                                            2
      CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 3 of 202




of the engine head and attached to the silencer (the muffler), which is mounted at the rear

of the vehicle inches from the back of the engine, where the exhaust is released.

       4.     The exhaust manifold and piping that makes up the system lacks proper

ventilation and relies on a series of complex heat shields that provide inadequate thermal

protection from the design and retain high temperatures. These heat shields are positioned

within inches of surrounding components, many of which are made of vulnerable,

combustible plastic. Thus, the hottest area of this high-performance engine is located

inches behind the occupants, in an enclosed area of the vehicle with little room for airflow

to dissipate the high heat. The extremely high temperatures, combined with inadequate

cooling and heat shielding, result in the degradation and melting of the surrounding

components, including fuel system components, leading to a reduced life cycle and

compromised parts and assemblies. Further, the ignition of any combustible material in

the area surrounding the engine, including organic debris routinely encountered in normal

use, melting components, and engine fluids, has resulted in hundreds of fires.

       5.     The Excessive Heat Defect is exacerbated by a design with limited clearances

between the exhaust system and plastic body components, as well as critical hoses, wiring,

and fuel and brake lines, which are continually exposed to high temperatures that are

retained in close proximity. Normal vehicle use causes vibration and movement of these

components, which can further reduce the already close proximity to high thermal

conditions, as do even small assembly variations.

       6.     This design stands in stark contrast to the design described in the 2006 patent

application for the vehicle that became the RZR. That patent application disclosed a 50-


                                             3
       CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 4 of 202




horsepower engine that exhausted to the right side of the vehicle, rather than in an enclosed

compartment directly forward toward the occupants, thus allowing for more efficient

engine/exhaust cooling.

       7.     Since 2013, Polaris has recalled, at different times, all of the Class Vehicles

due to the fire hazards that have caused more than 250 fires, in excess of 30 severe injuries,

and at least three deaths.

       8.     None of these recalls, however, addressed the root problem (the defectively

designed ProStar engine/exhaust configuration) that leads to the Class Vehicles emitting

excessive heat. Therefore, Polaris’s recalls have failed to remedy the effects on vehicle

owners. Indeed, vehicles repaired by Polaris under its ineffective recalls have still caught

fire and otherwise continued to subject Plaintiffs and Class members to acute safety risks.

       9.     Although Polaris has blamed multiple root causes for the excessive heat and

fire risk in its RZR and Ranger vehicles, it has failed to disclose the ultimate cause of this

design defect. It has also failed to warn vehicle owners that even if their vehicle does not

exhibit visible damage or catch fire, unseen damage occurs, such as thermal degradation

of components.

       10.    Every Class Vehicle has a ProStar engine located directly behind the

occupant compartment in a tight space that allows for excessive heat generation. In fact,

the first recall for this excessive heat and fire risk in 2013 began with the first model to

receive the ProStar engine – the 2011 RZR XP 900.




                                              4
      CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 5 of 202




       11.    As a cost-saving measure, Polaris designed the ProStar engine in-house

rather than outsourcing. The design process was rushed, and upon information and belief,

Polaris failed to take adequate time to design and test the engine and its new placement.

       12.    In rushing the Class Vehicles to market, Polaris failed to design and install

components necessary for safe operation. This includes: (1) exhaust system component

parts that adequately manage high heat; (2) heat shielding made with higher grade materials

and securement to protect vulnerable components, including plastic body panels and

critical hoses, wiring, and fuel and brake lines; (3) materials that are high-heat tolerant or

fire-resistant in place of combustible plastics; and (4) more robust or additional cooling

fans. Polaris also failed to create a design that correctly positions high-temperature exhaust

components for better thermal dissipation and provides additional airflow to dissipate heat

and improve efficiency of the closed cooling system.

       13.    There are numerous aftermarket products available for Class Vehicles,

ranging from fans to heat shields and wraps, intended to reduce the engine compartment

temperatures and protect various components from continued exposure to extreme heat.

The sellers of these products, which owners do not discover until they start looking for heat

mitigation solutions, provide designs that are responding to a market need and frequently

note that Polaris vehicles run hotter than they should.

       14.    Although engines and exhaust systems in all ROVs typically generate high

temperatures, Polaris’s competitors mitigate the high temperatures by designing and

packaging their engines and exhaust systems in a way that allows for rapid heat dissipation.




                                              5
      CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 6 of 202




       15.    Polaris has concealed from Plaintiffs, Class members, and the public the full

and complete nature of the Excessive Heat Defect, and that it has failed to develop an

adequate, permanent fix for the defect. In fact, Polaris is aware that the best fix is a

significant redesign of all Class Vehicles, which is likely unavailable to Class members.

In absence of significant redesign, the Class Vehicles require an extensive combination of

mitigating measures, which Polaris has failed to offer. Instead, it has implemented several

band-aid repairs that even Polaris has acknowledged are ineffective.

       16.    Class Vehicle owners and lessees are unable to operate their Class Vehicles

without putting themselves at risk of injury and property damage due to the Excessive Heat

Defect, the thermal degradation of component parts that occurs due to the Excessive Heat

Defect, and the fire hazard the Excessive Heat Defect presents.

       17.    Because of this misconduct, Plaintiffs and Class members have suffered

actual damages. Plaintiffs and Class members did not receive the benefit of their bargain;

rather, they purchased vehicles that are of a lesser standard, grade, and quality than

represented, and they did not receive vehicles that met ordinary and reasonable consumer

expectations regarding safe and reliable operation. Purchasers of the Class Vehicles either

would have not purchased the vehicles at all or would have paid significantly less had the

Excessive Heat Defect been disclosed. Plaintiffs and Class Members were deprived of a

safe, defect-free Class Vehicle. Polaris has unjustly benefited from their unconscionable

delay in recalling their defective Class Vehicles, as they have avoided the cost of repairing,

if even possible, the Class Vehicles for many years.




                                              6
      CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 7 of 202




       18.    Plaintiffs and Class members also suffered damages because of Polaris’s

concealment and suppression of the facts concerning the safety, quality, and reliability of

their vehicles with the Excessive Heat Defect.          Polaris’s false representations and

omissions concerning the safety and reliability of those vehicles, and their concealment of

the known safety defects plaguing their vehicles and brands, caused Plaintiffs and Class

members to purchase or retain vehicles of diminished value.

                        II.        JURISDICTION AND VENUE

       19.    This Court has diversity jurisdiction over this action under 28 U.S.C.

§§ 1332(a) and (d) because the amount in controversy for the Class exceeds $5,000,000

and Plaintiffs and one or more of the other Class members are citizens of a different state

than Defendants.

       20.    This Court has personal jurisdiction over Polaris Industries, Inc. and Polaris

Sales, Inc. because each of these entities has its principal place of business in the State of

Minnesota, and in this district.

       21.    Venue is proper in this district under 28 U.S.C. § 1391 because Polaris

Industries, Inc. and Polaris Sales, Inc. reside in this district. Additionally, Polaris has

marketed, advertised, sold, and leased Class Vehicles within this district.

                                    III.    PARTIES

A.     Plaintiffs

       1.     Alabama

       22.    Plaintiff James Bruner is a citizen of Alabama and a resident of Tallassee,

Alabama.


                                              7
      CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 8 of 202




      23.    Plaintiff Bruner purchased a new 2017 Polaris Ranger XP 900 (for purposes

of this paragraph, “Class Vehicle”) from Shoals Outdoor Sports in Tuscumbia, Alabama

in 2017.

      24.    When Plaintiff Bruner purchased his Class Vehicle, he reasonably expected

that it would not emit excessive heat during his use, have its component parts suffer from

exacerbated thermal degradation due to the Excessive Heat Defect, and would not pose a

significant and unreasonable safety risk. Plaintiff Bruner operated his Class Vehicle in a

reasonably foreseeable manner and as Polaris intended it to be used. Nonetheless, Plaintiff

Bruner’s Class Vehicle generates excessive heat due to the Excessive Heat Defect.

      25.    Plaintiff Bruner purchased his Class Vehicle without knowledge of the

Excessive Heat Defect.

      26.    Before purchasing his Class Vehicle, Plaintiff Bruner reviewed Defendants’

promotional materials regarding his Class Vehicle. Plaintiff Bruner also conducted online

research on Defendants’ website and viewed Defendants’ commercials about his Class

Vehicle on television. Plaintiff Bruner also discussed his Class Vehicle prior to his

purchase with a salesperson at Shoals Outdoor Sports in Tuscumbia, Alabama. Had

Defendants disclosed their knowledge of the Excessive Heat Defect, Plaintiff Bruner would

have seen and been aware of it.

      27.    When Plaintiff Bruner purchased his Class Vehicle, he reasonably expected

that it would not emit excessive heat. Plaintiff Bruner suffered injury-in-fact and lost

money as a result of the conduct at issue. Had Defendants disclosed the existence of the

Excessive Heat Defect, and the fact that the component parts on Plaintiff Bruner’s Class


                                            8
       CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 9 of 202




Vehicle would not only degrade from normal use of the Class Vehicle, but that the defect

also poses a significant and unreasonable safety risk, he would not have purchased the

vehicle or would have paid significantly less. Indeed, as part of the purchase of his Class

Vehicle, Plaintiff Bruner believed he was paying for a safe, functioning vehicle, which did

not contain a known design defect, but that is not what he received.

       2.     California

       28.    Plaintiff Jose Luna is a citizen of California and a resident of El Monte,

California.

       29.    Plaintiff Luna purchased a new 2018 Polaris RZR 4 XP Turbo (for purposes

of this paragraph, “Class Vehicle”) from Mountain Motorsports in Ontario, California on

or around February 9, 2018.

       30.    When Plaintiff Luna purchased his Class Vehicle, he reasonably expected

that it would not emit excessive heat during his use, have its component parts suffer from

exacerbated thermal degradation due to the Excessive Heat Defect, and would not pose a

significant and unreasonable safety risk. Plaintiff Luna operated his Class Vehicle in a

reasonably foreseeable manner and as Polaris intended it to be used. Nonetheless, Plaintiff

Luna’s Class Vehicle generated excessive heat due to the Excessive Heat Defect. Plaintiff

Luna’s Class Vehicle caught fire during operation and burned within one hour of its initial

operation. Luckily, no one suffered personal injuries as a result. However, Plaintiff Luna’s

Class Vehicle is a total loss.

       31.    Plaintiff Luna purchased his Class Vehicle without knowledge of the

Excessive Heat Defect.


                                             9
      CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 10 of 202




       32.    Before purchasing his Class Vehicle, Plaintiff Luna communicated with

friends who told him Polaris products like his Class Vehicle were good. Plaintiff also

discussed his Class Vehicle prior to his purchase with a salesperson at Mountain

Motorsports in Ontario, California. Had Defendants disclosed their knowledge of the

Excessive Heat Defect, Plaintiff Luna would have heard, seen and been aware of it.

       33.    When Plaintiff Luna purchased his Class Vehicle, he reasonably expected

that it would not emit excessive heat. Plaintiff Luna suffered injury-in-fact and lost money

as a result of the conduct at issue because had Defendants disclosed the existence of the

Excessive Heat Defect and the fact that the component parts on Plaintiff Luna’s Class

Vehicle would not only degrade from normal use of the Class Vehicle, but that the defect

also posed a significant and unreasonable safety risk, he would not have purchased the

vehicle or would have paid significantly less. Indeed, as part of the purchase of his Class

Vehicle, Plaintiff Luna believed he was paying for a safe, functioning vehicle, which did

not contain a known design defect, but that is not what he received.

       3.     Florida

       34.    Plaintiff Clint Halvorsrod is a citizen of Florida and a resident of Plant City,

Florida.

       35.    Plaintiff Halvorsrod purchased a new 2017 Ranger 1000 Highlifter (for

purposes of this paragraph, “Class Vehicle”) from Sky Powersports in Lakeland, Florida

in or around June 30, 2017.

       36.    When Plaintiff Halvorsrod purchased his Class Vehicle, he reasonably

expected that it would not emit excessive heat during his use, have its component parts


                                             10
      CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 11 of 202




suffer from exacerbated thermal degradation due to the Excessive Heat Defect, and would

not pose a significant and unreasonable safety risk. Plaintiff Halvorsrod operated his Class

Vehicle in a reasonably foreseeable manner and as Polaris intended it to be used.

Nonetheless, Plaintiff Halvorsrod’s Class Vehicle generated excessive heat due to the

Excessive Heat Defect. In September 2017, with only thirteen hours on the meter, Plaintiff

Halvorsrod’s Class Vehicle caught fire while operating—resulting in a total loss of the

vehicle.

       37.    Plaintiff Halvorsrod purchased his Class Vehicle without knowledge of the

Excessive Heat Defect.

       38.    Before purchasing his Class Vehicle, Plaintiff Halvorsrod reviewed

Defendants’ promotional materials regarding his Class Vehicle. Plaintiff Halvorsrod also

conducted online research on Defendants’ website and viewed Defendants’ commercials

about his Class Vehicle on television. Plaintiff Halvorsrod also discussed his Class Vehicle

prior to their purchase with a salesperson at Sky Powersports in Lakeland, Florida. Had

Defendants disclosed their knowledge of the Excessive Heat Defect, Plaintiff Halvorsrod

would have seen and been aware of it.

       39.    When Plaintiff Halvorsrod purchased his Class Vehicle, he reasonably

expected that it would not emit excessive heat. Plaintiff Halvorsrod suffered injury-in-fact

and lost money as a result of the conduct at issue. Had Defendants disclosed the existence

of the Excessive Heat Defect, and the fact that the component parts on Plaintiff

Halvorsrod’s Class Vehicle would not only degrade from normal use of the Class Vehicle,

but that the defect also posed a significant and unreasonable safety risk, he would not have


                                            11
        CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 12 of 202




purchased the vehicle or would have paid significantly less. Indeed, as part of the purchase

of his Class Vehicle, Plaintiff Halvorsrod believed he was paying for a safe, functioning

vehicle, which did not contain a known design defect, but that is not what he received.

        4.    Georgia

        40.   Plaintiff Robert Lenz is a citizen of Georgia and a resident of Columbus,

Georgia.

        41.   Plaintiff Lenz purchased a new 2017 RZR 1000 Highlifter (for purposes of

this paragraph, “Class Vehicle”) from Extreme Power Sports in Columbus, Georgia in

2017.

        42.   When Plaintiff Lenz purchased his Class Vehicle, he reasonably expected

that it would not emit excessive heat during his use, have its component parts suffer from

exacerbated thermal degradation due to the Excessive Heat Defect, and would not pose a

significant and unreasonable safety risk. Plaintiff Lenz operates his Class Vehicle in a

reasonably foreseeable manner and as Polaris intended it to be used. Nonetheless, Plaintiff

Lenz’s Class Vehicle generates excessive heat due to the Excessive Heat Defect.

        43.   Plaintiff Lenz purchased his Class Vehicle without knowledge of the

Excessive Heat Defect.

        44.   Before purchasing his Class Vehicle, Plaintiff Lenz reviewed Defendants’

promotional materials regarding his Class Vehicle. Plaintiff Lenz also conducted online

research on Defendants’ website and viewed Defendants’ commercials about his Class

Vehicle on television. Plaintiff Lenz also discussed his Class Vehicle prior to his purchase

with a salesperson at Extreme Power Sports in Columbus, Georgia. Had Defendants


                                            12
      CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 13 of 202




disclosed their knowledge of the Excessive Heat Defect, Plaintiff Lenz would have seen

and been aware of it.

        45.   When Plaintiff Lenz purchased his Class Vehicle, he reasonably expected

that it would not emit excessive heat. Plaintiff Lenz suffered injury-in-fact and lost money

as a result of the conduct at issue. Had Defendants disclosed the existence of the Excessive

Heat Defect, and the fact that the component parts on Plaintiff Lenz's Class Vehicle would

not only degrade from normal use of the Class Vehicle, but that the defect also poses a

significant and unreasonable safety risk, he would not have purchased the vehicle or would

have paid significantly less. Indeed, as part of the purchase of his Class Vehicle, Plaintiff

Lenz believed he was paying for a safe, functioning vehicle, which did not contain a known

design defect, but that is not what he received.

        5.    Illinois

        46.   Plaintiff Michael Zeeck is a citizen of Illinois and a resident of Rushville,

Illinois.

        47.   Plaintiff Zeeck purchased a new 2017 RZR XP 1000 (for purposes of this

paragraph, “Class Vehicle”) from Outdoor Power in Quincy, Illinois in 2017.

        48.   When Plaintiff Zeeck purchased his Class Vehicle, he reasonably expected

that it would not emit excessive heat during his use, have its component parts suffer from

exacerbated thermal degradation due to the Excessive Heat Defect, and would not pose a

significant and unreasonable safety risk. Plaintiff Zeeck operated his Class Vehicle in a

reasonably foreseeable manner and as Polaris intended it to be used. Nonetheless, Plaintiff

Zeeck’s Class Vehicle generates excessive heat due to the Excessive Heat Defect.


                                             13
         CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 14 of 202




         49.   Plaintiff Zeeck purchased his Class Vehicle without knowledge of the

Excessive Heat Defect.

         50.   Before purchasing his Class Vehicle, Plaintiff Zeeck reviewed Defendants’

promotional materials regarding his Class Vehicle. Plaintiff Zeeck also conducted online

research on Defendants’ website and viewed Defendants’ commercials about his Class

Vehicle on television. Plaintiff Zeeck also discussed his Class Vehicle prior to his purchase

with a salesperson at Outdoor Power in Quincy, Illinois. Had Defendants disclosed their

knowledge of the Excessive Heat Defect, Plaintiff Zeeck would have seen and been aware

of it.

         51.   When Plaintiff Zeeck purchased his Class Vehicle, he reasonably expected

that it would not emit excessive heat. Plaintiff Zeeck suffered injury-in-fact and lost money

as a result of the conduct at issue. Had Defendants disclosed the existence of the Excessive

Heat Defect, and the fact that the component parts on Plaintiff Zeeck’s Class Vehicle would

not only degrade from normal use of the Class Vehicle, but that the defect also poses a

significant and unreasonable safety risk, he would not have purchased the vehicle or would

have paid significantly less. Indeed, as part of the purchase of his Class Vehicle, Plaintiff

Zeeck believed he was paying for a safe, functioning vehicle, which did not contain a

known design defect, but that is not what he received.

         6.    Louisiana

         52.   Plaintiff Jimmy Guthrie is a citizen of Louisiana and a resident of

Ponchatoula, Louisiana.




                                             14
      CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 15 of 202




       53.    Plaintiff Guthrie purchased a new 2017 Ranger 1000 (for purposes of this

paragraph, “Class Vehicle”) from ATV Zone in Roseland, Louisiana on July 11, 2017.

       54.    When Plaintiff Guthrie purchased his Class Vehicle, he reasonably expected

that it would not emit excessive heat during his use, have its component parts suffer from

exacerbated thermal degradation due to the Excessive Heat Defect, and would not pose a

significant and unreasonable safety risk. Plaintiff Guthrie operated his Class Vehicle in a

reasonably foreseeable manner and as Polaris intended it to be used. Nonetheless, Plaintiff

Guthrie’s Class Vehicle generated excessive heat due to the Excessive Heat Defect.

Indeed, he smelled the odor of cooking components and noticed excessive heat radiating

from the engine compartment. Plaintiff Guthrie’s 2014 Ranger 1000 caught fire on

September 6, 2018, and it burned until the engine and bed were destroyed. Plaintiff Guthrie

extinguished the fire with a garden hose. Plaintiff Guthrie, who was riding alone, turned

around to see flames coming from the engine area. Plaintiff Guthrie was able to jump off

moments before the vehicle went up in flames.

       55.    Plaintiff Guthrie purchased his Class Vehicle without knowledge of the

Excessive Heat Defect.

       56.    Before purchasing his Class Vehicle, Plaintiff Guthrie discussed his Class

Vehicle prior to his purchase with a salesperson and test drove his vehicle at ATV Zone.

Had Defendants disclosed their knowledge of the Excessive Heat Defect, Plaintiff Guthrie

would have seen and been aware of it.

       57.    When Plaintiff Guthrie purchased his Class Vehicle, he reasonably expected

that it would not emit excessive heat. Plaintiff Guthrie suffered injury-in-fact and lost


                                            15
      CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 16 of 202




money as a result of the conduct at issue. Had Defendants disclosed the existence of

Excessive Heat Defect, and the fact that the component parts on his Class Vehicle would

not only degrade from normal use of the Class Vehicle, but that the defect also posed a

significant and unreasonable safety risk, he would not have purchased the vehicle or would

have paid significantly less. Indeed, as part of the purchase of his Class Vehicle, Plaintiff

Guthrie believed he was paying for a safe, functioning vehicle, which did not contain a

known design defect, but that is not what he received.

       7.     Michigan

       58.    Plaintiff Chad Rogers is a citizen of Michigan and a resident of Jackson,

Michigan.

       59.    Plaintiff Rogers purchased a new 2015 RZR 900 (for purposes of this

paragraph, “Class Vehicle”) from T&C Powersports in Jackson, Michigan in or around

July 2015.

       60.    When Plaintiff Rogers purchased his Class Vehicle, he reasonably expected

that it would not emit excessive heat during his use, have its component parts suffer from

exacerbated thermal degradation due to the Excessive Heat Defect, and would not pose a

significant and unreasonable safety risk. Plaintiff Rogers operated his Class Vehicle in a

reasonably foreseeable manner and as Polaris intended it to be used. Nonetheless, Plaintiff

Rogers’s Class Vehicle generated excessive heat due to the Excessive Heat Defect.

Plaintiff Rogers’s 2015 RZR 900 caught fire the day after he purchased the vehicle, and it

burned until the frame melted and the vehicle was completely destroyed. Plaintiff Rogers

had been riding with his wife, who turned around to see flames coming from the engine


                                             16
      CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 17 of 202




area. Plaintiff Rogers and his wife were able to jump off, and they watched as their vehicle

went up in flames. Plaintiff Rogers’ wife suffered burns on her hands and ear.

       61.    Plaintiff Rogers purchased his Class Vehicle without knowledge of the

Excessive Heat Defect.

       62.    Before purchasing his Class Vehicle, Plaintiff Rogers reviewed Defendants’

promotional materials regarding his Class Vehicle. Plaintiff also conducted online research

on Defendants’ website. Plaintiff also discussed his Class Vehicle prior to his purchase

with a salesperson at T&C Powersports. Had Defendants disclosed their knowledge of the

Excessive Heat Defect, Plaintiff Rogers would have seen and been aware of it.

       63.    When Plaintiff Rogers purchased his Class Vehicle, he reasonably expected

that it would not emit excessive heat. Plaintiff Rogers suffered injury-in-fact and lost

money as a result of the conduct at issue. Had Polaris disclosed the existence of the

Excessive Heat Defect, and the fact that the component parts on Plaintiff Rogers’ Class

Vehicle would not only degrade from normal use of the Class Vehicle, but that the defect

also posed a significant and unreasonable safety risk, he would not have purchased the

vehicle or would have paid significantly less. Indeed, as part of the purchase of his Class

Vehicle, Plaintiff Rogers believed he was paying for a safe, functioning vehicle, which did

not contain a known design defect, but that is not what he received.

       8.     Minnesota

       64.    Plaintiff Richard Berens is a citizen of Minnesota and a resident of Finland,

Minnesota.




                                            17
        CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 18 of 202




        65.   Plaintiff Berens purchased a new 2017 General 4 1000 (for purposes of this

paragraph, “Class Vehicle”) from Chopper City Sports in Fridley, Minnesota in December

2017.

        66.   When Plaintiff Berens purchased his Class Vehicle, he reasonably expected

that it would not emit excessive heat during his use, have its component parts suffer from

exacerbated thermal degradation due to the Excessive Heat Defect, and would not pose a

significant and unreasonable safety risk. Plaintiff Berens operates his Class Vehicle in a

reasonably foreseeable manner and as Polaris intended it to be used. Nonetheless, Plaintiff

Berens’s Class Vehicle generates excessive heat due to the Excessive Heat Defect.

        67.   Plaintiff Berens purchased his Class Vehicle without knowledge of the

Excessive Heat Defect.

        68.   Before purchasing his Class Vehicle, Plaintiff Berens reviewed Defendants’

promotional materials regarding his Class Vehicle. Plaintiff also conducted online research

on Defendants’ website and discussed his Class Vehicle prior to his purchase with a

salesperson at Chopper City Sports. Had Defendants disclosed their knowledge of the

Excessive Heat Defect, Plaintiff Berens would have seen and been aware of it.

        69.   When Plaintiff Berens purchased his Class Vehicle, he reasonably expected

that it would not emit excessive heat. Plaintiff Berens suffered injury-in-fact and lost

money as a result of the conduct at issue. Had Defendants disclosed the existence of the

Excessive Heat Defect, and the fact that the component parts on Plaintiff Berens’s Class

Vehicle would not only degrade from normal use of the Class Vehicle, but that the defect

also poses a significant and unreasonable safety risk, he would not have purchased the


                                            18
      CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 19 of 202




vehicle or would have paid significantly less. Indeed, as part of the purchase of his Class

Vehicle, Plaintiff Berens believed he was paying for a safe, functioning vehicle, which did

not contain a known design defect, but that is not what he received.

       9.     Ohio

       70.    Plaintiff Michael Jacks is a citizen of Ohio and a resident of Syracuse, Ohio.

       71.    Plaintiff Jacks purchased a new 2015 Ranger XP 900 (for purposes of this

paragraph, “Class Vehicle”) from Don Wood Polaris in Athens, Ohio in 2015.

       72.    When Plaintiff Jacks purchased his Class Vehicle, he reasonably expected

that it would not emit excessive heat during his use, have its component parts suffer from

exacerbated thermal degradation due to the Excessive Heat Defect, and would not pose a

significant and unreasonable safety risk. Plaintiff Jacks operates his Class Vehicle in a

reasonably foreseeable manner and as Polaris intended it to be used. Nonetheless, Plaintiff

Jacks’s Class Vehicle generates excessive heat due to the Excessive Heat Defect.

       73.    Plaintiff Jacks purchased his Class Vehicle without knowledge of the

Excessive Heat Defect.

       74.    Before purchasing his Class Vehicle, Plaintiff Jacks reviewed Defendants’

promotional materials regarding his Class Vehicle and viewed Defendants’ commercials

on television. Plaintiff also discussed his Class Vehicle prior to his purchase with a

salesperson at Don Woods Polaris. Had Defendants disclosed their knowledge of the

Excessive Heat Defect, Plaintiff Jacks would have seen and been aware of it.

       75.    When Plaintiff Jacks purchased his Class Vehicle, he reasonably expected

that it would not emit excessive heat. Plaintiff Jacks suffered injury-in-fact and lost money


                                             19
      CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 20 of 202




as a result of the conduct at issue. Had Defendants disclosed the existence of the Excessive

Heat Defect, and the fact that the component parts on Plaintiff Jacks’s Class Vehicle would

not only degrade from normal use of the Class Vehicle, but that the defect also poses a

significant and unreasonable safety risk, he would not have purchased the vehicle or would

have paid significantly less. Indeed, as part of the purchase of his Class Vehicle, Plaintiff

Jacks believed he was paying for a safe, functioning vehicle, which did not contain a known

design defect, but that is not what he received.

       10.    Pennsylvania

       76.    Plaintiff Benjamin Elkin is a citizen of Pennsylvania and a resident of

Marion, Pennsylvania.

       77.    Plaintiff Elkin purchased a new 2016 Ranger XP 900 (for purposes of this

paragraph, “Class Vehicle”) from East American Motorsports in Punxsutawney,

Pennsylvania on or around March 2016.

       78.    When Plaintiff Elkin purchased his Class Vehicle, he reasonably expected

that it would not emit excessive heat during his use, have its component parts suffer from

exacerbated thermal degradation due to the Excessive Heat Defect, and would not pose a

significant and unreasonable safety risk. Plaintiff Elkin operated his Class Vehicle in a

reasonably foreseeable manner and as Polaris intended it to be used. Nonetheless, Plaintiff

Elkin’s Class Vehicle generated excessive heat due to the Excessive Heat Defect. Plaintiff

Elkin was driving his 2016 Ranger XP when it caught fire. Plaintiff Elkin was able to jump

out of the vehicle. The vehicle burned to the ground.




                                             20
         CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 21 of 202




         79.   Plaintiff Elkin purchased his Class Vehicle without knowledge of the

Excessive Heat Defect.

         80.   Before purchasing his Class Vehicle, Plaintiff Elkin reviewed Defendants’

promotional materials regarding his Class Vehicle. Plaintiff also conducted online research

on Defendants’ website. Plaintiff also discussed his Class Vehicle prior to his purchase

with a salesperson at East American Motorsports. Had Defendants disclosed their

knowledge of the Excessive Heat Defect, Plaintiff Elkin would have seen and been aware

of it.

         81.   When Plaintiff Elkin purchased his Class Vehicle, he reasonably expected

that it would not emit excessive heat. Plaintiff Elkin suffered injury-in-fact and lost money

as a result of the conduct at issue. Had Defendants disclosed the existence of Excessive

Heat Defect, and the fact that the component parts on his Class Vehicle would not only

degrade from normal use of the Class Vehicle, but that the defect also posed a significant

and unreasonable safety risk, he would not have purchased the vehicle or would have paid

significantly less. Indeed, as part of the purchase of his Class Vehicle, Plaintiff Elkin

believed he was paying for a safe, functioning vehicle, which did not contain a known

design defect, but that is not what he received.

         11.   South Dakota

         82.   Plaintiff Les Turgeon is a citizen of South Dakota and a resident of Spearfish,

South Dakota.

         83.   Plaintiff Turgeon purchased a new/used 2014 Ranger 570 (for purposes of

this paragraph, “Class Vehicle”) from AT Sports in Belle Fourche, SD on May 8, 2014.


                                              21
      CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 22 of 202




       84.    When Plaintiff Turgeon purchased his Class Vehicle, he reasonably expected

that it would not emit excessive heat during his use, have its component parts suffer from

exacerbated thermal degradation due to the Excessive Heat Defect, and would not pose a

significant and unreasonable safety risk. Plaintiff Turgeon operates his Class Vehicle in a

reasonably foreseeable manner and as Polaris intended it to be used. Nonetheless, Plaintiff

Turgeon’s Class Vehicle generated excessive heat due to the Excessive Heat Defect.

Plaintiff Turgeon’s 2014 Ranger 570 caught fire on September 6, 2018, and it burned until

the engine and bed were destroyed. The vehicle would have burned completely but

Plaintiff Turgeon extinguished the fire with a garden hose. Plaintiff Turgeon had been

riding with his wife, minutes before the vehicle self-ignited in their garage.

       85.    Plaintiff Turgeon purchased his Class Vehicle without knowledge of the

Excessive Heat Defect.

       86.    Before purchasing his Class Vehicle, Plaintiff Turgeon reviewed

Defendants’ promotional materials regarding his Class Vehicle. Plaintiff also conducted

online research on Defendants’ website. Plaintiff also discussed his Class Vehicle prior to

his purchase with a salesperson at AT Sports. Had Defendants disclosed their knowledge

of the Excessive Heat Defect, Plaintiff Turgeon would have seen and been aware of it.

       87.    When Plaintiff Turgeon purchased his Class Vehicle, he reasonably expected

that it would not emit excessive heat. Plaintiff Turgeon suffered injury-in-fact and lost

money as a result of the conduct at issue. Had Defendants disclosed the existence of

Excessive Heat Defect, and the fact that the component parts on his Class Vehicle would

not only degrade from normal use of the Class Vehicle, but that the defect also posed a


                                             22
      CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 23 of 202




significant and unreasonable safety risk, he would not have purchased the vehicle or would

have paid significantly less. Indeed, as part of the purchase of his Class Vehicle, Plaintiff

Turgeon believed he was paying for a safe, functioning vehicle, which did not contain a

known design defect, but that is not what he received.

         12.   Texas

         88.   Plaintiff Bryan Forrest is a citizen of Texas and a resident of Sour Lake,

Texas.

         89.   Plaintiff Forrest purchased a new 2015 Ranger 570 Full Size (for purposes

of this paragraph, “Class Vehicle”) from Outpost Powersports in Silsbee, Texas in or

around May 2015.

         90.   When Plaintiff Forrest purchased his Class Vehicle, he reasonably expected

that it would not emit excessive heat during his use, have its component parts suffer from

exacerbated thermal degradation due to the Excessive Heat Defect, and would not pose a

significant and unreasonable safety risk. Plaintiff Forrest operates his Class Vehicle in a

reasonably foreseeable manner and as Polaris intended it to be used. Nonetheless, when

Plaintiff Forrest operates his Class Vehicle, he feels excessive heat come through the

passenger compartment.

         91.   Plaintiff Forrest purchased his Class Vehicle without knowledge of the

Excessive Heat Defect.

         92.   Before purchasing his Class Vehicle, Plaintiff Forrest reviewed Defendants’

promotional materials regarding his Class Vehicle. Plaintiff also conducted online research

on Defendants’ website and viewed Defendants’ commercials about his Class Vehicle on


                                             23
      CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 24 of 202




television. Plaintiff also discussed his Class Vehicle prior to his purchase with a

salesperson at Outpost Powersports and a salesperson at Cowboy Powersports in

Beaumont, Texas. Had Defendants disclosed their knowledge of the Excessive Heat

Defect, Plaintiff Forrest would have seen and been aware of it.

         93.   When Plaintiff Forrest purchased his Class Vehicle, he reasonably expected

that it would not emit excessive heat. Plaintiff Forrest suffered injury-in-fact and lost

money as a result of the conduct at issue. Had Defendants disclosed the existence of the

Excessive Heat Defect, and the fact that the component parts on Plaintiff Forrest’s Class

Vehicle would not only degrade from normal use of the Class Vehicle, but that the defect

also poses a significant and unreasonable safety risk, he would not have purchased the

vehicle or would have paid significantly less. Indeed, as part of the purchase of his Class

Vehicle, Plaintiff Forrest believed he was paying for a safe, functioning vehicle, which did

not contain a known design defect, but that is not what he received.

         94.   Plaintiff Isaac Rodriguez is a citizen of Texas and a resident of Yorktown,

Texas.

         95.   Plaintiff Rodriguez purchased a new 2015 RZR 900 (for purposes of this

paragraph, “Class Vehicle”) from Woods Cycle Country in New Braunfels, Texas on or

around July 17, 2015.

         96.   When Plaintiff Rodriguez purchased his Class Vehicle, he reasonably

expected that it would not emit excessive heat during his use, have its component parts

suffer from exacerbated thermal degradation due to the Excessive Heat Defect, and would

not pose a significant and unreasonable safety risk. Plaintiff Rodriguez operated his Class


                                            24
      CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 25 of 202




Vehicle in a reasonably foreseeable manner and as Polaris intended it to be used.

Nonetheless, when Plaintiff Rodriguez operated his Class Vehicle, he felt excessive heat

come through the passenger compartment. On December 11, 2018, with fewer than 200

hours logged using the Class Vehicle, Plaintiff Rodriguez’s Class Vehicle caught on fire

while being operated by his ranch hand, resulting in a total loss of the vehicle.

       97.     Plaintiff Rodriquez reported this event and his claim to Defendants.

Thereafter, Defendants’ Product Safety Engineering Team or a third party on its behalf

conducted an interview of Plaintiff Rodriquez, inspected where the Class Vehicle was

stored and housed, inspected the route the Class Vehicle was traveling when it caught on

fire, and inspected the remnants of what was left of the Class Vehicle after the fire.

Defendants informed Plaintiff Rodriquez that “[t]he Product Safety Engineering Team has

completed their review of the investigation and provided the following conclusion. Based

on the investigation to date, the specific circumstances and conditions that allowed this fire

to have occurred are unknown and cannot be determined to any reasonable degree of

scientific certainty.”

       98.     Plaintiff Rodriguez purchased his Class Vehicle without knowledge of the

Excessive Heat Defect.

       99.     Before purchasing his Class Vehicle, Plaintiff Rodriguez reviewed

Defendants’ promotional materials regarding his Class Vehicle. Plaintiff Rodriguez also

conducted online research on Defendants’ website. Plaintiff Rodriguez also discussed his

Class Vehicle prior to his purchase with a salesperson at Woods Cycle Country in New




                                             25
      CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 26 of 202




Braunfels, Texas. Had Defendants disclosed their knowledge of the Excessive Heat Defect,

Plaintiff Rodriguez would have seen and been aware of it.

       100.   When Plaintiff Rodriguez purchased his Class Vehicle, he reasonably

expected that it would not emit excessive heat. Plaintiff Rodriguez suffered injury-in-fact

and lost money as a result of the conduct at issue. Had Defendants disclosed the existence

of the Excessive Heat Defect, and the fact that the component parts on Plaintiff Rodriguez’s

Class Vehicle would not only degrade from normal use of the Class Vehicle, but that the

defect also poses a significant and unreasonable safety risk, he would not have purchased

the vehicle or would have paid significantly less. Indeed, as part of the purchase of his

Class Vehicle, Plaintiff Rodriguez believed he was paying for a safe, functioning vehicle,

which did not contain a known design defect, but that is not what he received.

       13.    Wyoming

       101.   Plaintiff Ed Beattie is a citizen of Nebraska and a resident of Chappell,

Nebraska.

       102.   Plaintiff Beattie purchased a new 2016 Ranger XP 900 (for purposes of this

paragraph, “Class Vehicle”) from Power Toys of Riverton, in Riverton, Wyoming in 2016.

       103.   When Plaintiff Beattie purchased his Class Vehicle, he reasonably expected

that it would not emit excessive heat during his use, have its component parts suffer from

exacerbated thermal degradation due to the Excessive Heat Defect, and would not pose a

significant and unreasonable safety risk. Plaintiff Beattie operated his Class Vehicle in a

reasonably foreseeable manner and as Polaris intended it to be used. Nonetheless, when




                                            26
      CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 27 of 202




Plaintiff Beattie operates his Class Vehicle, he feels excessive heat come through the

passenger compartment.

       104.   Plaintiff Beattie purchased his Class Vehicle without knowledge of the

Excessive Heat Defect.

       105.   Before purchasing his Class Vehicle, Plaintiff Beattie reviewed Defendants’

promotional materials regarding his Class Vehicle. Plaintiff Beattie also conducted online

research on Defendants’ website and viewed Defendants’ commercials about his Class

Vehicle on television. Plaintiff Beattie also discussed his Class Vehicle prior to his

purchase with a salesperson at Power Toys of Riverton, in Riverton, Wyoming. Had

Defendants disclosed their knowledge of the Excessive Heat Defect, Plaintiff Beattie

would have seen and been aware of it.

       106.   When Plaintiff Beattie purchased his Class Vehicle, he reasonably expected

that it would not emit excessive heat. Plaintiff Beattie suffered injury-in-fact and lost

money as a result of the conduct at issue. Had Defendants disclosed the existence of the

Excessive Heat Defect, and the fact that the component parts on Plaintiff Beattie’s Class

Vehicle would not only degrade from normal use of the Class Vehicle, but that the defect

also poses a significant and unreasonable safety risk, he would not have purchased the

vehicle or would have paid significantly less. Indeed, as part of the purchase of his Class

Vehicle, Plaintiff Beattie believed he was paying for a safe, functioning vehicle, which did

not contain a known design defect, but that is not what he received.




                                            27
          CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 28 of 202




B.        Defendants

          107.   Polaris Industries, Inc. is a Delaware corporation, with its principal place of

business located at 2100 Highway 55, Medina, Minnesota, and is a citizen of Minnesota

and Delaware.

          108.   Polaris Sales Inc. is a Minnesota corporation, with its principal place of

business located at 2100 Highway 55, Medina, Minnesota, and is a citizen of Minnesota.

          109.   Polaris Sales Inc. is a wholly owned subsidiary of Polaris Industries, Inc.,

and has the same offices and same chief executive officer as Polaris Industries, Inc. On

information and belief, Polaris Sales Inc. operates as an alter ego of Polaris Industries, Inc.,

and Polaris Industries, Inc. is liable for all actions performed in the name of Polaris Sales

Inc.

                           IV.      FACTUAL BACKGROUND

A.        Polaris’s Defective Engine and Engine Configuration

          110.   Polaris first entered the off-road vehicle (“ORV”) market in 1985 and

produced its first Recreational Off-Road Vehicle (“ROV,” also often referred to as a “side-

by-side”), the six-wheeled Ranger, in 1998.2 In 2000, Polaris unveiled the four-wheeled

Ranger.3




2
    Polaris, 2014 Annual Report, Form 10-K, Dec. 31, 2014, at 4.
3
    Id.


                                                28
          CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 29 of 202




          111.   Polaris introduced the Ranger RZR in 2007 (for Model Year 2008), as a

smaller, sportier and more agile alternative to the utilitarian Ranger.4 Polaris subsequently

shortened its name to RZR (hereinafter referred to as “RZR”).

          112.   Ranger models are utility variants often used in commercial applications on

farms, land managements, and for maintenance jobs. The inability to use them can affect

livelihoods. Class Vehicles include two-person and four-person Rangers models, all with

a plastic cargo bed mounted directly above the engine.

          113.   RZR models are high performance vehicles with a narrow chassis, sport-

tuned suspension, a plastic engine cover, and smaller stowage area when compared to the

Ranger’s plastic larger cargo bed. Class Vehicles include two-person through six-person

models.

          114.   Polaris’s 2006 patent filing for a “Side-By-Side ATV” design, which became

the Ranger RZR, was designed to reduce the width from the usual 54” to 50.” (The term

“ATV,” or “All-Terrain Vehicle,” is sometimes used interchangeably with the term

“ROV.”) Reducing the width was an important market advantage because the vehicles

could move at an accelerated pace and could be loaded into the bed of a full-size pickup

truck for transport. However, reduced width typically increases the risk of rollover, a

significant problem with ROVs. In an attempt to mitigate this rollover risk, Polaris’s

design lowered the vehicle's center of gravity by positioning heavier components, such as

the engine, closer to the height of the vehicle's frame, thereby improving the stability of


4
    Id.


                                              29
         CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 30 of 202




the vehicle. To accomplish this width reduction, the patent disclosed a behind-the-seat

engine location, rather than the previous under-the-seat location.5

          115.   The patent, which was granted in 2008, describes a narrower vehicle width

and improved center of gravity. According to the patent: “In this embodiment, engine is

a 760 cc engine producing about 50 horsepower. Engine produces excellent acceleration

characteristics and responsiveness. ATV weighs about 950 pounds and has a power to

weight ratio of about 0.053/1. Any suitable engine may be used in ATV, and ATV may be

constructed to any suitable weight, however the present invention contemplates ATVs

having a power to weight ratio of at least 0.045/1.”6

          116.   The patent drawings depict the exhaust manifold and head pipe exiting the

engine on the right side of the engine bay and then up and toward the rear of the vehicle,

away from the occupant compartment, resulting in a less obstructed air flow, as shown

below:


                                                              Exhaust manifold and
                                                              header pipe exit engine
                                                              on right side




5
    US2008/0023249 A1, “Side-by-Side ATV,” filed July 28, 2016.
6
    Id. at 4.


                                             30
        CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 31 of 202




         117.   When it debuted in 2007, the Ranger RZR had an engine configuration and

offset placement that matched that described in this patent. Its top speed was 55 mph, its

weight was 945 lbs., and its power-to-weight ratio was .055, which was 44% higher than

the competitor Yamaha Rhino.7 It could accelerate faster than any other ROV, and its

compact size made it capable of navigating narrow trails. As Polaris describes it: “The

new Ranger RZR delivers total Side x Side domination with its monstrous 800 Twin EFI.

It’s the only trail-capable Side x Side you can buy, going everywhere other Side by Sides

can’t. With the fastest acceleration, the highest top speed, incredibly responsive handling,

and all the utility you need, the Ranger RZR leaves all other Side x Sides in the dust.”8

         118.   Polaris claimed its handling performance attributes were the result of its low

center of gravity design: “The RANGER RZR and RZR S use a patented design that

positions the engine behind the seat, creating the lowest center of gravity. It’s like you’re

riding on rails, with razor-sharp handling and performance.”9

         119.   Below is an image of this original, patented configuration on a RZR 800.

The engine exhaust pipe is directed away from the occupant compartment and exposed to

a relatively open wheel well:10




7
    Polaris Ranger 2008 Brochure, at 6.
8
    Polaris Ranger 2008 Brochure, at 8.
9
    Polaris Ranger 2009 brochure, at 21.
10
  Product Review Polaris RZR 800, DuneGuide.com,
http://www.duneguide.com/ProductReview_Polaris_RZR800.htm, accessed Apr. 2, 2018.


                                              31
        CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 32 of 202




                                                                 Exhaust manifold and
                                                                 header pipe exit engine on
                                                                 right side of engine allowing
                                                                 for heat dissipation via open
                                                                 wheel well.




         120.   In 2011, Polaris unveiled its new ProStar 900 Twin EFI engine, specifically

designed for the RZR XP 900. According to Polaris, the ProStar 900 engine “cranks out

an industry-leading 88 HP and delivers 29% faster acceleration than the closest

competitor.”11 With a vehicle weight of 1,190 lbs., the new XP 900 increased the power-

to-weight ratio to 0.0739 – significantly more than originally envisioned with the patented

behind-the-seat design. The new engine “delivers fast throttle response, groundbreaking

power and revolutionary acceleration.”12

         121.   The ProStar engine was the first engine designed by Polaris engineers rather

than by suppliers, as suppliers cost 20-30 percent more money and require more time to

develop a custom engine.13 On its website, Polaris states: “A ProStar engine is an off-road

vehicle engine that has been designed, engineered, and manufactured from the ground-up


11
     Polaris Ranger Brochure 2011, at 11.
12
     Polaris Ranger Brochure 2011, at 11.
13
     Polaris Indus., 2015 Annual Report, at 8.


                                                 32
      CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 33 of 202




by the experts at Polaris who share the same passion for off-roading as you do. ProStar

engines are purpose-built, tuned, and designed specifically for your vehicle and

application. By leveraging cutting-edge technology from automotive influences, we have

emerged as a trusted leader in off-road powertrain technology. With over one million

engines produced we’ve created the perfect balance of engineered features to ensure you

are getting the maximum performance in every vehicle.”14

       122.   The ProStar engine would eventually come in both twin-cylinder and single-

cylinder and varying power outputs depending on the vehicle model. However, all models

with the ProStar engine share a common engine and exhaust configuration inside a

common tight compartment.

       123.   Unlike the original behind-the-seat configuration with the engine exhaust

ported on the right side, the ProStar engine was placed squarely behind the occupant

compartment, with the exhaust manifold and header pipe exiting forward toward the

occupants and only inches from the seats and seat belts. The pipe then turns 180 degrees,

creating a U-shape, where it is connected to the remainder of the exhaust piping, located

longitudinally in the engine compartment along the upper right side of the engine head and

attached to the silencer (a.k.a., the muffler), which is mounted at the rear of the vehicle

inches from the back of the engine, where the exhaust is released. The photographs below,




14
  Polaris Indus. Website, ProStar Overview page, https://rzr.polaris.com/en-us/prostar/,
accessed Apr. 2, 2018.


                                            33
        CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 34 of 202




taken with the plastic engine covering removed, show this configuration from different

angles in single-cylinder and twin-cylinder versions of the ProStar engine.15
     Muffler located
       at rear of
                                                                   Occupant seating
      vehicle and
        engine
                                                                   Exhaust manifold and header
                                                                   pipe exit the engine forward
                                                                      toward the occupants




                                                        Occupant
                                                         seating

                                                                       Exhaust manifold and
                                                                     header pipe exit the engine
                                                                        forward toward the
                                                                             occupants




      Muffler located
     at rear of vehicle
         and engine




15
  Long Term Report – The Polaris RZR 570, ATV & SXS Illustrated,
http://atvillustrated.com/content/long-term-report-polaris-rzr-570, accessed Apr. 2, 2018.


                                            34
      CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 35 of 202




                                                                        16



       124.   The enclosed engine and exhaust pipe configuration in the Class Vehicles

prevents airflow from dissipating the heat from the exhaust.         Heat buildup occurs

particularly at low speeds and under high load conditions, frequently experienced while

traversing inclines, operating in sand, and with additional occupants. The engine and

exhaust configuration, which limits adequate heat dissipation, is located only inches from

occupants and plastic body components, as well as critical hoses, wiring, and fuel and brake

lines, which are continually exposed to excessively high temperatures that are retained in

close proximity. The excessive heat exposure degrades these components, melts plastic

covers in and around the engine, and ignites surrounding combustible materials.

       125.   Compounding the problem, the ProStar engine was designed to allow easy

access to components for maintenance by technicians and owners. However, the space that



16
  2015 RZR 4 XP 1000 for sale, Haacke Motors,
https://www.haackemotors.net/2015_Polaris_RZR%204%20XP%201000_Layton_UT_1
1324333.veh.


                                            35
        CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 36 of 202




provides access to the oil filter and spark plugs create a gap that allows combustible organic

debris to be caught under inadequate heat shields intended to box the exhaust heat in and

away from passengers. This debris can ignite because of exposure and contact with hot

components caused by the Excessive Heat Defect.

         126.   Before Polaris installed the ProStar engine behind the occupant

compartment, Polaris ROVs were not plagued by thermal degradation and engine fires.

The only Polaris recall that involved fire risk in the RZR was a 2007 recall of 330 model

year 2008 RZR 800 vehicles for fuel tank could leaks, which according to Polaris had not

caused any fires.17 Likewise the only recall for fire risk in the Ranger vehicles was a 2009

recall of 3,800 model year 2009 Ranger Crew and 6x6 vehicles, concerning a risk of

electrical shorting and fire in the rear tail light wiring harnesses.18

         127.   But two years after Polaris introduced the 2011 RZR XP 900 – the first model

with the ProStar engine positioned on the centerline behind the occupant compartment and

the exhaust manifold and header pipe routed forward inches from the occupant

compartment – Polaris recalled the model because the vehicle “may experience hot air

leakage from the engine compartment that travels over the service divider panel which can

cause deformation of the panel” and “elevated air and component temperatures that could

cause burns to the occupant of the vehicle.”19 (The Service Divider Panel is simply a panel


17
     Polaris Indus., Recall No. 08-521, Dec. 6, 2007.
18
     Polaris Indus., Recall No. 09-762, Aug. 4, 2009.
19
     Polaris Indus., Tech. Serv. Bulletin R-13-02, Apr. 25, 2013, at 1.


                                               36
           CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 37 of 202




that separates the engine from the occupant compartment.) Thus, from the first vehicle

containing the ProStar engine with the exhaust manifold and header pipe ported toward the

front of the vehicle, Polaris acknowledged the engine elevated temperatures of nearby

components and could result in deformation of plastics. Like the recalls that would follow,

Polaris advised customers to stop using the vehicles and bring them in for an unspecified

repair.

           128.   In the recall announcement, Polaris also disclosed that there had been one

report of burn injuries to a finger.20 However, at least one owner of a 2011 Ranger RZR

XP 900 notified the CPSC that in 2012, he was driving the vehicle through the woods when

he and his passenger smelled a burning smell. Moments after they exited the vehicle, they

observed a flame behind the seat, which “immediately began to spread and subsequently

engulfed the entire [vehicle], until all that remained was the burnt out frame of the

vehicle.”21 When he contacted the dealer and Polaris in May 2012, prior to the recall, they

offered him a $5,500 credit toward another purchase.22 Thus, when it asserted in the recall

that the firewall could melt and had only burnt a finger, Polaris concealed the fact that it

was aware of at least one incident in which the entire vehicle burned in minutes.

           129.   Polaris’s singularly focused marketing shows the company was committed

to significantly exceeding the power output of its competitors’ products, at the expense of


20
     Id.
21
     CPSC, Epidemiologic Investigation Report No. 140724CCC2757, Sept. 6, 2014, at 2.
22
     CPSC, Epidemiologic Investigation Report No. 140724CCC2757, Sept. 6, 2014, at 2.


                                               37
           CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 38 of 202




safety. Even as Polaris learned of the Excessive Heat Defect associated with its new

ProStar engine configuration, it continued introducing models with the ProStar engine and

Excessive Heat Defect. For example, in 2013, Polaris introduced the Ranger XP 900,

which it touted as containing the new ProStar 900 engine that “pumps out 60 HP, with

incredible class-leading torque across the power band. All that power and torque lets you

easily tow up to one ton, or haul up to 1,000 lbs.” 23 At the same time, Polaris advertised,

“[i]t’s also a quiet ride, thanks to a new engine placement behind the seat and below the

box. Ground clearance is a high, obstacle-clearing 12.”24

           130.   In 2014, Polaris debuted the RZR XP 1000, Ranger 900 and Crew 900, and

Ranger 570 and Crew 570. Each of these vehicles contained a ProStar engine with the

exhaust manifold and header pipe routed forward inches from the occupant space.25 The

RZR XP 1000’s engine “provides an industry-leading 107 horsepower and a true 999ccs

of displacement, making it the most powerful and largest engine in the class.”26 Thus, this

RZR had more than double the horsepower originally envisioned in the RZR patent.27




23
     Polaris 2013 Off Roads Vehicles Brochure, at 5.
24
     Id.
25
  Press Release, Polaris Debuts New Products for 2014 Off-Road and Motorcycle Lines,
July 31, 2013.
26
     Id.
27
     Id.


                                             38
        CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 39 of 202




         131.   In model year 2015, Polaris debuted the RZR 900 and S 900, which featured

“unequalled power from their 75 horsepower ProStar 900 engine offering improved power-

to-weight ratio and faster acceleration . . . .”28

         132.   For model year 2016, Polaris introduced the RZR XP Turbo and RZR XP 4

Turbo, this time acknowledging that such a high-powered engine needed additional

cooling: “The Polaris ProStar Turbo engine provides an industry-leading 144 horsepower

– 30 percent more horsepower and 45 percent more torque than the RZR XP 4 1000 EPS.

The ProStar Turbo effortlessly carries a full load of thrill seekers over the most power-

robbing terrain. The new engine was developed for extreme performance. . . . For

consistent performance at all temperatures, the vehicle also includes a new liquid charged

air cooler with front-mounted, dual radiators with high-capacity fan and high-flow electric

pump.      To control the massive power delivered by the ProStar Turbo, the engine

management system has also been updated to include knock detection, boost control and a

high-flow return style fuel system ensuring that the engine delivers maximum power under

all conditions, altitudes and temperatures.”29 However, the dual radiator fans were not

sufficient to address the excessive heat.

         133.   By 2016, all RZR and all gas powered 500cc or larger Ranger models

contained a ProStar engine. Importantly, with the exception of the unique Youth RZR



28
     Press Release, Polaris Debuts 2015 ORV and Motorcycle Product Lines, July 29, 2014.
29
  Press Release, Polaris RZR Expands 4-Seat Line-Up to Share the Off-Road Experience
with Friends and Family, Oct. 6, 2015.


                                               39
       CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 40 of 202




which does not appear to contain a ProStar engine, all of the ROVs Polaris has recalled for

excessive heat since 2013 contain the ProStar engine and exhaust routed forward, directly

behind the occupant compartment in a tight, constricted space.

       134.   Although the internal thermal degradation and melting are often invisible to

the naked eye, when a fire occurs, the consequences are severe.

       135.   For example, Plaintiff Luna’s Class Vehicle set on fire after one hour of

operation and burned down to the chassis. Luckily, no one suffered personal injuries as a

result. However, Plaintiff Luna’s Class Vehicle is a total loss.

       136.   With only 13 hours on the meter, Plaintiff Halvorsrod’s Class Vehicle caught

fire while operating—resulting in a total loss of the vehicle.

       137.   Plaintiff Guthrie’s 2014 Ranger 1000 caught fire on September 6, 2018, and

it burned until the engine and bed were destroyed. Plaintiff Guthrie extinguished the fire

with a garden hose. Plaintiff Guthrie, who was riding alone, turned around to see flames

coming from the engine area. Plaintiff Guthrie was able to jump off moments before the

vehicle went up in flames.

       138.   Plaintiff Rogers’s 2015 RZR 900 caught fire the day after he purchased the

vehicle, and it burned until the frame melted and the vehicle was completely destroyed.

Plaintiff Rogers had been riding with his wife, who turned around to see flames coming

from the engine area. Plaintiff Rogers and his wife were able to jump off, and they watched

as their vehicle went up in flames. Plaintiff Rogers’ wife suffered burns on her hands and

ear.




                                             40
      CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 41 of 202




       139.   Plaintiff Elkin was driving his 2016 Ranger XP when it caught fire. Plaintiff

Elkin was able to jump out of the vehicle. The vehicle burned to the ground.

       140.   Plaintiff Turgeon’s 2014 Ranger 570 caught fire on September 6, 2018, and

it burned until the engine and bed were destroyed. The vehicle would have burned

completely but Plaintiff Turgeon extinguished the fire with a garden hose. Plaintiff

Turgeon had been riding with his wife, minutes before the vehicle self-ignited in their

garage.

B.     Polaris Vehicles Give Off Excessive Heat.

       141.   The fact that the heat generated in the Class Vehicles is excessive can be

demonstrated in several ways, including statements made by aftermarket manufacturers,

designs undertaken by competitors, and heat testing conducted at Plaintiffs’ direction.

       1.     Aftermarket Products

       142.   There are numerous aftermarket products, including heat shields, wraps, and

cooling system improvements, created specifically for Polaris ROVs. The purpose of these

aftermarket products is to protect components that are vulnerable to heat degradation and

failure, and to reduce the engine compartment temperatures and improve heat dissipation.

Consumers become aware of the products only after they experience the excessive heat and

seek solutions. The mere fact that these aftermarket products exist is an indication of a

problem. Further, as discussed below, some companies marketing these products note that

Polaris vehicles are known for generating excessive heat.

       143.   For instance, UTV Driver, a popular website for ROV enthusiasts, published

an article that noted, “We have heard a few RZR Turbo owners complaining of their


                                            41
        CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 42 of 202




engines overheating. Under super hard driving, under load, we have had it happen to us

too. So there has [sic] been a number of companies trying to address the issue and they

have come up with some pretty interesting products.”30            The article described six

aftermarket products that attempt to mitigate excessive heat in Polaris vehicles.

         144.   Many of the aftermarket products designed for heat mitigation are for non-

turbo models as well.

         145.   For instance, one company offers an aluminum panel with heat tape on it to

stand between the exhaust pipe and the occupant space. The company notes, “[t]he RZR’s

are known to melt the plastic behind the passenger seat.”31

         146.   Another touts its Polaris RZR Regulator Rectifier by stating, “[t]his new Hot

Shot rectifier regulator is built using Mosfet Technology, allowing the regulator to run

cooler & more efficiently. Rick’s worked with RZR owners to customize a part that is easy

to install and will solve common overheating issues.”32

         147.   Another company highlights the tight engine/exhaust compartments effects

on surrounding components, offering an exhaust pipe heatshield to protect RZR shocks,

stating: “Let’s face it, heat can really put a damper on your fun. You’re riding hard in your

Polaris RZR only to have the right rear shock start to get a little spongy. The culprit is heat




30
     UTV Driver, 6 Ways to Help the RZR Turbo Not Overheat, July 21, 2016.
31
     Polaris RZR & RZR-S Exhaust Heat Shield, UTV Inc., Order Form.
32
     Rick’s Motorsport Electrics, Polaris RZR Regulator Rectifier, accessed May 6, 2019.


                                              42
           CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 43 of 202




from the exhaust cooking the oil in the shock. Too much heat in the shock and the oil

aerates, at which point the worn shocks no longer provide dampening as designed.”33

           148.   Below is a photo of the exhaust wrapped with Heatshield Armor – note the

proximity to the right rear shock: 34




           2.     Alternative Designs

           149.   Recognizing the need for sufficient airflow and mechanisms to dissipate the

heat, several of Polaris’s competitors have located their exhaust header, where the pipe

exits the engine, or exhaust pipes in a location that is more open to airflow and further from

the passenger compartment.

           150.   The Yamaha YXZ1000R, a competitor to the RZR, has its engine

“strategically mounted low and longitudinally on its chassis,” which means the exhaust



33
     Eliminate Shock Fade with Heatshield Armor, Heatshield Products, blog
34
     Id.


                                               43
        CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 44 of 202




headers face outward toward the side of the vehicle, allowing for significant airflow and

heat dissipation.35 Below is a picture showing that the exhaust vents out to the side and is

located far from the occupants and other components:36




        151.   The current Can-Am Maverick ROV, manufactured by Bombardier

Recreational Products, has the exhaust pipe on the driver’s side, open to the side of the

vehicle. Can-Am states that the 1000R package “wears a unique exhaust line and muffler




35
     Yamaha YXZ1000R, UTV Guide, June 19, 2016
36
  First Drive: 2016 Yamaha YXZ1000R EPS Special Edition UTV Review, Oct. 18,
2015


                                            44
           CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 45 of 202




for enhanced airflow” and has an oversized air intake behind the passenger seat to keep the

engine cool.37 Below is a diagram Can-Am includes in brochures:38




Below is a photograph of a Maverick Trail, showing that the exhaust pipe is open to air

and away from the passenger compartment and other components:39




37
     2019 Can-Am Maverick Sport, UTV Action, Apr. 3, 2018
38
     Id.
39
     Can-Am website, Maverick Trail


                                            45
      CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 46 of 202




       152.    A photograph of the Can-Am Defender, a competitor to the Polaris Ranger,

shows that although this vehicle and other Can-Am ROVs do have the exhaust oriented

forward like the Polaris vehicle, Can-Am added a feature that directs airflow from the

clutch outlet to the exhaust heat shield via a duct to dissipate the heat. It also left the exhaust

pipe open to airflow from the side:40




40
  Can Am Defender 1000 for sale, https://evopowersports.com/product/defender-1000-
exhaust-systems


                                                46
        CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 47 of 202




        153.   The previous version of the Can-Am Maverick 1000R had the engine on the

centerline below the occupants, with its exhaust pipes elongated to allow air to flow around

them and provide clearance from other components, as depicted in this Can-Am diagram:41




        154.   Can-Am touted the increased airflow and exhaust flow: “When an engine

breathes easier, it can produce more horsepower. So we optimized air intake, combustion,

and exhaust flow.     Larger intake plenum, high-flow heads, larger valves, increased


41
     Can-Am Maverick 1000R, UTV Guide, May 8, 2015


                                            47
           CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 48 of 202




compression ratio, and high-flow dual exhaust all contribute to this more power and

efficient engine.”42

           155.   According to Dirt Wheels Magazine, in the 2019 Honda Talon, a RZR

competitor, “the engine is mounted longitudinally in the frame, eliminating unnecessary

right angles in the driveline so that an efficient transfer of power to the rear wheels is

possible, resulting in strong acceleration.”43 Further, “[k]nowing the rigors through which

customers would put the Talon, designers stressed efficient engine cooling, with

motorcycle-inspired shrouds and four side vents, all of which are unique to the side-by-

side world.”44 In the picture below, the exhaust is seen in left rear wheel well far from the

occupant compartment and other components:45




42
     2014 Can-Am Maverick X RS, Top Speed, Mar. 18, 2014
43
     2019 Honda Talon, It’s Real!, Dirt Wheels, Dec. 3, 2018
44
     Id.
45
     Id.


                                             48
      CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 49 of 202




       156.   The difference between the engine/exhaust compartments in these vehicles

and the Polaris vehicles is striking. As depicted in the previous section, Polaris’s exhaust

pipes exit only inches from the occupants, in an area with little airflow and in the proximity

of components that are susceptible to heat degradation:46




46
  Long Term Report – The Polaris RZR 570, ATV & SXS Illustrated,
http://atvillustrated.com/content/long-term-report-polaris-rzr-570, accessed Apr. 2, 2018.


                                             49
      CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 50 of 202




       157.   A search of the CPSC website does not reveal any recalls of the Yamaha

YXZ1000R, Can-Am Maverick, or Honda Talon for a melting or fire risk. Honda has

recalled another of its models, the Pioneer, for fire risk three times since 2013 – for a total

of 136,400 vehicles.47 By contrast, Polaris has recalled at least 520,360 Class Vehicles for

a fire risk since 2013, some of which may be repeats because the initial specified repair

was later deemed inadequate, as discussed below. All of the recalled Class Vehicles

contain a ProStar engine with the exhaust ported forward inches behind the occupants with

little airflow and surrounded by components and parts that are vulnerable to degradation

following continued high heat exposure.

       3.     Class Vehicle Testing

       158.   For the sake of demonstrating that the temperatures emitted in the

engine/exhaust compartment are excessive in the Class Vehicles, Plaintiffs conducted heat



47
  Am. Honda Motor Co., CPSC Recall No. 15-706, Oct. 16, 2014; see also, Am. Honda
Motor Co., CPSC Recall No. 18-742, May 15, 2018, and Am. Honda Motor Co., CPSC
Recall No. 19-714, Nov. 8, 2018.


                                              50
      CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 51 of 202




testing on a sample of three Polaris vehicles – a 2014 RZR XP 4 1000, a 2016 RZR 900 S,

and a 2012 RZR XP 900, as well as the non-Class Vehicles 2008 RZR 800 and a 2018 Can-

Am Maverick X3 XRS.

       159.   Each of the vehicles were operated on the same test course under

substantially similar weather conditions and with no modifications to their original

manufactured condition. The temperatures of the vehicles were monitored as they ran idle

and as they traversed the test course under different speeds and engine loads.

       160.   In this testing, the three Class Vehicles consistently exhibited temperatures

that were substantially higher than the other two vehicles. The largest discrepancies in

temperature occurred at the various components and in the environment around the exhaust

assembly.

       161.   These results are explained by the design of the exhaust system of the Class

Vehicles, which direct hot engine exhaust forward into a header assembly that becomes

overheated. This overheated space contains numerous assemblies and is surrounded by

plastic panels or other surfaces separating the cargo and occupant compartments, retaining

the heat. In the non-Class Vehicles, by contrast, the exhaust heat was forcefully directed

sideways, away from the cargo and occupant spaces.




                                            51
           CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 52 of 202




C.         Thermal Degradation and Corrosion

           162.   Thermal management is an important aspect of vehicle development.48

Polaris vehicles do not sufficiently manage thermal conditions, allowing excessive heat

retention. In excessive heat conditions, thermal degradation of plastic components is

inevitable. It often occurs microscopically within the plastic, and thus vehicle owners are

unaware their vehicle components are degrading, reducing their service life and making

them vulnerable to failure.

           163.   High temperatures make “it essential to monitor the temperatures of all

components that may be at risk of failure due to thermal loads and provide appropriate

thermal protection. This could be achieved by: 1. Relocating the component, 2. Insertion

of heat shields between the exhaust and the component, 3. Innovative airflow management

techniques that increase the convection around the component.”49

           164.   The exhaust system temperature is the primary source of heat into the engine

compartment.50 In the vehicle industry it is well known that excessive temperatures in the

engine/exhaust compartment, particularly in tight spaces with little airflow, reduce

component service life and cause unseen degradation to nearby components. This is known

as thermal degradation in polymers like plastics and resins, which is defined as “molecular



48
  Kumar Srinivasan et al., Vehicle Thermal Management Simulation Using a Rapid
Omni-Tree Based Adaptive Cartesian Mesh Generation Methodology, 2004 ASME Heat
Transfer/Fluids Engineering Summer Conf. (July 2004), at 1.
49
     Id. at 2.
50
     Id.


                                               52
        CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 53 of 202




deterioration as a result of overheating.”51 In metal components, damage that occurs from

excessive temperatures is called high temperature corrosion.52

         165.   Excessive heat caused by restricted airflow leads to component malfunction

or premature failure of components or materials.53 “Vehicle components are expected to

retain an acceptable level of their initial properties. However, exposure to heat will reduce

component life due to the negative effect of heat on material properties. Though all

materials are expected to experience some level of thermal degradation, the material life

and component life can be improved by efficient thermal management of the vehicle

environment.…Effective management of heat can be addressed by some clearance

requirements during the packaging phase, upgrading component materials, using heat

shields or management airflow around these components.”54

         166.    Polaris vehicles contain many plastic components near the engine and

exhaust system. Within the plastics industry, it is well known that, “[t]hermoplastics

exposed to elevated temperatures for long periods of time will generally become brittle and



51
     Thermal Degradation of Plastics, Zeus Indus. Prods, Inc., Tech. Whitepaper (2005), at
1.
52
  Manabu Noguchi & Hiroshi Yakauwa, Lecture on Fundamental Aspects of High
Temperature Corrosion and Corrosion Protection Part 1: Basic Theory, Ebara
Engineering Review No. 252 (2016-10), at 1.
53
  Martin W. Wambsganss, Thermal Management in Heavy Vehicles: A Review
Identifying Issues and Research Requirements, Vehicle Thermal Management Sys. 4
Conference (May 1999), at 7.
54
 Alaa El-Sharkaway et al., Transient Modeling of Vehicle Under-hood and Underbody
Component Temperatures, 9 SAE Int’l J. Material Mfg. 330 (May 2016).


                                             53
         CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 54 of 202




lose both mechanical strength and toughness. This process will occur more slowly at

moderate temperatures and more quickly as the operating temperature for a material is

increased.”55

          167.    Additionally, plastics generally have a higher rate of thermal expansion than

metals or other materials and thus, “[w]hen plastic and metal components are used together

in a device that must operate over a wide temperature range, the relatively high thermal

expansion of polymers becomes an important design consideration.”56

          168.    It is also well known that “elevated operating temperatures may affect a

number of other performance characteristics of a thermoplastic. These include electrical

properties, chemical resistance, environmental stress crack resistance, fatigue resistance

and the ability of the polymer to perform in friction and wear applications, all of which

tend to be reduced at the upper end of a material’s operating temperature range.”57 Another

possible effect is that the plastics can soften, changing their structure and reducing their

strength.58




55
 Keith Hechtel, Turning Up the Heat: Considerations for High Temperature
Applications, IAPD Magazine (Apr./May 2014), at 18.
56
     Id. at 19.
57
     Id. at 20.
58
     Michael Sepe, The Effects of Temperature, Plastics Tech., July 27, 2011.


                                                54
           CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 55 of 202




           169.   Simply put, the “hotter the environment becomes, the less performance we

can expect.”59

           170.   Thermal degradation is often an internal process not noticeable to the human

eye. For instance, in plastics with exposure to high temperatures, “degradation is inevitable

and the resulting chain reaction will accelerate unless the cycle is interrupted in some

manner – the only real variable is how long it is going to take for thermal degradation to

become evident and result in a loss in properties that is significant enough for the end-user

to notice.”60 Significantly, “[i]n some cases, thermal degradation shows no effect for some

time and when it occurs the onset of significant thermal degradation can be very rapid, i.e.

there is a gestation time before anything appears to happen and then the degradation is both

rapid and catastrophic.”61

           171.   Thus, from the beginning, the plastic components exposed to the excessive

heat begin degrading internally without the owner’s awareness.

           172.   Likewise, excessive temperatures cause high temperature corrosion:

“Without water, in many cases the corrosion rate at a normal temperature does not cause a

particular problem. However, as the temperature rises, corrosion progresses at a rate that




59
     Id.
60
     Thermal Degradation of Plastics, supra, at 1.
61
     Id. at 6.


                                               55
         CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 56 of 202




is an engineering problem not to be ignored.”62 Additionally, “[s]ince a corrosion reaction

is a thermal activated reaction, basically the reaction rate varies exponentially against the

temperature.”63

          173.   While some metals withstand higher temperatures without problem, other

metals can experience a reduction in thickness and thermal stress, particularly when

temperature fluctuations occur, such as with the starting and stopping of machinery.64 This

is “a very critical problem.”65

          174.   The Excessive Heat Defect is exacerbated by the Class Vehicles’ design that

places some components closer to hot surfaces than they should be. The systemic, and

immediate, problems caused by the Excessive Heat Defect are readily apparent in several

Polaris recalls.

          175.   For instance, Polaris’s April 2016 recall, CPSC recall number 16-146,

included several potential problems for various models and years – one of those was

improperly routed plastic fuel lines that “may have insufficient clearance to the exhaust




62
  Lecture on Fundamental Aspects of High Temperature Corrosion and Corrosion
Protection Part 1: Basic Theory, supra, at 1.
63
  Manabu Noguchi & Hiroshi Yakauwa, Lecture on Fundamental Aspects of High
Temperature Corrosion and Corrosion Protection Part 2: Corrosion Protection and
Coatings, Ebara Engineering Review No. 252 (2016-10), at 10.
64
  Lecture on Fundamental Aspects of High Temperature Corrosion and Corrosion
Protection Part 1: Basic Theory, supra, at 8.
65
     Id. at 9.


                                              56
           CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 57 of 202




head pipe.”66 The misrouted fuel line could allow the line to become kinked, which would

cause the fuel tank to build pressure and expand, which could result in contact with the

spinning prop shaft, causing a leak.67

           176.   The Excessive Heat Defect is correlated to these issues. For example, small

changes to the plastic fuel vent line routing can cause the part to degrade and develop kinks

due to high temperature exposure because of its proximity to the exhaust head pipe. This

leads to a cascading effect: The thermally degraded vent line allows the plastic fuel tank

to over-pressurize, expand, and contact spinning driveshaft components. The plastic fuel

tank is also directly affected by the Excessive Heat Defect because its proximity to the

high-temperature environment reduces its ability maintain its shape. These elements all

point back to the design configuration of the Class Vehicles, which do not safely allow for

normal and expected movement, shifting, or assembly tolerances of critical components

without potential for catastrophic failures in the presence of such high temperatures.

           177.   The softening that these fuel lines undergo in the excessive heat will often

escape unnoticed once the vehicle stops and the lines harden again, in the same way some

plastic bowls are softer when they are first removed from the microwave but re-harden

after a minute out of the microwave. However, in the Class Vehicles, the softened,

drooping fuel line could contact another hot component, causing a leak that results in a fire.




66
     Polaris Indus., CPSC Recall No. 16-146, Safety Bulletin Z-16-01-AD, Apr. 19, 2016.
67
     Id.


                                               57
        CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 58 of 202




This is particularly true where, as here, the component does not have proper clearance from

the exhaust, leaving zero margin of error.

         178.   The Canadian recall for the 2015-2016 Ranger 570 and Crew 570 vehicles

specifically pointed to the Excessive Heat Defect as the culprit, stating, “[d]uring

prolonged vehicle operation at low speeds the air flow in the engine/exhaust area could be

reduced, and may result in elevated engine/exhaust compartment temperatures, which

could cause the seat close-off panel to overheat which may pose a fire hazard causing injury

and/or damage to property.”68 That the panel becomes too hot is evidence of thermal

degradation.

         179.   Likewise, in September 2016, Polaris recalled the 2014 Ranger XP 900 and

Crew 900 for heat shields that could fall off, which it expanded in April 2017 to include

model year 2015 as well. The stated cause was that the heat shield fasteners could come

loose, but consumers reported that the excessive heat softened or melted the plastic panel

to which the shields are attached enough that the fasteners became loose in the holes.69 70

         180.   Additionally, Polaris’s April 2018 recall for exhaust silencer cracking in

2014-2018 model year RZR 1000 vehicles suggests high temperature corrosion is at the

root of the problem. Exhaust silencers (mufflers) are considered as service replacement


68
     Canada Recall and Safety Alerts No. 2016326, June 27, 2016
69
  PRCForum.com, posted by Chris, 2014 900 potential fire issue, June 22, 2015,
available at http://www.prcforum.com/forum/26-ranger-problems-solutions/61961-2014-
900-potential-fire-issue.html
70
     Polaris Indus., CPSC Recall No. 18-133, Safety Bulletin, Z-18-01, Apr. 2, 2018


                                             58
         CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 59 of 202




components – in other words, they are expected to fail and require replacement during the

life of the vehicle. However, early life failures point to the effect of the Excessive Heat

Defect on the metal. Furthermore, it is yet another prescient signal that the Class Vehicles

are experiencing excessive temperatures when, as this recall notes, exhaust silencers crack,

and the heat escaping from the cracks is melting nearby components and causing fires –

even though they are designed with heat shields to dissipate the anticipated temperatures

at this location.

D.       Polaris’s Series of Ineffective Recalls

         1.     RZR Recalls

         181.   Polaris issued a string of rolling recalls from 2013 through April 2018,

encompassing all Class Vehicles, related to excessive heat that could lead to melting or

fires.

         182.   As discussed above, the first recall for Class Vehicles was issued on June 19,

2013, CPSC recall number 13-740. The recall involved 4,500 model year 2011 RZR XP

900 vehicles with the ProStar engine/exhaust configuration. The specified cause: The

firewall behind the driver and passenger seats could overheat and melt.

         183.   The April 2013 Technical Service Bulletin (TSB) explaining the recall to

dealers provided more detail: “Some Ranger RZR XP 900 models may experience hot air

leakage from the engine compartment that travels over the service divider panel separating

the occupant compartment from the engine compartment, which can cause deformation of

the panel. This hot air leakage into the passenger area can also create elevated air and

component temperatures that could cause burns to the occupant of the vehicle. Polaris has


                                              59
        CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 60 of 202




developed an aluminum heat shield to deflect the hot air and prevent it from damaging the

service divider panel.”71 The TSB noted that this safety bulletin updated a previous TSB

issued in 2011 (R-11-03) that was completed through warranty claims, indicating that

Polaris was aware of this problem two years before it issued the recall and shortly after the

vehicle was released into the market.

         184.   It is important to note that “hot air leakage” is caused by such excessive heat

coming off the engine/exhaust that it deforms the plastic panel installed specifically to

contain the hot air. Further, as noted above, thermal degradation and high temperature

corrosion are inevitable in “elevated air and component temperatures” environments.

         185.   On October 5, 2015, Polaris issued CPSC recall number 16-702 for 53,000

model year 2015 RZR 900 series and RZR XP 1000 series vehicles. 72 The recall notice

stated that the fuel vent line could be misrouted, causing it to become pinched. This could

overpressurize the fuel tank and leak fuel. Polaris’s press release noted that it had also

received reports of the driveline contacting the pressurized fuel tank, which also caused

fuel leaks.73 Polaris said it had received four reports of fuel leaks in the RZR 900 series,

including two fires and one minor burn injury, and 25 reports of fuel leaks in the RZR 1000




71
     Polaris Indus., Tech. Serv. Bulletin R-13-02, Apr. 25, 2013, at 1.
72
     Polaris Indus., Recall No. 16-702, Oct. 5, 2015.
73
  Polaris Industries Recalls RZR Recreational Off-Highway Vehicles Due to Potential
Fire Hazard, Oct. 5, 2015.


                                               60
        CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 61 of 202




series, with no fire incidents.74 As noted above, the issues with fuel lines are also correlated

to the effects of excessive heat on plastic components.

         186.   What Polaris did not report in the recall was that in July 2015, 15-year-old

Baylee Hoaldridge suffered burns over 65 percent of her body when the 2015 RZR 900 her

family had rented tipped on its side and burst into flames.75              Baylee died from

complications a month after the recall was issued.76

         187.   When Polaris subsequently expanded this recall, it provided more

information that demonstrated the fuel vent problem was also related to the exhaust pipe’s

location. In addition to the kinked fuel vent line, “[a]n improperly routed fuel tank vent

line may have insufficient clearance to the exhaust head pipe. A vent line with insufficient

clearance to the exhaust head pipe may pose a fire hazard.”77 Higher temperatures, such

as those created by the Excessive Heat Defect, can also increase fuel tank pressure,

exacerbating the danger posed by a pinched fuel line.

         188.   The specified “fix” did not actually mitigate the excessive heat or prevent

fires. On March 5, 2016, a fire started in a 2015 RZR XP4 1000 while a 19-year-old and




74
     Polaris Indus., Recall No. 16-702, Oct. 5, 2015.
75
  Caroline Connolly, Attorney for Family of Teen Girl Severely Burned in Crash Says
Polaris Should Consider Vehicle Recall, Fox 13 Salt Lake City, Aug. 27, 2015.
76
 Jeffrey Meitrodt, Polaris Recalls 133,000 Off-Road Vehicles After Reports of Fire,
Minneapolis Star Tribune, Apr. 19, 2016.
77
     Polaris Indus., Tech. Serv. Bulletin Z-16-01-AD, Apr. 19, 2016.


                                              61
         CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 62 of 202




13-year-old were sitting in the occupant compartment.78 The fire engulfed the vehicle and

burned it down to the metal chassis before help could arrive.79 The recall repair had been

completed three months earlier.80 The CPSC report for the incident included photos:




          189.   On December 10, 2015, in CPSC recall number 16-713, Polaris recalled

2,230 model year 2016 RZR XP Turbo and RZR XP 4 Turbo vehicles, stating that the

turbocharger’s oil drain line could leak, posing a fire hazard.81 At that time, Polaris

reported two reports of oil leaks and two reports of fire with no injury. The turbocharged

vehicles were first recalled only two months after they were released into the market.

          190.   In September 2016, Polaris expanded its recall to include 13,000

turbocharged vehicles, but this time the cause was connected to the Excessive Heat Defect:




78
     CPSC, Epidemiologic Investigation Report, No. 160309CBB1457, Mar. 28, 2016.
79
     Id. at 3.
80
     Id. at 1.
81
     Polaris Indus., Recall No. 16-713, Dec. 10, 2015.


                                              62
        CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 63 of 202




“The vehicle’s engine can overheat and turbo system’s drain tube can loosen.”82 The drain

tube could loosen because the excessive heat softened the plastic. Polaris noted it had

received 19 reports of vehicles catching fire, causing six burn injuries. Polaris stated one

of those incidents involved a young child – a six-year-old girl who was burned on over 40

percent of her body when the RZR Turbo caught fire in Utah’s American Fork Canyon,

also setting fire to 15 acres of land.83

         191.   As depicted in the photo below, owners of vehicles repaired under this recall

posted on online forums that the heat shield their dealer installed on the exhaust pipe to

repair their Class Vehicles had burned shortly thereafter.84




         192.   Realizing that the initial recall for the RZR 900 and 1000 series was

inadequate, Polaris expanded the recall on April 19, 2016 to include a total of 133,000

vehicles: the 2013-2014 RZR XP 900 (production ended after 2014), 2014-2016 RZR XP


82
     Polaris Indus., Recall No. 16-257, Sept. 1, 2016.
83
  Jed Boal, Recent ORV Explosion Raises Questions About Vehicle’s Safety, KSL.com,
Jul. 26, 2016, https://www.ksl.com/?sid=40821427&nid=148, accessed Apr. 2, 2018.
84
   RZR Forums.Net, 16 Turbo with Recall done heat shield allegedly burning, Sept. 24,
2016, http://www.rzrforums.net/rzr-xp-turbo/336465-16-turbo-recall-done-heat-shield-
allegedly-burning.html, accessed Apr. 2, 2018.


                                              63
           CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 64 of 202




1000 (entire production to date), 2015-2016 RZR 900 (entire production to date), 2015-

2016 RZR S 900 (entire production to date), 2016 RZR S 1000 (debut year). Each of these

vehicles contain the Excessive Heat Defect.

           193.   Polaris did not specify a root cause on the recall notice, saying only the

vehicles “can catch fire while consumers are driving, posing fire and burn hazards.”85

Polaris reported it had received 160 reports of fires with just those vehicles and 19 injury

reports, including some for third degree burns.86 Polaris also included Baylee Hoaldridge’s

death.

           194.   According to the TSBs Polaris sent to dealers for this recall, the vehicles had

one or more issues related to excessive heat, melting, and fire. Every recalled vehicle also

had the ProStar engine configuration associated with the Excessive Heat Defect.

           195.   In a press release, Polaris stated it had “already begun implementation of its

Corrective Action Plan and has made manufacturing updates in new-production vehicles.

Polaris also plans to include a warning on new-production vehicles instructing riders not

to carry fuel and other flammable liquids in their vehicles, and cautions against carrying

flammable liquids in previously produced models.”87




85
     Polaris Indus., Recall No. 160146, Apr. 19, 2016.
86
     Id.
87
 Press Release, Polaris Industries Voluntarily Recalls Certain RZR 900 and 1000 Off-
Road Vehicles, Apr. 19, 2016.


                                                 64
           CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 65 of 202




           196.   Polaris’s Chairman and CEO Scott Wine assured the public, “[w]e are

working day and night to inform our customers and dealers and to obtain the parts needed

for the repairs we identified in our comprehensive analysis.         We apologize for the

inconvenience to our customers as we work to ensure all the systemic thermal risks we

identified are eliminated from our vehicles.”88 Thus, Polaris admitted it had systemic

problems with containing the excessive heat.

           197.   On March 2, 2017, Polaris again expanded on previous recalls, re-recalling

13,500 model year 2016 vehicles, meaning that those fixed under the expansive April 2016

recall still suffered from the Excessive Heat Defect, and adding model year 2017 for certain

vehicles in the RZR 900 series, RZR XP 1000, and RZR XP 4 Turbo. It also added the

2016-2017 General 1000 and General 4 1000.89 Like the others, the recall for the General

1000 series encompassed its entire production run. All recalled vehicles featured the

ProStar engine and exhaust in a tight compartment surrounded by plastic directly behind

the occupant compartment.90

           198.   This recall stated that the engine could misfire, causing the exhaust to

overheat, melting nearby components.91 Polaris received one report of fire and two reports




88
     Id.
89
     Polaris Indus., Recall No. 17-102, Mar. 2, 2017.
90
  Polaris General 1000 EPS: Full Test, UTV Action, Apr. 8, 2016,
https://utvactionmag.com/polaris-general-1000-eps-full-test/, accessed Apr. 2, 2018.
91
     Polaris Indus., Recall No. 17-102, Mar. 2, 2017.


                                               65
           CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 66 of 202




of melting related to engine misfire.92 Had the vehicles had a sufficient amount of airflow

around the engine and exhaust, this heat may have dissipated before it melted the

surrounding components.

           199.   Despite all of these recalls and asserted “fixes,” on December 19, 2017,

Polaris and CPSC issued a joint statement warning the public that fires in the 2013-2017

RZR 900 and 1000 vehicles had caused death, serious injuries, and property damage.93 The

warning noted that many of the vehicles had previously been recalled, “[h]owever, users

of the vehicles that were repaired as part of the April 2016 recall continue to report fires,

including total-loss fires.”94 The warning also stated that some of the 2017 RZR vehicles

not previously recalled have also experienced fires.95

           200.   The joint statement offered no solution, saying only that “[t]he CPSC and

Polaris continue to work together to ensure fire risks in these vehicles are addressed.

However, at this time, the CPSC and Polaris want to make the public aware of the fires

involving these vehicles.”96 This was an admission that Polaris’s “fixes” had not corrected

the “systemic” thermal issues and that Polaris did not know how to mitigate the excessive




92
     Id.
93
  Joint Statement of CPSC and Polaris on Polaris RZR 900 and 1000 Recreational Off-
Highway Vehicles (ROVs), Dec. 19, 2017.
94
     Id.
95
     Id.
96
     Id.


                                              66
           CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 67 of 202




heat in the Class Vehicles. What Polaris did not say is that it was aware that the true root

cause was the ProStar engine and its exhaust being situated in a tight compartment behind

the occupants that was surrounded by plastic components that were too close and covered

by a plastic hood, a design defect that could not be easily fixed.

           201.   The RZR recalls did not stop there. Three days after the joint CPSC and

Polaris announcement, the fire hazard was associated with model year 2018 vehicles, with

Polaris recalling 560 RZR XP 4 Turbo vehicles for a risk of fire.97 Polaris had received

one report of fire related to this flaw.98

           202.   On April 2, 2018, Polaris issued yet another recall related to the Excessive

Heat Defect. The recall applies to 107,000 model year 2014-2018 RZR XP 1000 vehicles

in which the exhaust silencer fatigues and cracks and the heat shield fails to manage the

heat, leading to melting of nearby components or fire.99 Some RZR owners have noted on

a forum that the intense heat from the engine was causing the exhaust silencer, also known

as a muffler, to crack on the side facing the engine.100

           203.   The same day, Polaris announced another voluntary field action for the 2017-

2018 RZR 570, 2016-2018 RZR S 1000, 2016-2018 RZR XP/XP 4 Turbo, and 2017-2018



97
     Polaris Indus., Recall No. 18-708, Dec. 21, 2017.
98
     Id.
99
     Polaris Indus., Recall No. 18-133, Apr. 2, 2018.
100
    RZRForums.Net, posted by JGKopp, Fuel rail causing fires?, post no. 62, Jan. 26,
2016, available at http://www.rzrforums.net/rzr-xp-4-1000/183116-fuel-rail-causing-
fires-5.html.


                                               67
      CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 68 of 202




Ace 500, 570, and 900 models. The Ace is a one-seat side-by-side vehicle that shares many

characteristics of an ATV. The 2017-2018 Ace vehicles contain a ProStar engine with the

exhaust pipe in the same configuration. In this field action, Polaris said the vehicles

contained a fuel pump flange assembly that could degrade when exposed to certain

chemicals over time, resulting in a fuel leak that could catch fire in the presence of an

ignition source.101 Polaris’s solution is reportedly to install a cover over the fuel pump to

protect it from chemical exposure, suggesting Polaris used an inadequate material for the

assembly within an unforgiving environment.

       204.    Although Polaris has admitted to a fire risk in its recalls, it has never

disclosed to Plaintiffs, Class members, or the public that all of the recalled vehicles share

the underlying Excessive Heat Defect and that Polaris has not devised a viable repair to

remedy this defect. Instead, it has hidden behind a series of band-aid fixes for issues that

would not be causing fires were it not for the excessive heat generated by the Excessive

Heat Defect.

       205.    In sum, all RZR models with the centerline-mounted ProStar engine have

been recalled, several for all model years produced. Prior to the incorporation of the

centerline-mounted ProStar Engine in the tight compartment, only 330 total RZR vehicles

had been recalled.




101
  Polaris Indus., Polaris Issues Voluntary Field Action for Certain RZR and ACE
Models, Apr. 2, 2018.


                                             68
            CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 69 of 202




            2.     Ranger Recalls

            206.   At the same time the numerous RZR recalls were unfolding, the Ranger

vehicles equipped with ProStar engines were also being recalled for excessive heat that

could result in melting and fires.

            207.   In June 2016, Polaris recalled 43,000 model year 2015-2016 Ranger 570 and

Crew 570 series vehicles. The U.S. recall stated that the ROVs could overheat during

heavy engine loading, slow-speed intermittent use and/or high outdoor temperatures,

causing them to catch fire.102        However, as noted above, Canada’s recall statement

explained that the culprit was that the excessively hot exhaust system in a confined space

with little airflow could set the seat close-off panel on fire.103 The remedy was a new heat

shield between the engine exhaust and the seat panel.104 Polaris had received 36 reports of

fire, including three minor burns and one sprained ankle associated with escaping the

burning vehicle.105

            208.   In September 2016, Polaris recalled 42,500 model year 2014 Ranger XP 900

and Crew 900 vehicles, stating it had received 36 reports of fire, including three minor




102
      Polaris Indus., Recall No. 16-755, June 28, 2016.
103
      Canada Recall and Safety Alerts No. 2016326, June 27, 2016.
104
      Id.
105
      Polaris Indus., Recall No. 16-755, June 28, 2016.


                                               69
        CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 70 of 202




injuries.106 The TSB for this recall specified that the fasteners for the cargo box heat shield

could become loose, failing to protect the passenger seat panel from exhaust heat.107

         209.   In April 2017, Polaris expanded the 2016 recall to include model year 2015

after receiving 13 incident reports, including five fires.108 This expanded recall asserted

that the heat shield could fall off the vehicle. Owners reported the heat shields were coming

off because the metal attaching bolts are heating up to the point that they melt the plastic

panel to which the shields are attached.109

         210.   Polaris has not recalled model years 2013 or 2016 for the Ranger XP 900,

which share the ProStar engine configured in the same manner as the other model years,

but owners of these vehicles have warned others via user forums of the hazards. In 2013,

a firefighter posted a warning on a forum under the subject heading, “2013 polaris ranger

900 xp exhaust FIRE danger,” saying after he purchased the vehicle, he and his fellow

firefighters discovered that in the “new Polaris setup the muffler gets really hot.” That is

a danger because of “the vehicle’s exhaust and muffler placement,” as well as the fact that

“a majority of the muffler is open and could easily start a grass fire if not watched carefully




106
      Polaris Indus., Recall No. 16-264, Sept. 15, 2016.
107
      Polaris Indus., Tech. Serv. Bulletin R-16-03, Sept. 15, 2016.
108
      Polaris Indus., Recall No. 17-132, Apr. 13, 2017.
109
   PRCForum.com, posted by Chris, 2014 900 potential fire issue, June 22, 2015,
available at http://www.prcforum.com/forum/26-ranger-problems-solutions/61961-2014-
900-potential-fire-issue.html


                                               70
      CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 71 of 202




by the operator, especially when stopping in long dry grass or brush.”110 Unfortunately,

warnings posted on forums are usually read only after a current owner visits the site looking

for answers to problems that are already occurring.

       211.   Another consumer posted in November 2016 that his new 2016 Ranger XP

900 had caught fire only three days after he purchased it after mud and straw ignited on the

engine. The consumer reported, “I am choked. I have used this brand new item for 1.5

working days since Nov. 9. The dealer and Polaris see me as ‘overreacting,’ and I can’t

get Polaris to contact me.”111

       212.   Polaris tells Ranger owners that only a dealer can conduct the replacement

repairs. Many Ranger owners use their vehicles as utility vehicles on farms or other remote

locations, with dealerships miles away. For example, one forum user who has a 2015

Ranger XP 900 stated, “According to my dealership, which is 90 miles away, I need to

return it there and can’t do the work myself. He also stated that if it caught fire while riding

it, neither Polaris nor my insurance company would be liable. I’d be on the hook for

damages myself.”112


110
   PRC Ranger Club, 2013 Polaris Ranger 900 xp exhaust FIRE danger, July 26, 2013,
http://www.prcforum.com/forum/154-ranger-xp-900-570-fs-discussions/50505-2013-
polaris-ranger-900-xp-exhaust-fire-danger.html, accessed Apr. 2, 2018.
111
  Ranger Forums, XP 900 on Tracks Major Problems, by Frankie Paper Boy, Nov. 23,
2016, http://www.rangerforums.net/forum/polaris-ranger-xp900/30402-xp-900-tracks-
major-problems.html, accessed Apr. 2, 2018.
112
   Ranger Forums.Net, 2015 XP900 Recall Notice, Apr. 24, 2017,
http://www.rangerforums.net/forum/polaris-ranger-xp900/35433-2015-xp900-recall-
notice.html, accessed on Apr. 2, 2018.


                                              71
       CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 72 of 202




        213.   Thus, Ranger owners with recalled vehicles are also forced to make the

decision between taking time to deliver the Ranger to a dealership, possibly leaving it there

for days while waiting for the repair, or use a vehicle that could catch fire while they are

using it.

        214.   Polaris’s representations to owners of recalled Rangers that their vehicles

have a discreet, permanent fix, i.e. new heat shields, conceals its knowledge that these

Class Vehicles will continue to possess the underlying Excessive Heat Defect. It also

conceals the daunting fact that Polaris has attempted since 2011 to devise a heat shield

effective enough to withstand the excessive temperatures, but has continually had to recall

the heat shields it selects.

        215.   Polaris has also concealed the Excessive Heat Defect from owners of non-

recalled Ranger vehicles; giving them the false impression that their vehicles are safe from

fire risk.

        216.   On April 2, 2018, the CPSC confirmed Polaris’s duplicity, fining the

company a record $27.25 million for failing to timely report defects and fire hazards in the

RZR and Ranger models that it knew could result in serious injury or death.113 Neither the

CPSC nor Polaris’s press releases announcing the fine mentioned the unsolved defect

situation with the RZR vehicles.




113
   CPSC, Press Release, Polaris Agrees to Pay $27.25 Million Civil Penalty for Failure
to Report Defective Recreational Off-Road Vehicles, Apr. 2, 2018.


                                             72
      CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 73 of 202




E.     Polaris’s Meteoric Rise Causes Systemic Quality Control Problems

       217.   During the timeframe the engines were designed and manufactured, Polaris

underwent a meteoric rise in sales that led to dangerous cost-cutting measures, which were

also imposed on its suppliers. The rapid pace at which Polaris wanted to unveil new

vehicles also meant the component design, engineering, and testing process was truncated,

which, upon information and belief, resulted in inadequate component validation testing.

       218.   These systemic quality control issues and the relentless drive to reduce costs

was part of a culture that put profits above safety. Quality control problems and lack of

oversight over suppliers exacerbated the Excessive Heat Defect by subjecting subpar

components to the excessive heat environment.

       219.   From at least the mid-2000s until 2015, when it implemented a new cost

reduction program, Polaris expected suppliers to participate in what it called the Strategies

Toward Annual Reductions, or STAR, program. In a STAR Program Manual to suppliers,

Polaris stated that, “[i]n order for Polaris to maintain and improve its competitive position,

cost reduction efforts need to do more than offset inflation.”114 Polaris challenged suppliers

to submit cost savings proposals equal to at least 10 percent of their annual sales and to

work with Polaris to implement cost savings of at least 2 percent of annual sales.115




114
    Polaris Indus., Supplier STAR Program Manual, updated Jan. 15, 2003, at 2, available
at https://www.polarissuppliers.com/Polcy_Procedure/STAR/S001.asp
115
    Polaris Indus., Supplier STAR Program Manual, updated Jan. 15, 2003, at 2, available
at https://www.polarissuppliers.com/Polcy_Procedure/STAR/S001.asp


                                             73
      CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 74 of 202




       220.   The STAR Program manual noted, “[a]lthough the emphasis of this program

is to achieve bottom-line savings, suppliers are reminded that this is a cost reduction

program and not simply an invoice price reduction initiative. Suppliers are encouraged to

reduce costs by focusing on any and all saving opportunities . . . .”116 These cost reductions

could be in the form of, for instance, reductions to operating or material costs, including

recommending cheaper alternate materials, and design changes for existing products, such

as “relaxing a tolerance to reduce scrap and increase throughput.”117

       221.   If not carefully validated, cost reductions can have a significant impact on

safety. For instance, a manufacturer could approve thinner walls for fuel tanks to save

money on plastic, making them more prone to failure in high-heat conditions, or select less

expensive bolts prone to shearing.

       222.   Polaris credited these cost reductions as a significant factor in its massive

increase in profits. For instance, in its 2011 10-K, Polaris reported, “For 2011, gross profit

dollars increased 40 percent to $740.6 million compared to 2010. Gross profit, as a

percentage of sales, increased 130 basis points to 27.9 percent compared to 26.6 percent

for 2010. The increase in gross profit dollars and the 130 basis points increase in the gross

profit margin percentage in 2011 resulted primarily from continued product cost reduction




116
    Polaris Indus., Supplier STAR Program Manual, updated Jan. 15, 2003, at 2, available
at https://www.polarissuppliers.com/Polcy_Procedure/STAR/S001.asp
117
    Polaris Indus., Supplier STAR Program Manual, updated Jan. 15, 2003, at 3, available
at https://www.polarissuppliers.com/Polcy_Procedure/STAR/S001.asp


                                             74
        CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 75 of 202




efforts, production efficiencies on increased volumes, and higher selling prices, partially

offset by increasing commodity costs and unfavorable product mix.”118

         223.   The cost reduction efforts were particularly important as Polaris readied itself

to become the world leader in recreational vehicles. One cost-cutting measure Polaris took

in 2009 was to begin designing and manufacturing its own engines. In its 2015 Annual

Report, Polaris explained the reasons for this evolution: “Lower cost – Suppliers typically

charge 20 to 30 percent more to develop a custom engine than it costs to do it in-house.

Faster time to market – A custom engine from a supplier typically takes four to five years

to develop, an unacceptable timeline for a competitive company.”119

         224.   Polaris also explained that developing an engine in-house provides “[t]he

flexibility to be more innovative – We can experiment more cost-effectively with radical

ideas that help exceed customer desires.”120

         225.   In developing its own engine, “[w]e borrowed a page from our chassis

playbook and developed five platforms that serve as the foundation for all our engines.

While each engine has its own distinct brand variances, they share some common elements

to maximize our powertrain investment.”121




118
  Polaris Indus., 2011 Annual Report, SEC Form 10-K for fiscal year end Dec. 31,
2011, at 34.
119
      Polaris Indus., 2015 Annual Report, at 8.
120
      Polaris Indus., 2015 Annual Report, at 8.
121
      Polaris Indus., 2015 Annual Report, at 9.


                                               75
        CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 76 of 202




         226.   Thus, Polaris appears to have begun developing the ProStar engine in 2009

and installed it in the first vehicle, the 2011 RZR XP 900, only two years later.

         227.   In its 2009 Annual Report, Polaris highlighted several changes implemented

that year to reduce costs: “The Operational Excellence initiatives in engineering drove two

critical outcomes in 2009 – cost improvement in all areas and quality improvement in most

areas. From a cost improvement perspective, engineers implemented design changes that

allowed them to use more common components and subsystems across multiple Polaris

platforms. They leveraged commonalities in drivetrains, chassis, electrical subsystems,

body frames and controls to drive significant savings across the portfolio of products.

Polaris engineering teams reduced cycle time for product design by nearly 50 percent and

discovered new ways to reduce the weight of most vehicles. And they found ways to make

manufacturing processes faster and less labor-intensive, which also had a strong impact on

costs and margins.”122

         228.   The 2009 recession prompted Polaris to declare 2010 the year of “Making

Growth Happen,” which it planned to accomplish by “leveraging our industry-leading

innovation, speed to market and burgeoning international presence.”123 That year, Polaris

experienced a 27 percent sales increase, requiring ramped up production, a new assembly

line in Mexico, and enhanced U.S. facilities to lower production costs and manufacturing




122
      Polaris Indus., 2009 Annual Report, at 9.
123
      Polaris Indus., 2010 Annual Report, at 1.


                                              76
            CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 77 of 202




lead times.124 The company set a goal of reaching $5 billion in worldwide sales by 2019.125

Products that used to take six months to manufacture were now produced in as little as two

weeks because representatives were meeting with dealers frequently to discuss sales and

demand, rather than requiring that dealers guess what to stock.126 In its first year of

operation, the Monterrey, Mexico facility alone produced 22,000 vehicles.127

            229.   By 2011, Polaris was making 24 models of ORVs, including Sportsman

ATVs (themselves the subject of a fire-hazard class action lawsuit).128 The goal to reach

$5 billion in sales was shortened from 2019 to 2018.129

            230.   The rapid growth continued in 2012, with Polaris emphasizing the thirst for

growth at a rapid pace in its Annual Report: “Regardless of the challenges, the success of

Polaris ultimately depends on leadership and teamwork. We have a deep and talented team

that is the best in powersports, and we rely on their experience and ability as we expand

into new markets. Our ability to innovate and execute faster and better than the competition

provides Polaris with an advantage that plays anywhere; couple that with the global reach

of our strong brands and the potential of our business is practically unlimited. This Polaris



124
      Id. at 2.
125
      Id.
126
      Id. at 4.
127
      Polaris Indus., 2011 Annual Report, at 10.
128
      Polaris Indus., 2011 Annual Report, Securities Form 10-K Filing, at 16.
129
      Id. at 1.


                                                77
        CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 78 of 202




team has aggressively and consistently executed our Strategic Objectives to create both

value for shareholders and significant opportunities for additional growth.”130 In a 2012

presentation to investors, Polaris projected a 120 percent sales growth for the RZR brand

between 2009 and the end of 2012.131

         231.   In its 2013 report, Polaris proclaimed that its sales had risen so much it had

expanded its sales goal to $8 billion by 2020.132 In that year alone, it launched 26 new

models, bringing the total ORV models to 49 (double the number of models in 2011).133

Polaris credited its margin reductions, stating, “However, one simple number – 10.1

percent – best represents the progress we’ve made over the past five years. In 2009, we set

a goal to expand net income margin from 6 percent to 10 percent by 2018. With typical

Polaris vigor, our teams relentlessly pursued margin opportunities: they moved plants and

lowered product costs, improved productivity and leveraged overhead, value engineered

vehicles, and captured price.”134

         232.   But there were signs that Polaris knew the pace might be affecting design

and quality, as Polaris stated in its Annual Report: “Achieving our net margin goal five

years early, in conjunction with our accelerated revenue growth, coincides nicely with the



130
      Polaris Indus., 2012 Annual Report, at 4.
131
      Polaris Indus., Analyst & Investor Meeting, July 31, 2012, at 60.
132
      Polaris Indus., 2013 Annual Report, at 3.
133
      Id.; see also Polaris Indus., 2014 Annual Report, Securities Form 10-K Filing, at 30.
134
      Polaris Indus., 2013 Annual Report, at 6.


                                              78
            CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 79 of 202




exponential expansion our market capitalization has undergone. While we’re certainly

pleased with our progress, there are clear justifications for our intense motivation to be

better: we must improve project execution, quality and speed; lower inventories and

warranty costs; and generate significant returns on numerous investments that have, in

some cases, diluted our margins over the past few years.”135 The report also stated that the

“financial results were arguably better than our operational performance” and “less-than-

stellar execution.”136

            233.   To address some of those concerns, in 2014, Polaris created the division for

Operations, Engineering and Lean [Management]. The executive vice president of this

division, Ken Pucel, said he was brought in to “make sure we not only drive industry-

leading innovation, but that we also drive continuous improvement and efficiency and

quality and safety and keep up with product demand.”137 To improve operations, Polaris

was “better integrating engineering and manufacturing. We’re involving manufacturing

experts earlier in the development process and involving engineering experts further into

manufacturing and supply chain.”138 CEO Scott Wine said in the report that in its drive to




135
      Polaris Indus., 2013 Annual Report, at 2.
136
      Id. at 4.
137
      Polaris Indus., 2014 Annual Report, at 18.
138
      Id.


                                                79
            CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 80 of 202




reach $8 billion in sales by 2020, Polaris planned to reduce supplier costs, rework (i.e.

correcting defective products), and inventory.139

            234.   Sales in ORVs declined in 2015, Polaris proclaimed an “all-out assault on

costs.” As part of this renewed focus on cost reduction, Polaris replaced the STAR program

with the Value Improvement Project (VIP) system. The company implemented this system

because, according to a presentation to suppliers by Tony Wixo, then Senior Director of

Global Procurement and Supplier Development, “traditional cost-down approaches won’t

meet the goals we have for margin expansion coupled with business growth.”140 Wixo said

VIP was a standardized tool with a “common prioritization across groups driven by

financials.”141 Polaris wanted to use VIP to reduce material costs, which account for 78%

of the company’s costs through Value Analysis/Value Engineering (VA/VE), which is a

method for determining the highest costs and eliminating them; focused optimization and

in-sourcing; and strategic sourcing with “should cost” modeling.142

            235.   Under the VIP program, Polaris still insisted on a 2 percent or better annual

net cost reduction, but only suppliers who achieved a 6 percent or greater cost reduction




139
      Polaris Indus., 2014 Annual Report, at 8
140
   Polaris Indus., 2016 Supplier Conference, General Session – Global Procurement –
Strategic Sourcing & Supplier Management, Feb. 2016, at 9.
141
      Id.
142
   Polaris Indus., 2016 Supplier Conference, General Session – Global Procurement –
Strategic Sourcing & Supplier Management, Feb. 2016, at 10.


                                                 80
        CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 81 of 202




would be given the highest grade for cost reductions, which counted for 30 percent of the

overall grade.143

         236.   Polaris’s 2015 Annual Report hints at its recognition that quality was

suffering: “Quality and Delivery must also improve as we progress along our Lean journey.

While an important commitment will always be to build the best vehicles, we know that

winning in the future will require more than horsepower and suspension travel. With our

multi-year global investment in assembly plants in its final stages – from Spirit Lake and

Opole all the way to Jaipur and Shanghai – we are prepared to deliver higher-quality

vehicles and shorter lead times to customers all over the world.”144

         237.   After recalling more than 200,000 RZR and Ranger vehicles for fire hazards

in 2016, Polaris, in its Annual Report, promised that the company was improving its

engineering and quality: “As Polaris has always done, we attacked our problems head-on

and learned a great deal as we addressed them. We are putting that knowledge to use as

we continue to strengthen our Global Safety and Quality function. Safety and quality have

been, and remain, our top priorities, but we know we still have much work to do. We will

continue to closely monitor our vehicles’ performance. When an issue arises, we will act

swiftly to keep our customers safe.”145




143
   Polaris, Supplier Business Practice Manual, 2018, at 19, available at
https://www.polarissuppliers.com/polcy_procedure/Business_Practices/BP001.asp.
144
      Polaris Indus., 2015 Annual Report, at 2.
145
      Polaris Indus., 2016 Annual Report, at 3.


                                              81
         CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 82 of 202




          238.     Polaris also asserted it was “increasing our R&D investment significantly,

adding engineering resources to ensure that our armada is stronger than ever before. With

stronger leadership, increased investments, more resources, improved dealer service and

support, and of course, great vehicles, we are well-prepared to deliver better performance

in a competitive ORV market.”146

          239.     The Annual Report included a description of the goals of the Global Safety

and Quality Organization: “enhanced and monitor quality systems across the entire product

lifecycle – from product and supplier development through manufacturing and end of life.

Enhanced and monitor safety training for all employees. Conduct post-sale surveillance,

tracking warranty data and social media to identify and address safety trends sooner.” 147

          240.     Polaris’s assertions of a renewed focus on quality are belied by its

requirements of its suppliers, which are significantly less stringent than most

manufacturers.

          241.     Polaris states in its Supplier Quality Assurance Manual (SQAM) that

suppliers must “strive to create a ‘zero-defect’ environment in which ongoing data review

shall drive proactive process improvements.” The latest SQAM version seems mindful

that its oversight was previously lacking: “We shall transform our mindset regarding

quality from ‘as received’ at the factory to zero defects ‘as delivered’ to the end customer.




146
      Id. at 4.
147
      Id. at 11.


                                                82
         CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 83 of 202




The focus shall be on customer-perceived quality with metrics linked to leading product

quality and reliability.”148

          242.     However, in its Supplier Business Practices Manual, Polaris describes its

monthly grading system for suppliers, which is based on delivery and flexibility, quality,

and cost reductions. Quality, which accounts for 30 percent of the grade, is judged

primarily by a supplier’s Parts Per Million (PPM) performance basis, which is a measure

of how many defective parts were produced within one million parts.149 Polaris’s minimum

quality expectation is that suppliers will attain a PPM below 300, although a PPM under

500 will not prompt a quality alert.150 In a 2017 supplier conference webinar, Wixo noted

that Polaris’s goal was less than 225 PPM.151 This translates to an acceptance rate of 225

defective parts out of one million parts produced.

          243.     Polaris’s acceptable PPM is significantly higher than the rate considered

acceptable in manufacturing. Many manufacturers follow Six Sigma quality practices,



148
   Polaris, Supplier Quality Assurance Manual, March 2018, Rev. 4, at 6; Captured
06/08/18 at:
https://www.polarissuppliers.com/Files/Polcy_Procedure/Documents/Supplier_Exchange
/SQAM%20Rev4.pdf.
149
    Polaris, Supplier Business Practices Manual, 2018, at 16, available at
https://www.polarissuppliers.com/Policy_Procedure/Documents/Supplier_Exchange/Sup
plierBusinessPracticeManual.pdf.
150
      Id. at 17.
151
   Polaris Indus., 2016 Supplier Conference, General Session – Global Procurement –
Strategic Sourcing & Supplier Management, Feb. 2016, at 14, available at
https://www.polarissuppliers.com/files/Conference/Tony%20Wixo%20General%20Sessi
on%20Presenation.pdf.


                                               83
      CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 84 of 202




which allows only 3.4 defects per million parts produced.152 In fact, Polaris specifically

requires in its SQAM that suppliers adhere to Six Sigma.153 Yet, it is willing to accept

221.6 defective products over that limit.

       244.   By way of illustration, the high-profile 2001 recall of Bridgestone/Firestone

Wilderness AT tires on Ford vehicles had an average tread separation claims rate of 9

PPM.154 The lesser-known 2010 recall of Garmin International portable GPS units for fire

risk was issued after a defect rate of only 6.67 PPM.155

       245.   Thus, despite years of recalls, Polaris continues to violate both its internal

quality standards and accepted industry quality practices, exacerbating the effects of the

undisclosed Excessive Heat Defect to the detriment of Class Members.




152
   Roger G. Schroeder et al., Six Sigma: Definition and Underlying Theory, 26 Journal
of Operations Management 536 (2008), at 537.
153
   Polaris, Supplier Quality Assurance Manual, March 2018, Rev. 4, at 6; Captured
06/08/18 at:
https://www.polarissuppliers.com/Files/Polcy_Procedure/Documents/Supplier_Exchange
/SQAM%20Rev4.pdf
154
   See Joint Hearing, Subcommittees on Commerce, Trade, and Consumer Protection,
Ford Motor Company's Recall of Certain Firestone Tires, June 19, 2001, at 95.
155
   Nat’l Highway Traffic Safety Admin., Recall No. 10E039, Garmin International, Aug.
10, 2010, at 2.


                                            84
      CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 85 of 202




              V.     TOLLING OF THE STATUTES OF LIMITATION

A.     Discovery Rule Tolling

       246.    Neither Plaintiffs nor the other Class members could have discovered

through the exercise of reasonable diligence that their Class Vehicles were defective within

the time period of any applicable statutes of limitation.

       247.    Among other things, neither Plaintiffs nor the other Class members knew or

could have known that the Class Vehicles contain the Excessive Heat Defect.

B.     Fraudulent Concealment Tolling

       248.    Throughout the time period relevant to this action, Polaris concealed from

and failed to disclose to Plaintiffs and the other Class members vital information

concerning the Excessive Heat Defect described herein.

       249.    Indeed, Polaris kept Plaintiffs and the other Class members ignorant of vital

information essential to the pursuit of their claims. As a result, neither Plaintiffs nor the

other Class members could have discovered the defect, even upon reasonable exercise of

diligence.

       250.    Specifically, throughout the Class Period, Polaris was aware that the Class

Vehicles were susceptible to catching fire, and that they contained the Excessive Heat

Defect.

       251.    Despite its knowledge of the defect, Polaris failed to disclose and concealed,

and continues to conceal, this critical information from Plaintiffs and the other Class

members, even though, at any point in time, it could have done so through individual

correspondence, media release, or by other means. Indeed, Polaris affirmatively concealed


                                             85
      CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 86 of 202




the Excessive Heat Defect through its series of ineffective and misleading recalls, described

above.

         252.   Plaintiffs and the other Class members justifiably relied on Polaris to disclose

the Excessive Heat Defect in the Class Vehicles that they purchased, because that defect

was hidden and not discoverable through reasonable efforts by Plaintiffs and the other

Class members.

         253.   Thus, the running of all applicable statutes of limitation have been suspended

with respect to any claims that Plaintiffs and the other Class members have sustained as a

result of the defect, by virtue of the fraudulent concealment doctrine.

C.       Estoppel

         254.   Polaris was under a continuous duty to disclose to Plaintiffs and the other

Class members the true character, quality, and nature of the Class Vehicles

         255.   Polaris knowingly concealed the true nature, quality, and character of the

Class Vehicles.

         256.   Based on the foregoing, Polaris is estopped from relying on any statutes of

limitations in defense of this action.

                       VI.      CLASS ACTION ALLEGATIONS

         257.   Plaintiffs bring this action pursuant to Rules 23(a), 23(b)(2), and 23(b)(3) of

the Federal Rules of Civil Procedure on behalf of themselves and all others similarly

situated.

         258.   Plaintiffs seek to represent a class (“the Nationwide Class”) defined as:




                                               86
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 87 of 202




             All current and former owner or lessees of a Class Vehicle (as
             defined herein) that was purchased in the United States.

      259.   Plaintiffs also respectively seek to represent the following statewide classes

(“the Statewide Classes”) defined as follows:

             • All current and former owners or lessees of a Class Vehicle (as
               defined herein) that was purchased or leased in the State of
               Alabama (“the Alabama Class”).

             • All current and former owners or lessees of a Class Vehicle (as
               defined herein) that was purchased or leased in the State of
               California (“the California Class”).

             • All current and former owners or lessees of a Class Vehicle (as
               defined herein) that was purchased or leased in the State of Florida
               (“the Florida Class”).

             • All current and former owners or lessees of a Class Vehicle (as
               defined herein) that was purchased or leased in the State of
               Georgia (“the Georgia Class”).

             • All current and former owners or lessees of a Class Vehicle (as
               defined herein) that was purchased or leased in the State of Illinois
               (“the Illinois Class”).

             • All current and former owners or lessees of a Class Vehicle (as
               defined herein) that was purchased or leased in the State of
               Louisiana (“the Louisiana Class”).

             • All current and former owners or lessees of a Class Vehicle (as
               defined herein) that was purchased or leased in the State of
               Michigan (“the Michigan Class”).

             • All current and former owners or lessees of a Class Vehicle (as
               defined herein) that was purchased or leased in the State of
               Minnesota (“the Minnesota Class”).

             • All current and former owners or lessees of a Class Vehicle (as
               defined herein) that was purchased or leased in the State of Ohio
               (“the Ohio Class”).



                                           87
      CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 88 of 202




               • All current and former owners or lessees of a Class Vehicle (as
                 defined herein) that was purchased or leased in the State of
                 Pennsylvania (“the Pennsylvania Class”).

               • All current and former owners or lessees of a Class Vehicle (as
                 defined herein) that was purchased or leased in the State of South
                 Dakota (“the South Dakota Class”).

               • All current and former owners or lessees of a Class Vehicle (as
                 defined herein) that was purchased or leased in the State of Texas
                 (“the Texas Class”).

               • All current and former owners or lessees of a Class Vehicle (as
                 defined herein) that was purchased or leased in the State of
                 Wyoming (“the Wyoming Class”).

       260.    Excluded from both the Nationwide and Statewide Class are Defendants

Polaris Industries, Inc. and Polaris Sales, Inc. and any of their members, affiliates, parents,

subsidiaries, officers, directors, employees, successors, or assigns; and the Court staff

assigned to this case and their immediate family members. Plaintiffs reserve the right to

modify or amend these Nationwide and Statewide Class definitions, as appropriate, during

the course of this litigation.

       261.    The Classes expressly disclaim any recovery in this action for personal injury

resulting from the Excessive Heat Defect, without waiving or dismissing any such claims.

       262.    This action has been brought and may properly be maintained on behalf of

the Nationwide and Statewide Classes proposed herein under the criteria of Rule 23 of the

Federal Rules of Civil Procedure.

       263.    Numerosity – Federal Rule of Civil Procedure 23(a)(1). The members of

the Nationwide and Statewide Classes are so numerous and geographically dispersed that

individual joinder of all class members is impracticable. While Plaintiffs are informed and


                                              88
      CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 89 of 202




believe that there are not less than 300,000 members of the Nationwide and Statewide

Classes, the precise number of Nationwide and Statewide Classes is unknown to Plaintiffs

but may be ascertained from Polaris’s books and records. Nationwide and Statewide Class

Members may be notified of the pendency of this action by recognized, Court-approved

notice dissemination methods, which may include U.S. Mail, electronic mail, Internet

postings, and/or published notice.

      264.   Commonality and Predominance – Federal Rule of Civil Procedure

23(a)(2) and 23(b)(3). This action involves common questions of law and fact, which

predominate over any questions affecting individual Nationwide and Statewide Class

members, including, without limitation:

             a.     whether Polaris engaged in the conduct alleged herein;

             b.     whether Polaris’s alleged conduct violates applicable law;

             c.     whether Polaris designed, advertised, marketed, distributed, leased,

      sold, or otherwise placed the Class Vehicles into the stream of commerce in the

      United States;

             d.     whether Polaris misled Nationwide and Statewide Class members

      about the safety of the Class Vehicles;

             e.     whether the Class Vehicles contain the Excessive Heat Defect

      alleged herein;

             f.     whether Polaris had actual or imputed knowledge about the alleged

      defect but failed to disclose it to Plaintiffs and the other Nationwide and Statewide

      Class members;


                                           89
      CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 90 of 202




              g.     whether Polaris’s omissions and concealment regarding the quality

       of the Class Vehicles were likely to deceive Statewide Class members in violation

       of the state consumer protection statute alleged herein;

              h.     whether Polaris breached its express warranties to the Nationwide

       and Statewide Class members with respect to the Class Vehicles;

              i.     whether Polaris breached its implied warranties to the Nationwide

       and Statewide Class members with respect to the Class Vehicles;

              j.     whether Nationwide and Statewide Class members overpaid for their

       Class Vehicles as a result of the defect alleged herein;

              k.     whether Nationwide and Statewide Class members are entitled to

       damages, restitution, restitutionary disgorgement, equitable relief, statutory

       damages, exemplary damages, and/or other relief; and

              l.     the amount and nature of relief to be awarded to Plaintiffs and the

       other Nationwide and Statewide Class members.

       265.   Typicality – Federal Rule of Civil Procedure 23(a)(3). Plaintiffs’ claims

are typical of the other Nationwide and Statewide Class members’ claims because Plaintiffs

and the Nationwide and Statewide Class members purchased or leased Class Vehicles that

suffer from the Excessive Heat Defect. Neither Plaintiffs nor the other Nationwide and

Statewide Class Members would have purchased the Class Vehicles, or, alternatively,

would have paid less for the Class Vehicles, had they known of the Excessive Heat Defect.

Plaintiffs and the other Nationwide and Statewide Class members suffered damages as a

direct proximate result of the same wrongful practices in which Polaris engaged. Plaintiffs’


                                             90
      CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 91 of 202




claims arise from the same practices and course of conduct that give rise to the claims of

the other Nationwide and Statewide Class members.

       266.      Adequacy of Representation – Federal Rule of Civil Procedure 23(a)(4).

Plaintiffs are adequate Class representatives because their interests do not conflict with the

interests of the other members of the Nationwide and Statewide Classes that they seek to

represent, Plaintiffs have retained counsel competent and experienced in complex class

action litigation, and Plaintiffs intend to prosecute this action vigorously. The Nationwide

and Statewide Classes’ interests will be fairly and adequately protected by Plaintiffs and

their counsel.

       267.      Declaratory and Injunctive Relief – Federal Rule of Civil Procedure

23(b)(2). Polaris has acted or refused to act on grounds generally applicable to Plaintiffs

and the other Nationwide and Statewide Class members, thereby making appropriate final

injunctive relief and declaratory relief, as described below, with respect to the Nationwide

and Statewide Class members as a whole.

       268.      Superiority – Federal Rule of Civil Procedure 23(b)(3). A class action is

superior to any other available means for the fair and efficient adjudication of this

controversy, and no unusual difficulties are likely to be encountered in the management of

this class action. The damages or other financial detriment suffered by Plaintiffs and the

other Nationwide and Statewide Class members are relatively small compared to the

burden and expense that would be required to individually litigate their claims against

Polaris, so it would be impracticable for the Nationwide and Statewide Class members to

individually seek redress for Polaris’s wrongful conduct. Even if the Nationwide and


                                             91
      CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 92 of 202




Statewide Class members could afford litigation the court system could not. Individualized

litigation creates a potential for inconsistent or contradictory judgments, and increases the

delay and expense to all parties and the court system. By contrast, the class action device

presents far fewer management difficulties, and provides the benefits of single

adjudication, economy of scale, and comprehensive supervision by a single court.

                           VII.     CLAIMS FOR RELIEF

A.     Claims Brought on Behalf of the Nationwide Class

                               COUNT 1
          VIOLATION OF THE MAGNUSON-MOSS WARRANTY ACT
                        15 U.S.C. §§ 2301, et seq.

       269.   Plaintiffs repeat and reallege paragraphs 1-268 as if fully set forth herein.

       270.   Plaintiffs bring this Count individually and on behalf of the other members

of the Nationwide Class (the “Class,” for purposes of this Count).

       271.   This Court has jurisdiction to decide claims brought under 15 U.S.C. § 2301

by virtue of 28 U.S.C. §§ 1332(a) and (d).

       272.   Plaintiffs are “consumers” within the meaning of the Magnuson-Moss

Warranty Act, 15 U.S.C. § 2301(3).

       273.   Polaris is a “supplier” and “warrantor” within the meaning of the Magnuson-

Moss Warranty Act, 15 U.S.C. § 2301(4)-(5).

       274.   The Class Vehicles are “consumer products” within the meaning of the

Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(1).

       275.   15 U.S.C. § 2310(d)(1) provides a cause of action for any consumer who is

damaged by the failure of a warrantor to comply with a written warranty.


                                             92
      CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 93 of 202




       276.   In its Limited Warranty, Polaris expressly warranted that it would repair or

replace defects in material or workmanship free of charge if those defects became apparent

during the warranty period. Polaris provides the following language in its Ranger XP 900

Owner’s Manual, which upon information and belief, is substantially identical for all

models:

       [Polaris] gives a SIX MONTH LIMITED WARRANTY on all components
       of the POLARIS RANGER against defects in material and workmanship. . .
       . This warranty covers the parts and labor charges for repair or replacement
       of defective parts which are covered by this warranty. This warranty begins
       on the date or purchase.
       277.   Polaris’s Limited Warranty is a written warranty within the meaning of the

Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(6).            The Class Vehicles’ implied

warranty of merchantability is covered by 15 U.S.C. § 2301(7).

       278.   With respect to Class members’ purchases or leases of the Class Vehicles,

the terms of Polaris’s written warranty and implied warranty became part of the basis of

the bargain between Polaris, on the one hand, and Plaintiff and each of the other Class

members, on the other.

       279.   Polaris breached these warranties as described in more detail above. Without

limitation, the Class Vehicles suffer from the Excessive Heat Defect, as described above.

       280.   Polaris was provided notice of these issues and defects through numerous

complaints filed against it, as well as internal knowledge derived from testing and internal

expert analysis.

       281.   At the time of sale or lease of each Class Vehicle, Polaris knew, should have

known, or was reckless in not knowing of the Class Vehicles’ inability to perform as



                                            93
      CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 94 of 202




warranted, but nonetheless failed to rectify the situation and/or disclose the defective

design. Under the circumstances, the remedies available under any informal settlement

procedure would be inadequate, and any requirement that Plaintiff and the other Class

members resort to an informal dispute resolution procedure and/or afford Polaris a

reasonable opportunity to cure its breach of warranties is excused and thus deemed

satisfied.

       282.   The amount in controversy of Plaintiffs’ individual claims meet or exceed

the sum of $25. The amount in controversy in this action exceeds the sum of $50,000,

exclusive of interest and costs, computed on the basis of all claims to be determined in this

lawsuit.

       283.   As a direct and proximate result of Polaris’s breaches of its Limited Warranty

and the implied warranty of merchantability, Plaintiffs and the other Class members have

sustained damages in an amount to be determined at trial.

       284.   Plaintiffs, individually and on behalf of all the other Class members, seeks

all damages permitted by law, including the diminution in value of their vehicles, in an

amount to be proven at trial.

B.     Claims Brought on Behalf of the Alabama Class

                                    COUNT 2
                          VIOLATIONS OF ALABAMA’S
                       DECEPTIVE TRADE PRACTICES ACT
                            Ala. Code. §§ 8-19-1, et seq.

       285.   Plaintiff James Bruner (“Plaintiff,” for purposes of the Alabama Class’s

claims) repeats and realleges paragraphs 1-268 as if fully set forth herein.



                                             94
      CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 95 of 202




       286.   Plaintiff brings this Count individually and on behalf of the other members

of the Alabama Class (the “Class,” for purposes of this Count).

       287.   The Alabama Deceptive Trade Practices Act, Ala. Code. § 8-19-5, prohibits

“[e]ngaging in . . . unconscionable, false, or deceptive act[s] or practice[s] in business,

commerce, or trade.”

       288.   By the conduct described in detail above and incorporated herein, Polaris

engaged in deceptive trade practices.

       289.   Polaris’s omissions regarding the Excessive Heat Defect, described above,

are material facts that a reasonable person would have considered in deciding whether or

not to purchase (or to pay the same price for) the Class Vehicles.

       290.   Polaris intended for Plaintiff and the other Class members to rely on Polaris’s

omissions regarding the Excessive Heat Defect.

       291.   Plaintiff and the other Class members justifiably acted or relied to their

detriment upon Polaris’s omissions of fact concerning the above-described Excessive Heat

Defect, as evidenced by Plaintiff and the other Class members’ purchases of Class

Vehicles.

       292.   Had Polaris disclosed all material information regarding the Excessive Heat

Defect to Plaintiff and the other Class members, Plaintiff and the other Class members

would not have purchased or leased Class Vehicles or would have paid less to do so.

       293.   Polaris’s omissions have deceived Plaintiff, and those same business

practices have deceived or are likely to deceive members of the consuming public and the

other members of the Class.


                                             95
      CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 96 of 202




       294.   In addition to being deceptive, the business practices of Polaris were unfair

because Polaris knowingly sold Plaintiff and the other Class members’ Class Vehicles with

that are essentially unusable for the purposes for which they were sold. The injuries to

Plaintiff and the other Class members are substantial and greatly outweigh any alleged

countervailing benefit to Plaintiff and the other Class members or to competition under all

of the circumstances. Moreover, in light of Polaris’s exclusive knowledge of the Excessive

Heat Defect, the injury is not one that Plaintiff or the other Class members could have

reasonably avoided.

       295.   As a direct and proximate result of Polaris’s unfair and deceptive trade

practices, Plaintiff and the other Class members have suffered ascertainable loss and actual

damages. Plaintiff and the other Class members who purchased or leased the Class

Vehicles would not have purchased or leased the Class Vehicles, or, alternatively, would

have paid less for them had the truth about the Excessive Heat Defect been disclosed.

Plaintiff and the other Class members also suffered diminished value of their vehicles.

Plaintiff and the other Class members are entitled to recover actual damages, attorneys’

fees and costs, and all other relief allowed under Ala. Code. §§ 8-19-1, et seq.

                                     COUNT 3
                        BREACH OF EXPRESS WARRANTY
                         Ala. Code. §§ 7-2-313 and 7-2A-210

       296.   Plaintiff James Bruner (“Plaintiff,” for purposes of the Alabama Class’s

claims) repeats and realleges paragraphs 1-268 as if fully set forth herein.

       297.   Plaintiff brings this Count individually and on behalf of the other members

of the Alabama Class (the “Class,” for purposes of this Count).


                                             96
      CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 97 of 202




       298.   Polaris is and was at all relevant times a merchant with respect to the Class

Vehicles.

       299.   In its Limited Warranty, Polaris expressly warranted that it would repair or

replace defects in material or workmanship free of charge if those defects became apparent

during the warranty period. Polaris provides the following language in its Ranger XP 900

Owner’s Manual, which upon information and belief, is substantially identical for all

models:

       [Polaris] gives a SIX MONTH LIMITED WARRANTY on all components
       of the POLARIS RANGER against defects in material and workmanship. . .
       . This warranty covers the parts and labor charges for repair or replacement
       of defective parts which are covered by this warranty. This warranty begins
       on the date or purchase.

       300.   Polaris’s Limited Warranty formed the basis of the bargain that was reached

when Plaintiff and the other Class members purchased or leased their Class Vehicles.

       301.   Polaris breached its express warranty to repair defects in materials and

workmanship within the Class Vehicles. Polaris has not repaired, and has been unable to

repair, the Class Vehicles’ materials and workmanship defects.

       302.   Polaris was provided notice of these issues and defects through numerous

complaints filed against it, as well as internal knowledge derived from testing and internal

expert analysis.

       303.   The Limited Warranty fails in its essential purpose because the contractual

remedy is insufficient to make Plaintiff and the other Class members whole and because

Polaris has failed and/or has refused to adequately provide the promised remedies within a

reasonable time.


                                            97
       CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 98 of 202




        304.   Accordingly, recovery by Plaintiff and the other Class members is not limited

to the limited warranty of repair to parts defective in materials and workmanship, and

Plaintiff, individually and on behalf of the other Class members, seeks all remedies as

allowed by law.

        305.   Also, as alleged in more detail herein, at the time that Polaris warranted and

sold the Class Vehicles it knew that the Class Vehicles did not conform to the warranty

and were inherently defective, and Polaris improperly concealed material facts regarding

its Class Vehicles. Plaintiff and the other Class members were therefore induced to

purchase or lease the Polaris Vehicles under false pretenses.

        306.   Moreover, much of the damage flowing from the Class Vehicles cannot be

resolved through the limited remedy of repairs, as those incidental and consequential

damages have already been suffered due to Polaris’s improper conduct as alleged herein,

and due to its failure and/or continued failure to provide such limited remedy within a

reasonable time, and any limitation on Plaintiff’s and the other Class members’ remedies

would be insufficient to make them whole.

        307.   As a direct and proximate result of Polaris’s breach of its express warranty,

Plaintiff and the other Class members have been damaged in an amount to be determined

at trial.

                                 COUNT 4
            BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                         Ala. Code §§ 7-2-314 and 7-2A-212

        308.   Plaintiff James Bruner (“Plaintiff,” for purposes of the Alabama Class’s

claims) repeats and realleges paragraphs 1-268 as if fully set forth herein.


                                             98
      CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 99 of 202




       309.    Plaintiff brings this Count individually and on behalf of the other members

of the Alabama Class (the “Class,” for purposes of this Count).

       310.    Polaris is and was at all relevant times a merchant with respect to motor

vehicles under Ala. Code §§ 7-2-104 and 7-2A-103.

       311.    Pursuant to Ala. Code §§ 7-2-314 and 7-2A-212, a warranty that the Class

Vehicles were in merchantable condition was implied by law, and the Class Vehicles were

bought and sold subject to an implied warranty of merchantability.

       312.    The Class Vehicles did not comply with the implied warranty of

merchantability because, at the time of sale and at all times thereafter, they were defective

and not in merchantable condition, would not pass without objection in the trade, and were

not fit for the ordinary purpose for which vehicles were used. Specifically, the Class

Vehicles suffer from the Excessive Heat Defect.

       313.    Polaris was provided notice of these issues and defects through numerous

complaints filed against it, as well as internal knowledge derived from testing and internal

expert analysis.

       314.    Plaintiff and the other Class members suffered injuries due to the defective

nature of the Class Vehicles and Polaris’s breach of the warranty of merchantability.

       315.    As a direct and proximate result of Polaris’s breach of the warranty of

merchantability, Plaintiff and the other Class members have been damaged in an amount

to be proven at trial.




                                             99
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 100 of 202




                                     COUNT 5
                               FRAUDULENT OMISSION

         316.   Plaintiff James Bruner (“Plaintiff,” for purposes of the Alabama Class’s

claims) repeats and realleges paragraphs 1-268 as if fully set forth herein.

         317.   Plaintiff brings this Count individually and on behalf of the other members

of the Alabama Class (the “Class,” for purposes of this Count).

         318.   Polaris was aware of the Excessive Heat Defect within the Class Vehicles

when it marketed and sold the Class Vehicles to Plaintiff and the other members of the

Class.

         319.   Having been aware of the Excessive Heat Defect within the Class Vehicles,

and having known that Plaintiff and the other members of the Class could not have

reasonably been expected to know of the Excessive Heat Defect, Polaris had a duty to

disclose the defect to Plaintiff and the other members of the Class in connection with the

sale or lease of the Class Vehicles.

         320.   Polaris did not disclose the Excessive Heat Defect to Plaintiff and the other

members of the Class in connection with the sale of the Class Vehicles.

         321.   For the reasons set forth above, the Excessive Heat Defect within the Class

Vehicles comprises material information with respect to the sale or lease of the Class

Vehicles.

         322.   In purchasing the Class Vehicles, Plaintiff and the other members of the

Class reasonably relied on Polaris to disclose known material defects with respect to the

Class Vehicles.



                                             100
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 101 of 202




       323.   Had Plaintiff and the other members of the Class known of the Excessive

Heat Defect within the Class Vehicles, they would have not purchased the Class Vehicles

or would have paid less for the Class Vehicles.

       324.   Through its omissions regarding the Excessive Heat Defect within the Class

Vehicles, Polaris intended to induce, and did induce, Plaintiff and the other members of

the Class to either purchase a Class Vehicle that they otherwise would not have purchased,

or pay more for a Class Vehicle than they otherwise would have paid.

       325.   As a direct and proximate result of Polaris’s omissions, Plaintiff and the other

members of the Class either overpaid for the Class Vehicles or would not have purchased

the Class Vehicles at all if the Excessive Heat Defect had been disclosed to them, and,

therefore, have incurred damages in an amount to be determined at trial.

                                     COUNT 6
                                UNJUST ENRICHMENT

       326.   Plaintiff James Bruner (“Plaintiff,” for purposes of the Alabama Class’s

claims) repeats and realleges paragraphs 1-268 as if fully set forth herein.

       327.   Plaintiff brings this Count individually and on behalf of the other members

of the Alabama Class (the “Class,” for purposes of this Count).

       328.   Polaris has benefitted from selling and leasing at an unjust profit defective

Class Vehicles that had artificially inflated prices due to Polaris’s concealment of the

Excessive Heat Defect, and Plaintiff and the other members of the Class have overpaid for

these vehicles.




                                            101
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 102 of 202




       329.   Polaris has received and retained unjust benefits from Plaintiff and the other

members of the Class, and inequity has resulted.

       330.   It is inequitable and unconscionable for Polaris to retain these benefits.

       331.   Because Polaris concealed its fraud and deception, Plaintiff and the other

members of the Class were not aware of the true facts concerning the Class Vehicles and

did not benefit from Polaris’s misconduct.

       332.   Polaris knowingly accepted the unjust benefits of its wrongful conduct.

       333.   As a result of Polaris’s misconduct, the amount of its unjust enrichment

should be disgorged and returned to Plaintiff and the other members of the Class in an

amount to be proven at trial.

C.     Claims Brought on Behalf of the California Class

                              COUNT 7
  VIOLATION OF THE CALIFORNIA CONSUMER LEGAL REMEDIES ACT
                    Cal. Civ. Code. §§ 1750, et seq.

       334.   Plaintiff Jose Luna (“Plaintiff,” for purposes of the California Class’s claims)

repeat and reallege Paragraphs 1-268 as if fully set forth herein.

       335.   Plaintiff brings this Count individually and on behalf of the other members

of the California Class (the “Class,” for purposes of this Count).

       336.   Plaintiff and the other Class members were deceived by Polaris’s failure to

disclose that the Class Vehicles share a common design defect in that they contain the

Excessive Heat Defect.




                                             102
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 103 of 202




       337.   Polaris engaged in unfair or deceptive acts or practices when, in the course

of its business, it knowingly omitted material facts as to the characteristics and qualities of

the Class Vehicles.

       338.   Polaris failed to disclose material information concerning the Class Vehicles

that it had a duty to disclose. Polaris had a duty to disclose the Excessive Heat Defect

because, as detailed above: (a) Polaris knew about the Excessive Heat Defect, (b) Polaris

had exclusive knowledge regarding the Excessive Heat Defect not known to the general

public, Plaintiff, or the other Class members; and (c) Polaris actively concealed material

facts concerning the Excessive Heat Defect from the general public, Plaintiff, and the other

Class members. As detailed above, the information concerning the defect was known to

Polaris at the time of advertising and selling the Class Vehicles, all of which was intended

to induce consumers to purchase the Class Vehicles.

       339.   Polaris intended for Plaintiff and the other Class members to rely on it to

provide adequately designed and adequately manufactured vehicles, and to honestly and

accurately reveal the problems described throughout this Complaint.

       340.   Polaris intentionally failed or refused to disclose the Excessive Heat Defect

to consumers.

       341.   Polaris’s deceptive omissions were intended to induce Plaintiff and the other

Class members to believe that the Class Vehicles were adequately designed and

manufactured.

       342.   Polaris’s conduct constitutes unfair acts or practices as defined by the

California Consumer Legal Remedies Act.


                                             103
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 104 of 202




       343.   Plaintiff and the other Class members have suffered injury in fact and actual

damages resulting from Polaris’s material omissions because they paid inflated purchase

prices for the Class Vehicles. Plaintiff and the other Class members are entitled to recover

actual damages, punitive damages, costs and attorneys’ fees, and all other relief that the

Court deems proper under California Civil Code § 1780.

       344.   In accordance with California Civil Code Section 1782, Plaintiff’s counsel

sent a certified letter to Polaris on April 5, 2018, notifying Polaris of its § 1770 violations.

Polaris received the certified letter on April 9, 2018. Pursuant to § 1782 of the Act, Polaris

is hereby on notice of its particular § 1770 violations, and Plaintiff’s demands that Polaris

rectify the problems associated with the actions detailed above and give notice to all

affected consumers of Polaris’s intent to so act.

       345.   Polaris did not commit to provide any remedy for the Excessive Heat Defect

within Plaintiff Luna’s Class Vehicle, did not state that it has taken or will take any actions

to identify or notify consumers similarly situated to Plaintiff Luna, and did not commit to

ceasing from engaging in the conduct complained of in Plaintiff’s letter.

       346.   Pursuant to California Civil Code § 1780(d), attached hereto as Exhibit A is

the affidavit showing that this action has been commenced in the proper forum.

                               COUNT 8
    VIOLATION OF THE SONG-BEVERLY CONSUMER WARRANTY ACT
               FOR BREACH OF EXPRESS WARRANTY
                     Cal. Civ. Code §§ 1790, et seq.

       347.   Plaintiff Jose Luna (“Plaintiff,” for purposes of the California Class’s claims)

repeat and reallege Paragraphs 1-268 as if fully set forth herein.



                                             104
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 105 of 202




       348.    Plaintiff brings this Count individually and on behalf of the other members

of the California Class (the “Class,” for purposes of this Count).

       349.    Plaintiff and the other Class members are “buyers” within the meaning of

Cal. Civ. Code. § 1791.

       350.    The Class Vehicles are “consumer goods” within the meaning of Cal. Civ.

Code § 1791.

       351.    Polaris is a “manufacturer” of the Class Vehicles within the meaning of Cal.

Civ. Code § 1791.

       352.    Plaintiff and the other Class members bought or leased Class Vehicles

manufactured by Polaris.

       353.    Polaris made an express warranty to Plaintiff and the other Class members

within the meaning of Cal. Civ. Code §§ 1791.2 and 1793.2, as described above.

       354.    The Class Vehicles share a common design defect, in that they contain the

Excessive Heat Defect.

       355.    The Class Vehicles are covered by Polaris’s express warranty. The defect

described herein substantially impairs the use, value, and safety of the Class Vehicles to

reasonable consumers, including Plaintiff and the other Class members.

       356.    Polaris was provided notice of these issues and defects through numerous

complaints filed against it, as well as internal knowledge derived from testing and internal

expert analysis.




                                            105
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 106 of 202




       357.   Polaris has had the opportunity to cure the defect in the Class Vehicles, but

it has chosen not to do so. Giving Polaris a chance to cure the defect is not practicable in

this case and would serve only to delay this litigation, and is thus unnecessary.

       358.   As a result of Polaris’s breach of its express warranty, Plaintiff and the other

Class members received goods with substantially impaired value. Plaintiff and the other

Class members have been damaged as a result of the diminished value of the Class Vehicles

resulting from the Excessive Heat Defect.

       359.   Pursuant to Cal. Civ. Code §§ 1793.2 & 1794, Plaintiff and the other Class

members are entitled to damages and other legal and equitable relief, including, at their

election, the purchase price of their vehicles, or the overpayment or diminution in value of

their Class Vehicles.

       360.   Pursuant to Cal. Civ. Code § 1794, Plaintiff and the other Class members are

entitled to costs and attorneys’ fees.

                               COUNT 9
    VIOLATION OF THE SONG-BEVERLY CONSUMER WARRANTY ACT
               FOR BREACH OF IMPLIED WARRANTY
                     Cal. Civ. Code §§ 1790, et seq.

       361.   Plaintiff Jose Luna (“Plaintiff,” for purposes of the California Class’s claims)

repeats and realleges Paragraphs 1-268 as if fully set forth herein.

       362.   Plaintiff brings this Count individually and on behalf of the other members

of the California Class (the “Class,” for purposes of this Count).

       363.   Plaintiff and the other Class members who purchased their Class Vehicles in

California are “buyers” within the meaning of Cal. Civ. Code. § 1791.



                                            106
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 107 of 202




       364.    The Class Vehicles are “consumer goods” within the meaning of Cal. Civ.

Code § 1791.

       365.    Polaris is a “manufacturer” of the Class Vehicles within the meaning of Cal.

Civ. Code § 1791.

       366.    Polaris impliedly warranted to Plaintiff and the other members of the Class

that the Class Vehicles were “merchantable” within the meaning of Cal. Civ. Code §§

1791.1(a) & 1792.

       367.    Cal. Civ. Code § 1791.1(a) states that: “Implied warranty of merchantability”

or “implied warranty that goods are merchantable” means that the consumer goods meet

each of the following:

               (1)    Pass without objection in the trade under the contract description;

               (2)    Are fit for the ordinary purposes for which such goods are used;

               (3)    Are adequately contained, packaged, and labeled; and

               (4)    Conform to the promises or affirmations of fact made on the container

                      or label.

       368.    The Class Vehicles would not pass without objection in the off-road vehicle

trade because they share a common design defect in that they contain the Excessive Heat

Defect.

       369.    Because of the Excessive Heat Defect, the Class Vehicles are not fit for their

ordinary purposes.

       370.    The Class Vehicles were not adequately labeled because the labeling failed

to disclose the defects described herein.


                                            107
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 108 of 202




       371.   Polaris was provided notice of these issues and defects through numerous

complaints filed against it, as well as internal knowledge derived from testing and internal

expert analysis.

       372.   Polaris has had the opportunity to cure the defect in the Class Vehicles, but

it has chosen not to do so. Giving Polaris a chance to cure the defect is not practicable in

this case and would serve only to delay this litigation, and is thus unnecessary.

       373.   As a result of Polaris’s breach of its implied warranty, Plaintiff and the other

Class members received goods with substantially impaired value. Plaintiff and the other

Class members have been damaged as a result of the diminished value of the Class

Vehicles.

       374.   Under Cal. Civ. Code §§ 1791.1(d) & 1794, Plaintiff and the other Class

members are entitled to damages and other legal and equitable relief, including, at their

election, the purchase price of their Class Vehicles, or the overpayment or diminution in

value of their Class Vehicles.

       375.   Under Cal. Civ. Code § 1794, Plaintiff and the other Class members are

entitled to costs and attorneys’ fees.

                                      COUNT 10
                                 FRAUDULENT OMISSION

       376.   Plaintiff Jose Luna (“Plaintiff,” for purposes of the California Class’s claims)

repeat and reallege Paragraphs 1-268 as if fully set forth herein.

       377.   Plaintiff brings this Count individually and on behalf of the other members

of the California Class (“Class,” for purposes of this Count).



                                            108
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 109 of 202




         378.   Polaris was aware of the Excessive Heat Defect within the Class Vehicles

when it marketed and sold the Class Vehicles to Plaintiff and the other members of the

Class.

         379.   Having been aware of the Excessive Heat Defect within the Class Vehicles,

and having known that Plaintiff and the other members of the Class could not have

reasonably been expected to know of the Excessive Heat Defect, Polaris had a duty to

disclose the defect to Plaintiff and the other members of the Class in connection with the

sale or lease of the Class Vehicles.

         380.   Polaris did not disclose the Excessive Heat Defect to Plaintiff and the other

members of the Class in connection with the sale of the Class Vehicles.

         381.   For the reasons set forth above, the Excessive Heat Defect within the Class

Vehicles comprises material information with respect to the sale or lease of the Class

Vehicles.

         382.   In purchasing the Class Vehicles, Plaintiff and the other members of the

Class reasonably relied on Polaris to disclose known material defects with respect to the

Class Vehicles.

         383.   Had Plaintiff and the other members of the Class known of the Excessive

Heat Defect within the Class Vehicles, they would have not purchased the Class Vehicles

or would have paid less for the Class Vehicles.

         384.   Through its omissions regarding the Excessive Heat Defect within the Class

Vehicles, Polaris intended to induce, and did induce, Plaintiff and the other members of




                                             109
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 110 of 202




the Class to either purchase a Class Vehicle that they otherwise would not have purchased,

or pay more for a Class Vehicle than they otherwise would have paid.

       385.   As a direct and proximate result of Polaris’s omissions, Plaintiff and the other

members of the Class either overpaid for the Class Vehicles or would not have purchased

the Class Vehicles at all if the Excessive Heat Defect had been disclosed to them, and,

therefore, have incurred damages in an amount to be determined at trial.

                                     COUNT 11
                                UNJUST ENRICHMENT

       386.   Plaintiff Jose Luna (“Plaintiff,” for purposes of the California Class’s claims)

repeats and realleges paragraphs 1-268 as if fully set forth herein.

       387.   Plaintiff brings this Count individually and on behalf of the other members

of the California Class (the “Class,” for purposes of this Count).

       388.   Polaris has benefitted from selling and leasing at an unjust profit defective

Class Vehicles that had artificially inflated prices due to Polaris’s concealment of the

Excessive Heat Defect, and Plaintiff and the other members of the Class have overpaid for

these vehicles.

       389.   Polaris has received and retained unjust benefits from Plaintiff and the other

members of the Class, and inequity has resulted.

       390.   It is inequitable and unconscionable for Polaris to retain these benefits.

       391.   Because Polaris concealed its fraud and deception, Plaintiff and the other

members of the Class were not aware of the true facts concerning the Class Vehicles and

did not benefit from Polaris’s misconduct.



                                             110
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 111 of 202




          392.   Polaris knowingly accepted the unjust benefits of its wrongful conduct.

          393.   As a result of Polaris’s misconduct, the amount of its unjust enrichment

should be disgorged and returned to Plaintiff and the other members of the Class in an

amount to be proven at trial.

                              COUNT 12
      VIOLATION OF THE CALIFORNIA UNFAIR COMPETITION LAW
               CAL. BUS. & PROF. CODE §§ 17200, et seq.

          394.   Plaintiff Jose Luna (“Plaintiff,” for purposes of the California Class’s claims)

repeats and realleges paragraphs 1-268 as if fully set forth herein.

          395.   Plaintiff brings this Count individually and on behalf of the other members

of the California Class (“Class,” for purposes of this Count).

          396.   California Business and Professions Code § 17200 prohibits any “unlawful,

unfair, or fraudulent business acts or practices.”

          397.   Polaris’s conduct violated multiple statutes and the common law, as alleged

herein.

          398.   Polaris has violated § 17200 by knowingly selling Class Vehicles that include

the Excessive Heat Defect and omitting mention of this defect to consumers.

          399.   Polaris’s conduct was unscrupulous, offended established public policy, and

was fraudulent.

          400.   The harm caused by Polaris’s conduct greatly outweighs any benefit to

consumers.

          401.   Plaintiff relied on the omissions of Polaris with respect to the quality and

reliability of the Class Vehicles. Plaintiff and the other Class members would not have


                                               111
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 112 of 202




purchased or leased their Class Vehicles, and/or paid as much for them, but for Polaris’s

omissions.

       402.   Polaris concealed and failed to disclose material information about the Class

Vehicles in a manner that is likely to, and in fact did, deceive consumers and the public.

       403.   All of the wrongful conduct alleged herein occurred in the conduct of

Polaris’s business.

       404.   Plaintiff, individually and on behalf of the other Class members, requests that

this Court restore to Plaintiff and the other Class members any money acquired by unfair

competition, including restitution and/or restitutionary disgorgement.

D.     Claims Brought on Behalf of the Florida Class

                                     COUNT 13
                  VIOLATIONS OF THE FLORIDA DECEPTIVE
                    AND UNFAIR TRADE PRACTICES ACT
                          Fla. Stat. §§ 502.201, et seq.

       405.   Plaintiff Clint Halvorsrod (“Plaintiff,” for purposes of the Florida Class’s

claims) repeats and realleges paragraphs 1-268 as if fully set forth herein.

       406.   Plaintiff brings this Count individually and on behalf of the other members

of the Florida Class (the “Class,” for purposes of this Count).

       407.   The Florida Deceptive and Unfair Trade Practices Act, F.S.A. §§ 501.201, et

seq., states that, “[u]nfair methods of competition, unconscionable acts or practices, and

unfair or deceptive acts or practices in the conduct of any trade or commerce are hereby

declared unlawful.”




                                            112
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 113 of 202




       408.   By the conduct described in detail above and incorporated herein, Polaris

engaged in unfair or deceptive acts in violation of F.S.A. § 501.204.

       409.   Polaris’s omissions regarding the Excessive Heat Defect, described above,

are material facts that a reasonable person would have considered in deciding whether or

not to purchase (or to pay the same price for) the Class Vehicles.

       410.   Polaris intended for Plaintiff and the other Class members to rely on Polaris’s

omissions regarding the Excessive Heat Defect.

       411.   Plaintiff and the other Class members justifiably acted or relied to their

detriment upon Polaris’s omissions of fact concerning the above-described Excessive Heat

Defect, as evidenced by Plaintiff and the other Class members’ purchases of Class

Vehicles.

       412.   Had Polaris disclosed all material information regarding the Excessive Heat

Defect to Plaintiff and the other Class members, Plaintiff and the other Class members

would not have purchased or leased Class Vehicles or would have paid less to do so.

       413.   Polaris’s omissions have deceived Plaintiff, and those same business

practices have deceived or are likely to deceive members of the consuming public and the

other members of the Class.

       414.   In addition to being deceptive, the business practices of Polaris were unfair

because Polaris knowingly sold Plaintiff and the other Class members Class Vehicles with

defective engines that are essentially unusable for the purposes for which they were sold.

The injuries to Plaintiff and the other Class members are substantial and greatly outweigh

any alleged countervailing benefit to Plaintiff and the other Class members or to


                                            113
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 114 of 202




competition under all of the circumstances. Moreover, in light of Polaris’s exclusive

knowledge of the Excessive Heat Defect, the injury is not one that Plaintiff or the other

Class members could have reasonably avoided.

       415.   As a direct and proximate result of Polaris’s unfair and deceptive trade

practices, Plaintiff and the other Class members have suffered ascertainable loss and actual

damages. Plaintiff and the other Class members who purchased or leased the Class

Vehicles would not have purchased or leased the Class Vehicles, or, alternatively, would

have paid less for them had the truth about the Excessive Heat Defect been disclosed.

Plaintiff and the other Class members also suffered diminished value of their vehicles.

Plaintiff and the other Class members are entitled to recover actual damages, attorneys’

fees and costs, and all other relief allowed under F.S.A. §§ 501.201, et seq.

                                      COUNT 14
                        BREACH OF EXPRESS WARRANTY
                           Fla. Stat. §§ 672.313 and 680.21

       416.   Plaintiff Clint Halvorsrod (“Plaintiff,” for purposes of the Florida Class’s

claims) repeats and realleges paragraphs 1-268 as if fully set forth herein.

       417.   Plaintiff brings this Count individually and on behalf of the other members

of the Florida Class (the “Class,” for purposes of this Count).

       418.   Polaris is and was at all relevant times a merchant with respect to the Class

Vehicles.

       419.   In its Limited Warranty, Polaris expressly warranted that it would repair or

replace defects in material or workmanship free of charge if those defects became apparent

during the warranty period. Polaris provides the following language in its Ranger XP 900


                                            114
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 115 of 202




Owner’s Manual, which upon information and belief, is substantially identical for all

models:

       [Polaris] gives a SIX MONTH LIMITED WARRANTY on all components
       of the POLARIS RANGER against defects in material and workmanship. . .
       . This warranty covers the parts and labor charges for repair or replacement
       of defective parts which are covered by this warranty. This warranty begins
       on the date or purchase.

       420.   Polaris’s Limited Warranty formed the basis of the bargain that was reached

when Plaintiff and the other Class members purchased or leased their Class Vehicles.

       421.   Polaris breached the express warranty to repair defects in materials and

workmanship within the Class Vehicles. Polaris has not repaired, and has been unable to

repair, the Class Vehicles’ materials and workmanship defects.

       422.   Polaris was provided notice of these issues and defects through numerous

complaints filed against it, as well as internal knowledge derived from testing and internal

expert analysis.

       423.   The Limited Warranty fails in its essential purpose because the contractual

remedy is insufficient to make Plaintiff and the other Class members whole and because

Polaris has failed and/or has refused to adequately provide the promised remedies within a

reasonable time.

       424.   Accordingly, recovery by Plaintiff and the other Class members is not limited

to the limited warranty of repair to parts defective in materials and workmanship, and

Plaintiff, individually and on behalf of the other Class members, seeks all remedies

allowable by law.




                                            115
      CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 116 of 202




        425.   Also, and as alleged in more detail herein, at the time that Polaris warranted

and sold the Class Vehicles it knew that the Class Vehicles did not conform to the warranty

and were inherently defective, and Polaris improperly concealed material facts regarding

its Class Vehicles. Plaintiff and the other Class members were, therefore, induced to

purchase or lease the Class Vehicles under false pretenses.

        426.   Moreover, much of the damage flowing from the Class Vehicles cannot be

resolved through the limited remedy of repairs, as those incidental and consequential

damages have already been suffered due to Polaris’s improper conduct as alleged herein,

and due to its failure and/or continued failure to provide such limited remedy within a

reasonable time, and any limitation on Plaintiff and the other Class members’ remedies

would be insufficient to make them whole.

        427.   As a direct and proximate result of Polaris’s breach of its express warranty,

Plaintiff and the other Class members have been damaged in an amount to be determined

at trial.

                                   COUNT 15
                             FRAUDULENT OMISSION156

        428.   Plaintiff Clint Halvorsrod (“Plaintiff,” for purposes of the Florida Class’s

claims) repeats and realleges paragraphs 1-268 as if fully set forth herein.




156
    In light of the Court’s dismissal of this claim with prejudice (Dkt. No. 60 at 18-20),
Plaintiffs include this claims in this First Amended Consolidated Class Action Complaint
strictly to preserve it for purposes of appeal.


                                            116
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 117 of 202




         429.   Plaintiff brings this Count individually and on behalf of the other members

of the Florida Class (the “Class,” for purposes of this Count).

         430.   Polaris was aware of the Excessive Heat Defect within the Class Vehicles

when it marketed and sold the Class Vehicles to Plaintiff and the other members of the

Class.

         431.   Having been aware of the Excessive Heat Defect within the Class Vehicles

and having known that Plaintiff and the other members of the Class could not have

reasonably been expected to know of the Excessive Heat Defect, Polaris had a duty to

disclose the defect to Plaintiff and the other members of the Class in connection with the

sale or lease of the Class Vehicles.

         432.   Polaris did not disclose the Excessive Heat Defect to Plaintiff and the other

members of the Class in connection with the sale of the Class Vehicles.

         433.   For the reasons set forth above, the Excessive Heat Defect within the Class

Vehicles comprises material information with respect to the sale or lease of the Class

Vehicles.

         434.   In purchasing the Class Vehicles, Plaintiff and the other members of the

Class reasonably relied on Polaris to disclose known material defects with respect to the

Class Vehicles.

         435.   Had Plaintiff and the other members of the Class known of the Excessive

Heat Defect within the Class Vehicles, they would have not purchased the Class Vehicles

or would have paid less for the Class Vehicles.




                                             117
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 118 of 202




       436.   Through its omissions regarding the Excessive Heat Defect within the Class

Vehicles, Polaris intended to induce, and did induce, Plaintiff and the other members of

the Class to either purchase a Class Vehicle that they otherwise would not have purchased,

or pay more for a Class Vehicle than they otherwise would have paid.

       437.   As a direct and proximate result of Polaris’s omissions, Plaintiff and the other

members of the Class either overpaid for the Class Vehicles or would not have purchased

the Class Vehicles at all if the Excessive Heat Defect had been disclosed to them, and,

therefore, have incurred damages in an amount to be determined at trial.

                                     COUNT 16
                                UNJUST ENRICHMENT

       438.   Plaintiff Clint Halvorsrod (“Plaintiff,” for purposes of the Florida Class’s

claims) repeats and realleges paragraphs 1-268 as if fully set forth herein.

       439.   Plaintiff brings this Count individually and on behalf of the other members

of the Florida Class (the “Class,” for purposes of this Count).

       440.   Polaris has benefitted from selling and leasing at an unjust profit defective

Class Vehicles that had artificially inflated prices due to Polaris’s concealment of the

Excessive Heat Defect, and Plaintiff and the other members of the Class have overpaid for

these vehicles.

       441.   Polaris has received and retained unjust benefits from Plaintiff and the other

members of the Class, and inequity has resulted.

       442.   It is inequitable and unconscionable for Polaris to retain these benefits.




                                            118
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 119 of 202




       443.   Because Polaris concealed its fraud and deception, Plaintiff and the other

members of the Class were not aware of the true facts concerning the Class Vehicles and

did not benefit from Polaris’s misconduct.

       444.   Polaris knowingly accepted the unjust benefits of its wrongful conduct.

       445.   As a result of Polaris’s misconduct, the amount of its unjust enrichment

should be disgorged and returned to Plaintiff and the other members of the Class in an

amount to be proven at trial.

E.     Claims Brought on Behalf of the Georgia Class

                                      COUNT 17
                           VIOLATIONS OF GEORGIA’S
                          FAIR BUSINESS PRACTICES ACT
                           Ga. Stat. Ann. §§ 10-1-390, et seq.

       446.   Plaintiff Robert Lenz (“Plaintiff,” for purposes of the Georgia Class’s claims)

repeats and realleges paragraphs 1-268 as if fully set forth herein.

       447.   Plaintiff brings this Count individually and on behalf of the other members

of the Georgia Class (the “Class,” for purposes of this Count).

       448.   The Georgia Fair Business Practices Act, Ga. Stat. Ann. § 10-1-393, states

that, “[u]nfair or deceptive acts or practices in the conduct of consumer transactions and

consumer acts or practices in trade or commerce are declared unlawful.”

       449.   By the conduct described in detail above and incorporated herein, Polaris

engaged in unfair and deceptive trade practices.




                                             119
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 120 of 202




       450.   Polaris’s omissions regarding the Excessive Heat Defect, described above,

are material facts that a reasonable person would have considered in deciding whether or

not to purchase (or to pay the same price for) the Class Vehicles.

       451.   Polaris intended for Plaintiff and the other Class members to rely on Polaris’s

omissions regarding the Excessive Heat Defect.

       452.   Plaintiff and the other Class members justifiably acted or relied to their

detriment upon Polaris’s omissions of fact concerning the above-described Excessive Heat

Defect, as evidenced by Plaintiff and the other Class members’ purchases of Class

Vehicles.

       453.   Had Polaris disclosed all material information regarding the Excessive Heat

Defect to Plaintiff and the other Class members, Plaintiff and the other Class members

would not have purchased or leased Class Vehicles or would have paid less to do so.

       454.   Polaris’s omissions have deceived Plaintiff, and those same business

practices have deceived or are likely to deceive members of the consuming public and the

other members of the Class.

       455.   In addition to being deceptive, the business practices of Polaris were unfair

because Polaris knowingly sold Plaintiff and the other Class members Class Vehicles with

defective engines that are essentially unusable for the purposes for which they were sold.

The injuries to Plaintiff and the other Class members are substantial and greatly outweigh

any alleged countervailing benefit to Plaintiff and the other Class members or to

competition under all of the circumstances. Moreover, in light of Polaris’s exclusive




                                            120
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 121 of 202




knowledge of the Excessive Heat Defect, the injury is not one that Plaintiff or the other

Class members could have reasonably avoided.

       456.   As a direct and proximate result of Polaris’s unfair and deceptive trade

practices, Plaintiff and the other Class members have suffered ascertainable loss and actual

damages. Plaintiff and the other Class members who purchased or leased the Class

Vehicles would not have purchased or leased the Class Vehicles, or, alternatively, would

have paid less for them had the truth about the Excessive Heat Defect been disclosed.

Plaintiff and the other Class members also suffered diminished value of their vehicles.

Plaintiff and the other Class members are entitled to recover actual damages, attorneys’

fees and costs, and all other relief allowed under Ga. Stat. Ann. § 10-1-399.

                                      COUNT 18
                       BREACH OF EXPRESS WARRANTY
                       Ga. Stat. Ann. §§ 11-2-313 and 11-2a-210

       457.   Plaintiff Robert Lenz (“Plaintiff,” for the purposes of the Georgia Class’s

claims) repeats and realleges paragraphs 1-268 as if fully set forth herein.

       458.   Plaintiff brings this Count individually and on behalf of the other members

of the Georgia Class (the “Class,” for purposes of this Count).

       459.   Polaris is and was at all relevant times a merchant with respect to the Class

Vehicles.

       460.   In its Limited Warranty, Polaris expressly warranted that it would repair or

replace defects in material or workmanship free of charge if those defects became apparent

during the warranty period. Polaris provides the following language in its Ranger XP 900




                                            121
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 122 of 202




Owner’s Manual, which upon information and belief, is substantially identical for all

models:

       [Polaris] gives a SIX MONTH LIMITED WARRANTY on all components
       of the POLARIS RANGER against defects in material and workmanship. . .
       . This warranty covers the parts and labor charges for repair or replacement
       of defective parts which are covered by this warranty. This warranty begins
       on the date or purchase.

       461.   Polaris’s Limited Warranty formed the basis of the bargain that was reached

when Plaintiff and the other Class members purchased or leased their Class Vehicles.

       462.   Polaris breached the express warranty to repair defects in materials and

workmanship within the Class Vehicles. Polaris has not repaired, and has been unable to

repair, the Class Vehicles’ materials and workmanship defects.

       463.   Polaris was provided notice of these issues and defects through numerous

complaints filed against it, as well as internal knowledge derived from testing and internal

expert analysis.

       464.   The Limited Warranty fails in its essential purpose because the contractual

remedy is insufficient to make Plaintiff and the other Class members whole and because

Polaris has failed and/or has refused to adequately provide the promised remedies within a

reasonable time.

       465.   Accordingly, recovery by Plaintiff and the other Class members is not limited

to the limited warranty of repair to parts defective in materials and workmanship, and

Plaintiff, individually and on behalf of the other Class members, seeks all remedies

allowable by law.




                                            122
      CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 123 of 202




        466.   Also, and as alleged in more detail herein, at the time that Polaris warranted

and sold the Class Vehicles it knew that the Class Vehicles did not conform to the warranty

and were inherently defective, and Polaris improperly concealed material facts regarding

its Class Vehicles. Plaintiff and the other Class members were, therefore, induced to

purchase or lease the Class Vehicles under false pretenses.

        467.   Moreover, much of the damage flowing from the Class Vehicles cannot be

resolved through the limited remedy of repairs, as those incidental and consequential

damages have already been suffered due to Polaris’s improper conduct as alleged herein,

and due to its failure and/or continued failure to provide such limited remedy within a

reasonable time, and any limitation on Plaintiff and the other Class members’ remedies

would be insufficient to make them whole.

        468.   As a direct and proximate result of Polaris’s breach of its express warranty,

Plaintiff and the other Class members have been damaged in an amount to be determined

at trial.

                                   COUNT 19
            BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                      Ga. Stat. Ann. 84-2-314 and 84-2A-212

        469.   Plaintiff Robert Lenz (“Plaintiff,” for purposes of the Georgia Class’s claims)

repeats and realleges paragraphs 1-268 as if fully set forth herein.

        470.   Plaintiff brings this Count individually and on behalf of the other members

of the Georgia Class (the “Class,” for purposes of this Count).

        471.   Polaris is and was at all relevant times a merchant with respect to motor

vehicles under Ga. Stat. Ann. §§ 11-2-104 and 11-2A-103.


                                             123
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 124 of 202




       472.    Pursuant to Ga. Stat. Ann. §§ 11-2-314 and 84-2A-212, a warranty that the

Class Vehicles were in merchantable condition was implied by law, and the Class Vehicles

were bought and sold subject to an implied warranty of merchantability.

       473.    The Class Vehicles did not comply with the implied warranty of

merchantability because, at the time of sale and at all times thereafter, they were defective

and not in merchantable condition, would not pass without objection in the trade, and were

not fit for the ordinary purpose for which vehicles were used. Specifically, the Class

Vehicles suffer from the Excessive Heat Defect.

       474.    Polaris was provided notice of these issues and defects through numerous

complaints filed against it, as well as internal knowledge derived from testing and internal

expert analysis.

       475.    Plaintiff and the other Class members suffered injuries due to the defective

nature of the Class Vehicles and Polaris’s breach of the warranty of merchantability.

       476.    As a direct and proximate result of Polaris’s breach of the warranty of

merchantability, Plaintiff and the other Class members have been damaged in an amount

to be proven at trial.

                                    COUNT 20
                               FRAUDULENT OMISSION

       477.    Plaintiff Robert Lenz (“Plaintiff,” for purposes of the Georgia Class’s claims)

repeats and realleges paragraphs 1-268 as if fully set forth herein.

       478.    Plaintiff brings this Count individually and on behalf of the other members

of the Georgia Class (the “Class,” for purposes of this Count).



                                             124
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 125 of 202




         479.   Polaris was aware of the Excessive Heat Defect within the Class Vehicles

when it marketed and sold the Class Vehicles to Plaintiff and the other members of the

Class.

         480.   Having been aware of the Excessive Heat Defect within the Class Vehicles

and having known that Plaintiff and the other members of the Class could not have

reasonably been expected to know of the Excessive Heat Defect, Polaris had a duty to

disclose the defect to Plaintiff and the other members of the Class in connection with the

sale or lease of the Class Vehicles.

         481.   Polaris did not disclose the Excessive Heat Defect to Plaintiff and the other

members of the Class in connection with the sale of the Class Vehicles.

         482.   For the reasons set forth above, the Excessive Heat Defect within the Class

Vehicles comprises material information with respect to the sale or lease of the Class

Vehicles.

         483.   In purchasing the Class Vehicles, Plaintiff and the other members of the

Class reasonably relied on Polaris to disclose known material defects with respect to the

Class Vehicles.

         484.   Had Plaintiff and the other members of the Class known of the Excessive

Heat Defect within the Class Vehicles, they would have not purchased the Class Vehicles

or would have paid less for the Class Vehicles.

         485.   Through its omissions regarding the Excessive Heat Defect within the Class

Vehicles, Polaris intended to induce, and did induce, Plaintiff and the other members of




                                             125
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 126 of 202




the Class to either purchase a Class Vehicle that they otherwise would not have purchased,

or pay more for a Class Vehicle than they otherwise would have paid.

       486.   As a direct and proximate result of Polaris’s omissions, Plaintiff and the other

members of the Class either overpaid for the Class Vehicles or would not have purchased

the Class Vehicles at all if the Excessive Heat Defect had been disclosed to them, and,

therefore, have incurred damages in an amount to be determined at trial.

                                     COUNT 21
                                UNJUST ENRICHMENT

       487.   Plaintiff Robert Lenz (“Plaintiff,” for purposes of the Georgia Class’s claims)

repeats and realleges paragraphs 1-268 as if fully set forth herein.

       488.   Plaintiff brings this Count individually and on behalf of the other members

of the Georgia Class (the “Class,” for purposes of this Count).

       489.   Polaris has benefitted from selling and leasing at an unjust profit defective

Class Vehicles that had artificially inflated prices due to Polaris’s concealment of the

Excessive Heat Defect, and Plaintiff and the other members of the Class have overpaid for

these vehicles.

       490.   Polaris has received and retained unjust benefits from Plaintiff and the other

members of the Class, and inequity has resulted.

       491.   It is inequitable and unconscionable for Polaris to retain these benefits.

       492.   Because Polaris concealed its fraud and deception, Plaintiff and the other

members of the Class were not aware of the true facts concerning the Class Vehicles and

did not benefit from Polaris’s misconduct.



                                             126
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 127 of 202




       493.   Polaris knowingly accepted the unjust benefits of its wrongful conduct.

       494.   As a result of Polaris’s misconduct, the amount of its unjust enrichment

should be disgorged and returned to Plaintiff and the other members of the Class in an

amount to be proven at trial.

F.     Claims Brought on Behalf of the Illinois Class

                                  COUNT 22
              VIOLATIONS OF THE ILLINOIS CONSUMER FRAUD
                 AND DECEPTIVE BUSINESS PRACTICES ACT
                       815 Ill. Comp. Stat. 505/1, et seq.

       495.   Plaintiff Michael Zeeck (“Plaintiff,” for purposes of the Illinois Class’s

claims) repeats and realleges paragraphs 1-268 as if fully set forth herein.

       496.   Plaintiff brings this Count individually and on behalf of the other members

of the Illinois Class (the “Class,” for purposes of this Count).

       497.   The Illinois Consumer Fraud and Deceptive Business Practices Act, 815 Ill.

Comp. Stat. 505/2, states that, “[u]nfair methods of competition and unfair or deceptive

acts or practices . . . are hereby declared unlawful whether any person has in fact been

misled, deceived or damaged thereby.”

       498.   By the conduct described in detail above and incorporated herein, Polaris

engaged in unfair or deceptive acts in violation of the Illinois Consumer Fraud and

Deceptive Business Practices Act.

       499.   Polaris’s omissions regarding the Excessive Heat Defect, described above,

are material facts that a reasonable person would have considered in deciding whether or

not to purchase (or to pay the same price for) the Class Vehicles.



                                             127
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 128 of 202




       500.   Polaris intended for Plaintiff and the other Class members to rely on Polaris’s

omissions regarding the Excessive Heat Defect.

       501.   Plaintiff and the other Class members justifiably acted or relied to their

detriment upon Polaris’s omissions of fact concerning the above-described Excessive Heat

Defect, as evidenced by Plaintiff and the other Class members’ purchases of Class

Vehicles.

       502.   Had Polaris disclosed all material information regarding the Excessive Heat

Defect to Plaintiff and the other Class members, Plaintiff and the other Class members

would not have purchased or leased Class Vehicles or would have paid less to do so.

       503.   Polaris’s omissions have deceived Plaintiff, and those same business

practices have deceived or are likely to deceive members of the consuming public and the

other members of the Class.

       504.   In addition to being deceptive, the business practices of Polaris were unfair

because Polaris knowingly sold Plaintiff and the other Class members’ Class Vehicles with

that are essentially unusable for the purposes for which they were sold. The injuries to

Plaintiff and the other Class members are substantial and greatly outweigh any alleged

countervailing benefit to Plaintiff and the other Class members or to competition under all

of the circumstances. Moreover, in light of Polaris’s exclusive knowledge of the Excessive

Heat Defect, the injury is not one that Plaintiff or the other Class members could have

reasonably avoided.

       505.   As a direct and proximate result of Polaris’s unfair and deceptive trade

practices, Plaintiff and the other Class members have suffered ascertainable loss and actual


                                            128
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 129 of 202




damages. Plaintiff and the other Class members who purchased or leased the Class

Vehicles would not have purchased or leased the Class Vehicles, or, alternatively, would

have paid less for them had the truth about the Excessive Heat Defect been disclosed.

Plaintiff and the other Class members also suffered diminished value of their vehicles.

Plaintiff and the other Class members are entitled to recover actual damages, attorneys’

fees and costs, and all other relief allowed under 815 Ill. Comp. Stat. 505/1, et seq.

                                       COUNT 23
                         BREACH OF EXPRESS WARRANTY
                        810 Ill. Comp. Stat. 5/2-313 and 5/2A-210

       506.   Plaintiff Michael Zeeck (“Plaintiff,” for purposes of the Illinois Class’s

claims) repeats and realleges paragraphs 1-268 as if fully set forth herein.

       507.   Plaintiff brings this Count individually and on behalf of the other members

of the Illinois Class (the “Class,” for purposes of this Count).

       508.   Polaris is and was at all relevant times a merchant with respect to the Class

Vehicles.

       509.   In its Limited Warranty, Polaris expressly warranted that it would repair or

replace defects in material or workmanship free of charge if those defects became apparent

during the warranty period. Polaris provides the following language in its Ranger XP 900

Owner’s Manual, which upon information and belief, is substantially identical for all

models:

       [Polaris] gives a SIX MONTH LIMITED WARRANTY on all components of the
       POLARIS RANGER against defects in material and workmanship. . . . This
       warranty covers the parts and labor charges for repair or replacement of defective
       parts which are covered by this warranty. This warranty begins on the date or
       purchase.


                                             129
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 130 of 202




       510.   Polaris’s Limited Warranty formed the basis of the bargain that was reached

when Plaintiff and the other Class members purchased or leased their Class Vehicles.

       511.   Polaris breached its express warranty to repair defects in materials and

workmanship within the Class Vehicles. Polaris has not repaired, and has been unable to

repair, the Class Vehicles’ materials and workmanship defects.

       512.   Polaris was provided notice of these issues and defects through numerous

complaints filed against it, as well as internal knowledge derived from testing and internal

expert analysis.

       513.   The Limited Warranty fails in its essential purpose because the contractual

remedy is insufficient to make Plaintiff and the other Class members whole and because

Polaris has failed and/or has refused to adequately provide the promised remedies within a

reasonable time.

       514.   Accordingly, recovery by Plaintiff and the other Class members is not limited

to the limited warranty of repair to parts defective in materials and workmanship, and

Plaintiff, individually and on behalf of the other Class members, seeks all remedies as

allowed by law.

       515.   Also, as alleged in more detail herein, at the time that Polaris warranted and

sold the Class Vehicles it knew that the Class Vehicles did not conform to the warranty

and were inherently defective, and Polaris improperly concealed material facts regarding

its Class Vehicles. Plaintiff and the other Class members were therefore induced to

purchase or lease the Polaris Vehicles under false pretenses.




                                            130
      CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 131 of 202




         516.   Moreover, much of the damage flowing from the Class Vehicles cannot be

resolved through the limited remedy of repairs, as those incidental and consequential

damages have already been suffered due to Polaris’s improper conduct as alleged herein,

and due to its failure and/or continued failure to provide such limited remedy within a

reasonable time, and any limitation on Plaintiff’s and the other Class members’ remedies

would be insufficient to make them whole.

         517.   As a direct and proximate result of Polaris’s breach of its express warranty,

Plaintiff and the other Class members have been damaged in an amount to be determined

at trial.

                                    COUNT 24
                               FRAUDULENT OMISSION

         518.   Plaintiff Michael Zeeck (“Plaintiff,” for purposes of the Illinois Class’s

claims) repeats and realleges paragraphs 1-268 as if fully set forth herein.

         519.   Plaintiff brings this Count individually and on behalf of the other members

of the Illinois Class (the “Class,” for purposes of this Count).

         520.   Polaris was aware of the Excessive Heat Defect within the Class Vehicles

when it marketed and sold the Class Vehicles to Plaintiff and the other members of the

Class.

         521.   Having been aware of the Excessive Heat Defect within the Class Vehicles,

and having known that Plaintiff and the other members of the Class could not have

reasonably been expected to know of the Excessive Heat Defect, Polaris had a duty to




                                             131
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 132 of 202




disclose the defect to Plaintiff and the other members of the Class in connection with the

sale or lease of the Class Vehicles.

       522.   Polaris did not disclose the Excessive Heat Defect to Plaintiff and the other

members of the Class in connection with the sale of the Class Vehicles.

       523.   For the reasons set forth above, the Excessive Heat Defect within the Class

Vehicles comprises material information with respect to the sale or lease of the Class

Vehicles.

       524.   In purchasing the Class Vehicles, Plaintiff and the other members of the

Class reasonably relied on Polaris to disclose known material defects with respect to the

Class Vehicles.

       525.   Had Plaintiff and the other members of the Class known of the Excessive

Heat Defect within the Class Vehicles, they would have not purchased the Class Vehicles

or would have paid less for the Class Vehicles.

       526.   Through its omissions regarding the Excessive Heat Defect within the Class

Vehicles, Polaris intended to induce, and did induce, Plaintiff and the other members of

the Class to either purchase a Class Vehicle that they otherwise would not have purchased,

or pay more for a Class Vehicle than they otherwise would have paid.

       527.   As a direct and proximate result of Polaris’s omissions, Plaintiff and the other

members of the Class either overpaid for the Class Vehicles or would not have purchased

the Class Vehicles at all if the Excessive Heat Defect had been disclosed to them, and,

therefore, have incurred damages in an amount to be determined at trial.




                                            132
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 133 of 202




                                     COUNT 25
                                UNJUST ENRICHMENT

       528.   Plaintiff Michael Zeeck (“Plaintiff,” for purposes of the Illinois Class’s

claims) repeats and realleges paragraphs 1-268 as if fully set forth herein.

       529.   Plaintiff brings this Count individually and on behalf of the other members

of the Illinois Class (the “Class,” for purposes of this Count).

       530.   Polaris has benefitted from selling and leasing at an unjust profit defective

Class Vehicles that had artificially inflated prices due to Polaris’s concealment of the

Excessive Heat Defect, and Plaintiff and the other members of the Class have overpaid for

these vehicles.

       531.   Polaris has received and retained unjust benefits from Plaintiff and the other

members of the Class, and inequity has resulted.

       532.   It is inequitable and unconscionable for Polari to retain these benefits.

       533.   Because Polaris concealed its fraud and deception, Plaintiff and the other

members of the Class were not aware of the true facts concerning the Class Vehicles and

did not benefit from Polaris’s misconduct.

       534.   Polaris knowingly accepted the unjust benefits of its wrongful conduct.

       535.   As a result of Polaris’s misconduct, the amount of its unjust enrichment

should be disgorged and returned to Plaintiff and the other members of the Class in an

amount to be proven at trial.




                                             133
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 134 of 202




G.     Claims Brought on Behalf of the Louisiana Class

                                       COUNT 26
                                    REDHIBITION
                             La. Civ. Code Art. 2520, et seq.

       536.   Plaintiff Guthrie (“Plaintiff,” for purposes of the Louisiana Class’s claims)

repeats and realleges Paragraphs 1-268 as if fully set forth herein.

       537.   Plaintiff brings this Count individually and on behalf of the other members

of the Louisiana Class (the “Class,” for purposes of this Count).

       538.   Polaris, as seller of the Class Vehicles with the Excessive Heat Defect,

warranted to Plaintiff and the other Class members against redhibitory defects, or vices, in

the Class Vehicles.

       539.   Polaris, as the manufacturer of the Class Vehicles, is responsible for damage

caused by the failure of its product. Polaris manufactured, sold, and promoted the Class

Vehicles and placed the Class Vehicles into the stream of commerce. Under Louisiana

law, the seller and manufacturer warrants the buyers of a product against redhibitory

defects or vices in the things sold. La. Civ. Code Art. 2520.

       540.   The Class Vehicles contain redhibitory defects, as the Excessive Heat Defect

renders them either useless or their use so inconvenient that it must be presumed that a

buyer, such as Plaintiff and the other Class members, would not have bought the Class

Vehicles had they known of the Excessive Heat Defect. Pursuant to La. Civ. Code Art.

2520, Plaintiff and the other Class members are entitled to obtain a rescission of the sale

of the Class Vehicles. Alternatively, without rendering the Class Vehicles totally useless,

the Excessive Heat Defect diminishes the Class Vehicles’ usefulness or value so that it


                                            134
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 135 of 202




must be presumed that if Plaintiff and the other Class members would still have bought the

Class Vehicles, they would have done so for a lesser price. La. Civ. Code Art. 2520. In

this instance, Plaintiff and the other Class members are entitled to a reduction of the

purchase price.

       541.   The Class Vehicles contained the redhibitory defect described herein at the

time of purchase and the defect was not apparent to Plaintiff and the other Class members.

Polaris knew of the Excessive Heat Defect in the Class Vehicles and failed to disclose this

defect to Plaintiff and the other Class members. Additionally, Polaris, as manufacturer and

seller of the Class Vehicles, is deemed to have known that the Class Vehicles they sold had

redhibitory defects, and is liable as a bad faith seller under redhibition.

       542.   Polaris was provided notice of the Excessive Heat Defect through numerous

complaints filed against it directly and through its dealers, as well as its own internal

engineering knowledge. Pursuant to La. Civil Code Art. 2522, such notice is not required

when, as here, the seller has actual knowledge of the existence of the defect.

       543.   As a direct and proximate result of Polaris’s breach of its warranty of

redhibition, Plaintiff and the other Class members have been damaged in an amount to be

determined at trial.

       544.   Having known of the Excessive Heat Defect contained in the Class Vehicles,

Polaris is liable to Plaintiff and the other Class members for the return of the purchase price

with interest from the time it was paid, for reimbursement of the reasonable expenses

occasioned by the sale and those expenses incurred for the preservation of the Class

Vehicles, and also for damages and reasonable attorneys’ fees.


                                             135
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 136 of 202




                             COUNT 27
         BREACH OF WARRANTY OF FITNESS FOR ORDINARY USE
                       La. Civ. Code Art. 2524

       545.   Plaintiff Guthrie (“Plaintiff,” for purposes of the Louisiana Class’s claims)

repeats and realleges Paragraphs 1-268 as if fully set forth herein.

       546.   Plaintiff brings this Count individually and on behalf of the other members

of the Louisiana Class (the “Class,” for purposes of this Count).

       547.   In addition to warranting against redhibitory defects, Polaris, as the seller of

the Class Vehicles, warranted that the Class Vehicles were reasonably fit for their ordinary

and intended use. La. Civ. Code Art. 2524.

       548.   The Class Vehicles are defectively designed in that they contain the

Excessive Heat Defect. As a result, the Plaintiff and Class members’ vehicles are not

reasonably fit for their ordinary use.

       549.   As a direct and proximate cause of Polaris’s design, manufacture, assembly,

marketing, and sales of the Class Vehicles, Plaintiff and the other Class members have

been damaged in an amount to be determined at trial.

                                     COUNT 28
                         BREACH OF EXPRESS WARRANTY
                           Louisiana Products Liability Act
                             La. R.S. § 9:2800.51, et seq.

       550.   Plaintiff Guthrie (“Plaintiff,” for purposes of the Louisiana Class’s claims)

repeats and realleges Paragraphs 1-268 as if fully set forth herein.

       551.   Plaintiff brings this Count individually and on behalf of the other members

of the Louisiana Class (the “Class,” for purposes of this Count).



                                            136
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 137 of 202




       552.   Polaris is and was at all relevant times a seller and manufacturer with respect

to the Class Vehicles.

       553.   Polaris has defectively designed, manufactured, sold, or otherwise placed in

the stream of commerce Class Vehicles as set forth herein.

       554.   The Class Vehicles in question are unreasonably dangerous and defective

under the Louisiana Products Liability Act (“LPLA”), La. R.S. § 9:2800.58, because the

vehicles do not conform to the express warranty provided by Polaris.

       555.   Polaris knew and expected that the Class Vehicles would eventually be sold

to and operated by purchasers, lessees, and/or eventual owners of the Class Vehicles,

including Plaintiff and the other Class members; consequently, Plaintiff and the other Class

members were expected users of the products that Polaris manufactured.

       556.   The Class Vehicles reached Plaintiff and the other Class members without

substantial changes in their condition from time of completion of manufacture by Polaris.

       557.   The defects in the Class Vehicles could not have been contemplated by any

reasonable person expected to operate the Class Vehicles and, therefore, presented an

unreasonably dangerous situation for expected users of the Class Vehicles even though the

Class Vehicles were operated by expected users in a reasonable manner.

       558.   In its Limited Warranty, Polaris expressly warranted that it would repair or

replace defects in material or workmanship free of charge if those defects became apparent

during the warranty period. Polaris provides the following language in its Ranger XP 900

Owner’s Manual, which upon information and belief, is substantially identical for all

models:


                                            137
       CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 138 of 202




        [Polaris] gives a SIX MONTH LIMITED WARRANTY on all components of the
        POLARIS RANGER against defects in material and workmanship. . . . This
        warranty covers the parts and labor charges for repair or replacement of defective
        parts which are covered by this warranty. This warranty begins on the date or
        purchase.

        559.   Also, as alleged in more detail herein, at the time that Polaris warranted and

sold the Class Vehicles it knew that the Class Vehicles did not conform to the warranty

and were inherently defective, and Polaris improperly concealed material facts regarding

its Class Vehicles. Plaintiff and the other Class members were therefore induced to

purchase or lease the Class Vehicles under false pretenses.

        560.   Moreover, much of the damage flowing from the Class Vehicles cannot be

resolved through the limited remedy of repairs, as those incidental and consequential

damages have already been suffered due to Polaris’s improper conduct as alleged herein,

and due to its failure and/or continued failure to provide such limited remedy within a

reasonable time, and any limitation on Plaintiff’s and the other Class members’ remedies

would be insufficient to make them whole.

        561.   As a direct and proximate cause of Polaris’s design, manufacture, assembly,

marketing, and sales of the Class Vehicles, Plaintiffs and the other Class members have

sustained and will continue to sustain the loss of use of their Class Vehicles, economic

losses and consequential damages, and are therefore entitled to compensatory relief in an

amount to be determined at trial. Plaintiff, individually and on behalf of the other Class

members, asserts the application of res ipsa loquitur under the Louisiana Products Liability

Act.




                                            138
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 139 of 202




                                    COUNT 29
                               FRAUDULENT OMISSION

         562.   Plaintiff Guthrie (“Plaintiff,” for purposes of the Louisiana Class’s claims)

repeats and realleges Paragraphs 1-268 as if fully set forth herein.

         563.   Plaintiff brings this Count individually and on behalf of the other members

of the Louisiana Class (the “Class,” for purposes of this Count).

         564.   Polaris was aware of the Excessive Heat Defect within the Class Vehicles

when it marketed and sold the Class Vehicles to Plaintiff and the other members of the

Class.

         565.   Having been aware of the Excessive Heat Defect within the Class Vehicles,

and having known that Plaintiff and the other members of the Class could not have

reasonably been expected to know of the Excessive Heat Defect, Polaris had a duty to

disclose the defect to Plaintiff and the other members of the Class in connection with the

sale or lease of the Class Vehicles.

         566.   Polaris did not disclose the Excessive Heat Defect to Plaintiff and the other

members of the Class in connection with the sale of the Class Vehicles.

         567.   For the reasons set forth above, the Excessive Heat Defect within the Class

Vehicles comprises material information with respect to the sale or lease of the Class

Vehicles.

         568.   In purchasing the Class Vehicles, Plaintiff and the other members of the

Class reasonably relied on Polaris to disclose known material defects with respect to the

Class Vehicles.



                                             139
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 140 of 202




       569.   Had Plaintiff and the other members of the Class known of the Excessive

Heat Defect within the Class Vehicles, they would have not purchased the Class Vehicles

or would have paid less for the Class Vehicles.

       570.   Through its omissions regarding the Excessive Heat Defect within the Class

Vehicles, Polaris intended to induce, and did induce, Plaintiff and the other members of

the Class to either purchase a Class Vehicle that they otherwise would not have purchased,

or pay more for a Class Vehicle than they otherwise would have paid.

       571.   As a direct and proximate result of Polaris’s omissions, Plaintiff and the other

members of the Class either overpaid for the Class Vehicles or would not have purchased

the Class Vehicles at all if the Excessive Heat Defect had been disclosed to them, and,

therefore, have incurred damages in an amount to be determined at trial.

                                COUNT 30
        VIOLATION OF LOUISIANA UNFAIR TRADE PRACTICES ACT
                   La. Rev. Stat. Ann. §§ 51:1401, et seq.

       572.   Plaintiff Guthrie (“Plaintiff,” for purposes of the Louisiana Class’s claims)

repeats and realleges Paragraphs 1-268 as if fully set forth herein.

       573.   Plaintiff brings this Count individually and on behalf of the other members

of the Louisiana Class (the “Class,” for purposes of this Count).

       574.   Polaris had the duty to refrain from the use of unfair methods of competition

and unfair or deceptive acts or practices in the conduct of its trade and commerce. This

includes the duty to refrain from knowingly exploiting consumers in an effort to gain an

unfair advantage over them.




                                            140
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 141 of 202




       575.   Polaris’s sale of the Class Vehicle to Plaintiff and the other Class members

was a “consumer transaction” within the scope of the Louisiana Unfair Trade Practices

Act, La. Rev. Stat. Ann. §§ 51: 1401, et seq. The transactions involved commerce with a

natural person, the subject of which transactions was primarily intended for personal,

family or household use and resulted in an ascertainable loss of money or property, as a

result of the unfair or deceptive act or practice.

       576.   Polaris’s omissions regarding the Excessive Heat Defect, described above,

are material facts that a reasonable person would have considered in deciding whether or

not to purchase (or to pay the same price for) the Class Vehicles.

       577.   Polaris intended for Plaintiff and the other Class members to rely on Polaris’s

omissions regarding the Excessive Heat Defect. Polaris failed to give Plaintiff and the

other Class members sufficient notice or warning regarding this defect.

       578.   Plaintiff and the other Class members relied upon Polaris’s omissions when

purchasing the Class Vehicles.

       579.   Plaintiff and the other Class members were deceived by Polaris’s

concealment of the defect.

       580.   Had Polaris disclosed all material information regarding the Excessive Heat

Defect to Plaintiff and the other Class members, Plaintiff and the other Class members

would not have purchased or leased Class Vehicles or would have paid less to do so.

       581.   Polaris’s omissions have deceived Plaintiff, and those same business

practices have deceived or are likely to deceive members of the consuming public and the

other members of the Class.


                                              141
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 142 of 202




       582.   In addition to being deceptive, the business practices of Polaris were unfair

because Polaris knowingly sold Plaintiff and the other Class members defective Class

Vehicles. The injuries to Plaintiff and the other Class members are substantial and greatly

outweigh any alleged countervailing benefit to Plaintiff and the other Class members or to

competition under all of the circumstances. Moreover, in light of Polaris’s exclusive

knowledge of the Excessive Defect, the injury is not one that Plaintiff or the other Class

members could have reasonably avoided.

       583.   As a direct and proximate result of Polaris’s unfair and deceptive trade

practices, Plaintiff and the other Class members have suffered ascertainable loss and actual

damages. Plaintiff and the other Class members who purchased or leased the Class

Vehicles would not have purchased or leased the Class Vehicles, or, alternatively, would

have paid less for them had the truth about the Excessive Heat Defect been disclosed.

Plaintiff and the other Class members also suffered diminished value of their vehicles.

Plaintiff and the other Class members are entitled to recover actual damages, treble and/or

punitive damages, attorneys’ fees and costs, and all other relief allowed under La. Rev.

Stat. Ann. §§ 51: 1401, et seq.

       584.   Plaintiff and the other Class Members are also entitled to and hereby seek an

order directing Polaris to pay Plaintiffs’ reasonably attorneys’ fees and costs of suit, as

awarded by the Court.




                                            142
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 143 of 202




                                     COUNT 31
                                UNJUST ENRICHMENT

       585.   Plaintiff Guthrie (“Plaintiff,” for purposes of the Louisiana Class’s claims)

repeats and realleges Paragraphs 1-268 as if fully set forth herein.

       586.   Plaintiff brings this Count individually and on behalf of the other members

of the Louisiana Class (the “Class,” for purposes of this Count).

       587.   Polaris has benefitted from selling and leasing at an unjust profit defective

Class Vehicles that had artificially inflated prices due to Polaris’s concealment of the

Excessive Heat Defect, and Plaintiff and the other members of the Class have overpaid for

these vehicles.

       588.   Polaris has received and retained unjust benefits from Plaintiff and the other

members of the Class, and inequity has resulted.

       589.   It is inequitable and unconscionable for Polaris to retain these benefits.

       590.   Because Polaris concealed its fraud and deception, Plaintiff and the other

members of the Class were not aware of the true facts concerning the Class Vehicles and

did not benefit from Polaris’s misconduct.

       591.   Polaris knowingly accepted the unjust benefits of its wrongful conduct.

       592.   As a result of Polaris’s misconduct, the amount of its unjust enrichment

should be disgorged and returned to Plaintiff and the other members of the Class in an

amount to be proven at trial.




                                             143
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 144 of 202




H.     Claims Brought on Behalf of the Michigan Class

                                     COUNT 32
                         VIOLATIONS OF THE MICHIGAN
                          CONSUMER PROTECTION ACT
                         Mich. Comp. Laws §§ 445.901-445.922

       593.   Plaintiff Chad Rogers (“Plaintiff,” for purposes of the Michigan Class’s

claims) repeats and realleges paragraphs 1-268 as if fully set forth herein.

       594.   Plaintiff brings this Count individually and on behalf of the other members

of the Michigan Class (the “Class,” for purposes of this Count).

       595.   The Michigan Consumer Protection Act (“Michigan CPA”) prohibits

“[u]nfair, unconscionable, or deceptive methods, acts, or practices in the conduct of trade

or commerce ….” Mich. Comp. Laws § 445.903.

       596.   By the conduct described in detail above and incorporated herein, Polaris

engaged in unfair or deceptive acts in violation of the Michigan CPA. Polaris knew or

should have known that its conduct violated the Michigan CPA.

       597.   Polaris’s omissions regarding the Excessive Heat Defect, described above,

are material facts that a reasonable person would have considered in deciding whether or

not to purchase (or to pay the same price for) the Class Vehicles.

       598.   Polaris intended for Plaintiff and the other Class members to rely on Polaris’s

omissions regarding the Excessive Heat Defect.

       599.   Plaintiff and the other Class members justifiably acted or relied to their

detriment upon Polaris’s omissions of fact concerning the above-described Excessive Heat




                                            144
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 145 of 202




Defect, as evidenced by Plaintiff and the other Class members’ purchases of Class

Vehicles.

       600.   Had Polaris disclosed all material information regarding the Excessive Heat

Defect to Plaintiff and the other Class members, Plaintiff and the other Class members

would not have purchased or leased Class Vehicles or would have paid less to do so.

       601.   Polaris’s omissions have deceived Plaintiff, and those same business

practices have deceived or are likely to deceive members of the consuming public and the

other members of the Class.

       602.   In addition to being deceptive, the business practices of Polaris were unfair

because Polaris knowingly sold Plaintiff and the other Class members’ Class Vehicles with

that are essentially unusable for the purposes for which they were sold. The injuries to

Plaintiff and the other Class members are substantial and greatly outweigh any alleged

countervailing benefit to Plaintiff and the other Class members or to competition under all

of the circumstances. Moreover, in light of Polaris’s exclusive knowledge of the Excessive

Heat Defect, the injury is not one that Plaintiff or the other Class members could have

reasonably avoided.

       603.   As a direct and proximate result of Polaris’s unfair and deceptive trade

practices, Plaintiff and the other Class members have suffered loss and actual damages.

Plaintiff and the other Class members who purchased or leased the Class Vehicles would

not have purchased or leased the Class Vehicles, or, alternatively, would have paid less for

them had the truth about the Power Liftgate Defect been disclosed. Plaintiff and the other

Class members also suffered diminished value of their vehicles.


                                            145
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 146 of 202




       604.   Pursuant to Mich. Comp. Laws § 445.911, Plaintiff and the other Class

members seek an order enjoining Polaris’s unfair and/or deceptive acts or practices and

awarding damages, including trebled and punitive damages, as well as attorneys’ fees,

costs, and any other just and proper relief available under the Michigan CPA.

                                   COUNT 33
                        BREACH OF EXPRESS WARRANTY
                           Mich. Comp. Laws § 440.2313

       605.   Plaintiff Chad Rogers (“Plaintiff,” for purposes of the Michigan Class’s

claims) repeats and realleges paragraphs 1-268 as if fully set forth herein.

       606.   Plaintiff brings this Count individually and on behalf of the other members

of the Illinois Class (the “Class,” for purposes of this Count).

       607.   Polaris is and was at all relevant times a “merchant” with respect to motor

vehicles under Mich. Comp. Laws §§ 440.2314 and 440.2862, and a “seller” of motor

vehicles under §§ 440.2314 and 440.2313.

       608.   With respect to leases, Polaris is and was at all relevant times a “lessor” of

motor vehicles under Mich. Comp. Laws §§ 440.2862.

       609.   The Class Vehicles are and were at all relevant times “goods” within the

meaning of Mich. Comp. Laws §§ 440.2314, 440.2862, and 440.2313.

       610.   In its Limited Warranty, Polaris expressly warranted that it would repair or

replace defects in material or workmanship free of charge if those defects became apparent

during the warranty period. Polaris provides the following language in its Ranger XP 900

Owner’s Manual, which upon information and belief, is substantially identical for all

models:


                                             146
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 147 of 202




       [Polaris] gives a SIX MONTH LIMITED WARRANTY on all components of the
       POLARIS RANGER against defects in material and workmanship. . . . This
       warranty covers the parts and labor charges for repair or replacement of defective
       parts which are covered by this warranty. This warranty begins on the date or
       purchase.

       611.   Polaris’s Limited Warranty formed the basis of the bargain that was reached

when Plaintiff and the other Class members purchased or leased their Class Vehicles.

       612.   Polaris breached its express warranty to repair defects in materials and

workmanship within the Class Vehicles. Polaris has not repaired, and has been unable to

repair, the Class Vehicles’ materials and workmanship defects.

       613.   Polaris was provided notice of these issues and defects through numerous

complaints filed against it, as well as internal knowledge derived from testing and internal

expert analysis.

       614.   The Limited Warranty fails in its essential purpose because the contractual

remedy is insufficient to make Plaintiff and the other Class members whole and because

Polaris has failed and/or has refused to adequately provide the promised remedies within a

reasonable time.

       615.   Accordingly, recovery by Plaintiff and the other Class members is not limited

to the limited warranty of repair to parts defective in materials and workmanship, and

Plaintiff, individually and on behalf of the other Class members, seeks all remedies as

allowed by law.

       616.   Also, as alleged in more detail herein, at the time that Polaris warranted and

sold the Class Vehicles it knew that the Class Vehicles did not conform to the warranty

and were inherently defective, and Polaris improperly concealed material facts regarding


                                            147
      CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 148 of 202




its Class Vehicles. Plaintiff and the other Class members were therefore induced to

purchase or lease the Polaris Vehicles under false pretenses.

        617.    Moreover, much of the damage flowing from the Class Vehicles cannot be

resolved through the limited remedy of repairs, as those incidental and consequential

damages have already been suffered due to Polaris’s improper conduct as alleged herein,

and due to its failure and/or continued failure to provide such limited remedy within a

reasonable time, and any limitation on Plaintiff’s and the other Class members’ remedies

would be insufficient to make them whole.

        618.    As a direct and proximate result of Polaris’s breach of its express warranty,

Plaintiff and the other Class members have been damaged in an amount to be determined

at trial.

                                    COUNT 34
               BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                      Mich. Comp. Laws §§ 440.2314 and 440.2862

        619.    Plaintiff Chad Rogers (“Plaintiff,” for purposes of the Michigan Class’s

claims) repeats and realleges paragraphs 1-268 as if fully set forth herein.

        620.    Plaintiff brings this Count individually and on behalf of the other members

of the Michigan Class (the “Class,” for purposes of this Count).

        621.    Polaris is and was at all relevant times a “merchant” with respect to motor

vehicles under Mich. Comp. Laws §§ 440.2314 and 440.2862, and a “seller” of motor

vehicles under § 440.2314.

        622.    With respect to leases, Polaris is and was at all relevant times a “lessor” of

motor vehicles under Mich. Comp. Laws § 440.2862.


                                             148
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 149 of 202




       623.    The Class Vehicles are and were at all relevant times “goods” within the

meaning of Mich. Comp. Laws §§ 440.2314 and 440.2862.

       624.    A warranty that the Class Vehicles were in merchantable condition and fit

for the ordinary purpose for which vehicles are used is implied in law pursuant to Mich.

Comp. Laws §§ 440.2314 and 440.2862.

       625.    The Class Vehicles did not comply with the implied warranty of

merchantability because, at the time of sale and at all times thereafter, they were defective

and not in merchantable condition, would not pass without objection in the trade, and were

not fit for the ordinary purpose for which vehicles were used. Specifically, the Class

Vehicles suffer from the Excessive Heat Defect.

       626.    Polaris was provided notice of these issues and defects through numerous

complaints filed against it, as well as internal knowledge derived from testing and internal

expert analysis.

       627.    Plaintiff and the other Class members suffered injuries due to the defective

nature of the Class Vehicles and Polaris’s breach of the warranty of merchantability.

       628.    As a direct and proximate result of Polaris’s breach of the warranty of

merchantability, Plaintiff and the other Class members have been damaged in an amount

to be proven at trial.




                                            149
      CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 150 of 202




                                    COUNT 35
                              FRAUDULENT OMISSION157

         629.   Plaintiff Chad Rogers (“Plaintiff,” for purposes of the Michigan Class’s

claims) repeats and realleges paragraphs 1-268 as if fully set forth herein.

         630.   Plaintiff brings this Count individually and on behalf of the other members

of the Michigan Class (the “Class,” for purposes of this Count).

         631.   Polaris was aware of the Excessive Heat Defect within the Class Vehicles

when it marketed and sold the Class Vehicles to Plaintiff and the other members of the

Class.

         632.   Having been aware of the Excessive Heat Defect within the Class Vehicles,

and having known that Plaintiff and the other members of the Class could not have

reasonably been expected to know of the Excessive Heat Defect, Polaris had a duty to

disclose the defect to Plaintiff and the other members of the Class in connection with the

sale or lease of the Class Vehicles.

         633.   Polaris did not disclose the Excessive Heat Defect to Plaintiff and the other

members of the Class in connection with the sale of the Class Vehicles.

         634.   For the reasons set forth above, the Excessive Heat Defect within the Class

Vehicles comprises material information with respect to the sale or lease of the Class

Vehicles.



157
    In light of the Court’s dismissal of this claim with prejudice (Dkt. No. 60 at 18-20),
Plaintiffs include this claims in this First Amended Consolidated Class Action Complaint
strictly to preserve it for purposes of appeal.


                                             150
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 151 of 202




       635.   Polaris’s non-disclosure of the Excessive Heat Defect gave Plaintiff and the

other members of the Class a false impression that the Class Vehicles were safe.

       636.   Polaris knew that by not disclosing the Excessive Heat Defect, it was giving

Plaintiff and the other members of the Class a false impression that the Class Vehicles were

safe. Polaris intended for Plaintiff and the other members of the Class to rely on this

impression.

       637.   In purchasing the Class Vehicles, Plaintiff and the other members of the

Class reasonably relied on Polaris to disclose known material defects with respect to the

Class Vehicles.

       638.   Had Plaintiff and the other members of the Class known of the Excessive

Heat Defect within the Class Vehicles, they would have not purchased the Class Vehicles

or would have paid less for the Class Vehicles.

       639.   Through its omissions regarding the Excessive Heat Defect within the Class

Vehicles, Polaris intended to induce, and did induce, Plaintiff and the other members of

the Class to either purchase a Class Vehicle that they otherwise would not have purchased,

or pay more for a Class Vehicle than they otherwise would have paid.

       640.   As a direct and proximate result of Polaris’s omissions, Plaintiff and the other

members of the Class either overpaid for the Class Vehicles or would not have purchased

the Class Vehicles at all if the Excessive Heat Defect had been disclosed to them, and,

therefore, have incurred damages in an amount to be determined at trial.




                                            151
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 152 of 202




                                     COUNT 36
                                UNJUST ENRICHMENT

       641.   Plaintiff Chad Rogers (“Plaintiff,” for purposes of the Michigan Class’s

claims) repeats and realleges paragraphs 1-268 as if fully set forth herein.

       642.   Plaintiff brings this Count individually and on behalf of the other members

of the Michigan Class (the “Class,” for purposes of this Count).

       643.   Polaris has benefitted from selling and leasing at an unjust profit defective

Class Vehicles that had artificially inflated prices due to Polaris’s concealment of the

Excessive Heat Defect, and Plaintiff and the other members of the Class have overpaid for

these vehicles.

       644.   Polaris has received and retained unjust benefits from Plaintiff and the other

members of the Class, and inequity has resulted.

       645.   It is inequitable and unconscionable for Polaris to retain these benefits.

       646.   Because Polaris concealed its fraud and deception, Plaintiff and the other

members of the Class were not aware of the true facts concerning the Class Vehicles and

did not benefit from Polaris’s misconduct.

       647.   Polaris knowingly accepted the unjust benefits of its wrongful conduct.

       648.   As a result of Polaris’s misconduct, the amount of its unjust enrichment

should be disgorged and returned to Plaintiff and the other members of the Class in an

amount to be proven at trial.




                                             152
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 153 of 202




I.     Claims Brought on Behalf of the Minnesota Class

                                COUNT 37
               VIOLATIONS OF THE MINNESOTA PREVENTION
                       OF CONSUMER FRAUD ACT
                        Minn. Stat. §§ 325F.68, et seq.

       649.   Plaintiff Richard Berens (“Plaintiff,” for purposes of the Minnesota Class’s

claims) repeat and reallege paragraphs 1-268 as if fully set forth herein.

       650.   Plaintiff brings this Count individually and on behalf of the other members

of the Minnesota Class (the “Class,” for purposes of this Count).

       651.   The Minnesota Prevention of Consumer Fraud Act prohibits “any fraud, false

pretense, false promise, misrepresentation, misleading statement or deceptive practice.”

Minn. Stat. § 325F.69.

       652.   By the conduct described in detail above and incorporated herein, Polaris

engaged in unfair or deceptive acts in violation of Minn. Stat. § 325F.69.

       653.   Polaris’s omissions regarding the Excessive Heat Defect, described above,

are material facts that a reasonable person would have considered in deciding whether or

not to purchase (or to pay the same price for) the Class Vehicles.

       654.   Polaris intended for Plaintiff and the other Class members to rely on Polaris’s

omissions of fact regarding the Excessive Heat Defect.

       655.   Plaintiff and the other Class members justifiably acted or relied to their

detriment upon Polaris’s omissions of fact concerning the above-described Excessive Heat

Defect, as evidenced by Plaintiff and the other Class members’ purchases of Class

Vehicles.



                                            153
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 154 of 202




       656.   Had Polaris disclosed all material information regarding the Excessive Heat

Defect to Plaintiff and the other Class members, Plaintiff and the other Class members

would not have purchased or leased Class Vehicles or would have paid less to do so.

       657.   Polaris’s omissions have deceived Plaintiff, and those same business

practices have deceived or are likely to deceive members of the consuming public and the

other Class members.

       658.   In addition to being deceptive, the business practices of Polaris were unfair

because Polaris knowingly sold Plaintiff and the other Class members Class Vehicles that

are essentially unusable for the purposes for which they were sold. The injuries to Plaintiff

and the other Class members are substantial and greatly outweigh any alleged

countervailing benefit to Plaintiff and the other Class members or to competition under all

of the circumstances. Moreover, in light of Polaris’s exclusive knowledge of the Excessive

Heat Defect, the injury is not one that Plaintiff or the other Class members could have

reasonably avoided.

       659.   As a direct and proximate result of Polaris’s unfair and deceptive trade

practices, Plaintiff and the other Class members have suffered ascertainable loss and actual

damages. Plaintiff and the other Class members who purchased or leased the Class

Vehicles would not have purchased or leased the Class Vehicles, or, alternatively, would

have paid less for them had the truth about the Excessive Heat Defect been disclosed.

Plaintiff and the other Class members also suffered diminished value of their vehicles.

Plaintiff and the other Class members are entitled to recover actual damages, attorneys’

fees and costs, and all other relief allowed under Minn. Stat. § 8.31, subd. 3a.


                                            154
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 155 of 202




                                      COUNT 38
                        BREACH OF EXPRESS WARRANTY
                          Minn. Stat. §§ 325G.19, 336.2-313

       660.   Plaintiff Richard Berens (“Plaintiff,” for purposes of the Minnesota Class’s

claims) repeat and reallege paragraphs 1-268 as if fully set forth herein.

       661.   Plaintiff brings this Count individually and on behalf of the other members

of the Minnesota Class (the “Class,” for purposes of this Count).

       662.   Polaris is and was at all relevant times a merchant with respect to the Class

Vehicles.

       663.   In its Limited Warranty, Polaris expressly warranted that it would repair or

replace defects in material or workmanship free of charge if those defects became apparent

during the warranty period. Polaris provides the following language in its Ranger XP 900

Owner’s Manual, which upon information and belief, is substantially identical for all

models:

       [Polaris] gives a SIX MONTH LIMITED WARRANTY on all components
       of the POLARIS RANGER against defects in material and workmanship. . .
       . This warranty covers the parts and labor charges for repair or replacement
       of defective parts which are covered by this warranty. This warranty begins
       on the date or purchase.

       664.   Polaris’s Limited Warranty formed the basis of the bargain that was reached

when Plaintiff and the other Class members purchased or leased their Class Vehicles.

       665.   Polaris breached the express warranty to repair defects in materials and

workmanship within the Class Vehicles. Polaris has not repaired, and has been unable to

repair, the Class Vehicles’ materials and workmanship defects.




                                            155
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 156 of 202




       666.   Polaris was provided notice of these issues and defects through numerous

complaints filed against it, as well as internal knowledge derived from testing and internal

expert analysis.

       667.   The Limited Warranty fails in its essential purpose because the contractual

remedy is insufficient to make Plaintiff and the other Class members whole and because

Polaris has failed and/or has refused to adequately provide the promised remedies within a

reasonable time.

       668.   Accordingly, recovery by Plaintiff and the other Class members is not limited

to the limited warranty of repair to parts defective in materials and workmanship, and

Plaintiff, individually and on behalf of the other Class members, seeks all remedies

allowable by law.

       669.   Also, and as alleged in more detail herein, at the time that Polaris warranted

and sold the Class Vehicles it knew that the Class Vehicles did not conform to the warranty

and were inherently defective, and Polaris improperly concealed material facts regarding

its Class Vehicles. Plaintiff and the other Class members were, therefore, induced to

purchase or lease the Class Vehicles under false pretenses.

       670.   Moreover, much of the damage flowing from the Class Vehicles cannot be

resolved through the limited remedy of repairs, as those incidental and consequential

damages have already been suffered due to Polaris’s improper conduct as alleged herein,

and due to its failure and/or continued failure to provide such limited remedy within a

reasonable time, and any limitation on Plaintiff and the other Class members’ remedies

would be insufficient to make them whole.


                                            156
      CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 157 of 202




        671.   As a direct and proximate result of Polaris’s breach of its express warranty,

Plaintiff and the other Class members have been damaged in an amount to be determined

at trial.

                                COUNT 39
            BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                           Minn. Stat. § 336.2-314

        672.   Plaintiff Richard Berens (“Plaintiff,” for purposes of the Minnesota Class’s

claims) repeat and reallege paragraphs 1-268 as if fully set forth herein.

        673.   Plaintiff brings this Count individually and on behalf of the other members

of the Minnesota Class (the “Class,” for purposes of this Count).

        674.   Polaris is and was at all relevant times a merchant with respect to motor

vehicles under Minn. Stat. § 336.2-314.

        675.   Pursuant to Minn. Stat. § 336.2-314, a warranty that the Class Vehicles were

in merchantable condition was implied by law, and the Class Vehicles were bought and

sold subject to an implied warranty of merchantability.

        676.   The Class Vehicles did not comply with the implied warranty of

merchantability because, at the time of sale and at all times thereafter, they were defective

and not in merchantable condition, would not pass without objection in the trade, and were

not fit for the ordinary purpose for which vehicles were used. Specifically, the Class

Vehicles suffer from the Excessive Heat Defect.

        677.   Polaris was provided notice of these issues and defects through numerous

complaints filed against it, as well as internal knowledge derived from testing and internal

expert analysis.


                                            157
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 158 of 202




         678.   Plaintiff and the other Class members suffered injuries due to the defective

nature of the Class Vehicles and Polaris’s breach of the warranty of merchantability.

         679.   As a direct and proximate result of Polaris’s breach of the warranty of

merchantability, Plaintiff and the other Class members have been damaged in an amount

to be proven at trial.

                                    COUNT 40
                               FRAUDULENT OMISSION
         680.   Plaintiff Richard Berens (“Plaintiff,” for purposes of the Minnesota Class’s

claims) repeat and reallege paragraphs 1-268 as if fully set forth herein.

         681.   Plaintiff brings this Count individually and on behalf of the other members

of the Minnesota Class (the “Class,” for purposes of this Count).

         682.   Polaris was aware of the Excessive Heat Defect within the Class Vehicles

when it marketed and sold the Class Vehicles to Plaintiff and the other members of the

Class.

         683.   Having been aware of the Excessive Heat Defect within the Class Vehicles,

and having known that Plaintiff and the other members of the Class could not have

reasonably been expected to know of the Excessive Heat Defect, Polaris had a duty to

disclose the defect to Plaintiff and the other members of the Class in connection with the

sale or lease of the Class Vehicles.

         684.   Polaris did not disclose the Excessive Heat Defect to Plaintiff and the other

members of the Class in connection with the sale of the Class Vehicles.




                                             158
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 159 of 202




       685.   For the reasons set forth above, the Excessive Heat Defect within the Class

Vehicles comprises material information with respect to the sale or lease of the Class

Vehicles.

       686.   In purchasing the Class Vehicles, Plaintiff and the other members of the

Class reasonably relied on Polaris to disclose known material defects with respect to the

Class Vehicles.

       687.   Had Plaintiff and the other members of the Class known of the Excessive

Heat Defect within the Class Vehicles, they would have not purchased the Class Vehicles

or would have paid less for the Class Vehicles.

       688.   Through its omissions regarding the Excessive Heat Defect within the Class

Vehicles, Polaris intended to induce, and did induce, Plaintiff and the other members of

the Class to either purchase a Class Vehicle that they otherwise would not have purchased,

or pay more for a Class Vehicle than they otherwise would have paid.

       689.   As a direct and proximate result of Polaris’s omissions, Plaintiff and the other

members of the Class either overpaid for the Class Vehicles or would not have purchased

the Class Vehicles at all if the Excessive Heat Defect had been disclosed to them, and,

therefore, have incurred damages in an amount to be determined at trial.

                                     COUNT 41
                                UNJUST ENRICHMENT

       690.   Plaintiff Richard Berens (“Plaintiff,” for purposes of the Minnesota Class’s

claims) repeat and reallege paragraphs 1-268 as if fully set forth herein.




                                            159
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 160 of 202




       691.   Plaintiff brings this Count individually and on behalf of the other members

of the Minnesota Class (the “Class,” for purposes of this Count).

       692.   Polaris has benefitted from selling and leasing at an unjust profit defective

Class Vehicles that had artificially inflated prices due to Polaris’s concealment of the

Excessive Heat Defect, and Plaintiff and the other members of the Class have overpaid for

these vehicles.

       693.   Polaris has received and retained unjust benefits from Plaintiff and the other

members of the Class, and inequity has resulted.

       694.   It is inequitable and unconscionable for Polaris to retain these benefits.

       695.   Because Polaris concealed its fraud and deception, Plaintiff and the other

members of the Class were not aware of the true facts concerning the Class Vehicles and

did not benefit from Polaris’s misconduct.

       696.   Polaris knowingly accepted the unjust benefits of its wrongful conduct.

       697.   As a result of Polaris’s misconduct, the amount of its unjust enrichment

should be disgorged and returned to Plaintiff and the other members of the Class in an

amount to be proven at trial.

J.     Claims Brought on Behalf of the Ohio Class

                              COUNT 42
      VIOLATIONS OF THE OHIO CONSUMER SALES PRACTICES ACT
                  Ohio Rev. Code Ann. §§ 1345.01, et seq.

       698.   Plaintiff Michael Jacks (“Plaintiff,” for purposes of the Ohio Class’s claims)

repeat and reallege paragraphs 1-268 as if fully set forth herein.




                                             160
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 161 of 202




       699.   Plaintiff brings this Count individually and on behalf of the other members

of the Ohio Class (the “Class,” for purposes of this Count).

       700.   Polaris, Plaintiff, and the other Class members are “persons” within the

meaning of Ohio Rev. Code Ann. § 145.01(B). Polaris is a “supplier” as defined by Ohio

Rev. Code Ann. § 1345.01(c).

       701.   Plaintiff and the other Class members are “consumers” as that term is defined

in Ohio Rev. Code Ann. § 1345.01(D), and their purchase and lease of the Class Vehicles

are “consumer transactions” within the meaning of Ohio Rev. Code Ann. § 1345.01(A).

       702.   Ohio Rev. Code Ann. § 1345.02 prohibits unfair or deceptive acts or

practices in connection with consumer transactions.

       703.   In the course of Polaris’s business, Polaris violated the Ohio Consumer Sales

Practices Act (“CSPA”) by selling Class Vehicles with the Excessive Heat Defect, or by

negligently concealing or suppressing material facts concerning the Excessive Heat Defect

in the Class Vehicles.

       704.   Further, as a result of placing a defective product into the stream of

commerce, Polaris has breached its implied warranty in tort, which is an unfair and

deceptive act, as defined in Ohio Rev. Code Ann. § 1345.09(B).

       705.   Polaris has committed unfair and deceptive acts in violation of the Ohio

CSPA by knowingly placing into the stream of commerce the Class Vehicles with the

Excessive Heat Defect.




                                           161
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 162 of 202




       706.   Moreover, Polaris has committed an unfair and deceptive act by knowingly

concealing the Excessive Heat Defect in the Class Vehicles and failing to inform Plaintiff

and the other Class members of this defect.

       707.   The Ohio Attorney General has made available for public inspection prior

state court decisions which have held that the acts and omissions of Polaris as detailed in

this Complaint, including, but not limited to, the failure to honor both its implied and

express warranties; and the concealment and/or non-disclosure of a substantial defect,

constitute deceptive sales practices in violation of the CSPA. These cases include, but are

not limited to, the following:

          a. Mason v. Mercedes Benz USA, LLC (OPIF #10002382);

          b. State ex rel. Betty D. Montgomery v. Ford Motor co. (OPIF #10002123);

          c. State ex rel. Betty D. Montgomery v. Bridgestone/Firestone, Inc. (OPIF

              #10002025);

          d. Bellinger v. Hewlett-Packard Co., No. 20744, 2002 Ohio App. LEXIS 1573

              (Ohio Ct. App. Apr. 10, 2002) (OPIF #10002077);

          e. Borror v. MarineMax of Ohio, No. OT-06-010, 2007 Ohio App. LEXIS

              525 (Ohio Ct. App. Feb. 9, 2007) (OPIF #10002388);

          f. State ex rel. Jim Petro v. Craftmatic Organization, Inc. (OPIF #10002347);

          g. Cranford v. Joseph Airport Toyota, Inc. (OPIF #10001586);

          h. Brown v. Spears (OPIF #10000403);

          i. Brinkman v. Mazda Motor of America, Inc. (OPIF #10001427);




                                           162
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 163 of 202




          j. Mosley v. Performance Mitsubishi AKA Automanage (OPIF #10001326);

              and

          k. Walls v. Harry Williams dba Butch’s Auto Sales (OPIF #10001524).

       708.   Polaris’s unfair or deceptive acts or practices were likely to, and did, in fact,

deceive consumers, including Plaintiff and the other Class members, about the true

reliability, dependability, efficiency, and quality of the Class Vehicles.

       709.   Plaintiff and the other Class members suffered ascertainable loss and actual

damages as a direct result of Polaris’s concealment of and failure to disclose material

information, namely, the Excessive Heat Defect. Plaintiff and the other Class members

who purchased or leased the Class Vehicles would not have done so, or would have paid

significantly less, if the true nature of the Class Vehicles had been disclosed. Plaintiff and

the other Class members also suffered diminished value of their vehicles.

       710.   Polaris is liable to Plaintiff and the other Class members for compensatory

damages, injunctive/equitable relief, and attorneys’ fees pursuant to Ohio Rev. Code Ann.

§ 1345.09.

                                    COUNT 43
                       BREACH OF EXPRESS WARRANTY
                     Ohio Rev. Code Ann. §§ 1302.26 and 1310.17

       711.   Plaintiff Michael Jacks (“Plaintiff,” for purposes of the Ohio Class’s claims)

repeat and reallege paragraphs 1-268 as if fully set forth herein.

       712.   Plaintiff brings this Count individually and on behalf of the other members

of the Ohio Class (the “Class,” for purposes of this Count).




                                             163
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 164 of 202




       713.   Polaris is and was at all relevant times a merchant with respect to the Class

Vehicles.

       714.   In its Limited Warranty, Polaris expressly warranted that it would repair or

replace defects in material or workmanship free of charge if they became apparent during

the warranty period. Polaris provides the following language in its Ranger XP 900 Owner’s

Manual, which upon information and belief, is substantially identical for all models:

       [Polaris] gives a SIX MONTH LIMITED WARRANTY on all components
       of the POLARIS RANGER against defects in material and workmanship. . .
       . This warranty covers the parts and labor charges for repair or replacement
       of defective parts which are covered by this warranty. This warranty begins
       on the date or purchase.

       715.   Polaris’s Limited Warranty formed the basis of the bargain that was reached

when Plaintiff and the other Class members purchased or leased their Class Vehicles.

       716.   Polaris breached its express warranty to repair defects in materials and

workmanship within the Class Vehicles. Polaris has not repaired, and has been unable to

repair, the Class Vehicles’ materials and workmanship defects.

       717.   Polaris was provided notice of these issues and defects through numerous

complaints filed against it, as well as internal knowledge derived from testing and internal

expert analysis.

       718.   The Limited Warranty fails in its essential purpose because the contractual

remedy is insufficient to make Plaintiff and the other Class members whole and because

Polaris has failed and/or has refused to adequately provide the promised remedies within a

reasonable time.




                                            164
      CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 165 of 202




        719.   Accordingly, recovery by Plaintiff and the other Class members is not limited

to the limited warranty of repair to parts defective in materials and workmanship, and

Plaintiff, individually and on behalf of the other Class members, seeks all remedies as

allowed by law.

        720.   Also, as alleged in more detail herein, at the time that Polaris warranted and

sold the Class Vehicles it knew that the Class Vehicles did not conform to the warranty

and were inherently defective, and Polaris improperly concealed material facts regarding

its Class Vehicles. Plaintiff and the other Class members were, therefore, induced to

purchase or lease the Class Vehicles under false pretenses.

        721.   Moreover, much of the damage flowing from the Class Vehicles cannot be

resolved through the limited remedy of repairs, as those incidental and consequential

damages have already been suffered due to Polaris’s improper conduct as alleged herein,

and due to its failure and/or continued failure to provide such limited remedy within a

reasonable time, and any limitation on Plaintiff’s and the other Class members’ remedies

would be insufficient to make them whole.

        722.   As a direct and proximate result of Polaris’s breach of express warranty,

Plaintiff and the other Class members have been damaged in an amount to be determined

at trial.

                                COUNT 44
                   BREACH OF IMPLIED WARRANTY IN TORT

        723.   Plaintiff Michael Jacks (“Plaintiff,” for purposes of the Ohio Class’s claims)

repeat and reallege paragraphs 1-268 as if fully set forth herein.



                                            165
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 166 of 202




         724.   Plaintiff brings this Count individually and on behalf of the other members

of the Ohio Class (the “Class,” for purposes of this Count).

         725.   Polaris manufactured and sold the defective Class Vehicles to Plaintiff and

the other Class members.

         726.   The Class Vehicles are defective because they have the Excessive Heat

Defect.

         727.   These defects existed at the time the Class Vehicles left the control of Polaris.

         728.   Based upon these defects, Polaris has failed to meet the expectations of a

reasonable consumer. The Class Vehicles have failed in their ordinary, intended use,

because they suffer from the Excessive Heat Defect.

         729.   The above-described defects in the Class Vehicles were the direct and

proximate cause of economic damages to Plaintiff and the other Class members.

                                     COUNT 45
                                FRAUDULENT OMISSION

         730.   Plaintiff Michael Jacks (“Plaintiff,” for purposes of the Ohio Class’s claims)

repeat and reallege paragraphs 1-268 as if fully set forth herein.

         731.   Plaintiff brings this Count individually and on behalf of the other members

of the Ohio Class (the “Class,” for purposes of this Count).

         732.   Polaris was aware of the Excessive Heat Defect within the Class Vehicles

when it marketed and sold the Class Vehicles to Plaintiff and the other members of the

Class.




                                               166
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 167 of 202




       733.   Having been aware of the Excessive Heat Defect within the Class Vehicles

and having known that Plaintiff and the other members of the Class could not have

reasonably been expected to know of the Excessive Heat Defect, Polaris had a duty to

disclose the defect to Plaintiff and the other members of the Class in connection with the

sale or lease of the Class Vehicles.

       734.   Polaris did not disclose the Excessive Heat Defect to Plaintiff and the other

members of the Class in connection with the sale or lease of the Class Vehicles.

       735.   For the reasons set forth above, the Excessive Heat Defect within the Class

Vehicles comprises material information with respect to the sale or lease of the Class

Vehicles.

       736.   In purchasing or leasing the Class Vehicles, Plaintiff and the other Class

members reasonably relied on Polaris to disclose known material defects with respect to

the Class Vehicles.

       737.   Had Plaintiff and the other Class members known of the Excessive Heat

Defect within the Class Vehicles, they would have not purchased the Class Vehicles or

would have paid less for the Class Vehicles.

       738.   Through its omissions regarding the Excessive Heat Defect within the Class

Vehicles, Polaris intended to induce, and did induce, Plaintiff and the other Class members

to purchase or lease a Class Vehicle that they otherwise would not have purchased, or to

pay more for a Class Vehicle than they otherwise would have paid.

       739.   As a direct and proximate result of Polaris’s omissions, Plaintiff and the other

members of the Class either overpaid for the Class Vehicles or would not have purchased


                                            167
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 168 of 202




the Class Vehicles at all if the Excessive Heat Defect had been disclosed to them, and,

therefore, have incurred damages in an amount to be determined at trial.

                                     COUNT 46
                                UNJUST ENRICHMENT

       740.   Plaintiff Michael Jacks (“Plaintiff,” for purposes of the Ohio Class’s claims)

repeat and reallege paragraphs 1-268 as if fully set forth herein.

       741.   Plaintiff brings this Count individually and on behalf of the other members

of the Ohio Class (“Class,” for purposes of this Count).

       742.   Polaris has benefitted from selling and leasing at an unjust profit defective

Class Vehicles that had artificially inflated prices due to Polaris’s concealment of the

Excessive Heat Defect, and Plaintiff and the other members of the Class have overpaid for

these vehicles.

       743.   Polaris has received and retained unjust benefits from Plaintiff and the other

members of the Class, and inequity has resulted.

       744.   It is inequitable and unconscionable for Polaris to retain these benefits.

       745.   Because Polaris concealed its fraud and deception, Plaintiff and the other

members of the Class were not aware of the true facts concerning the Class Vehicles and

did not benefit from Polaris’s misconduct.

       746.   Polaris knowingly accepted the unjust benefits of its wrongful conduct.

       747.   As a result of Polaris’s misconduct, the amount of its unjust enrichment

should be disgorged and returned to Plaintiff and the other members of the Class in an

amount to be proven at trial.



                                             168
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 169 of 202




K.     Claims Brought on Behalf of the Pennsylvania Class

                                COUNT 47
                    VIOLATIONS OF THE PENNSYLVANIA
          UNFAIR TRADE PRACTICS AND CONSUMER PROTECTION LAW
                        73 Pa. Cons. Stat. §§ 201-1, et seq.

       748.   Plaintiff Elkin (“Plaintiff,” for the purposes of the Pennsylvania Class’s

claims) repeats and realleges paragraphs 1-268 as if fully set forth herein.

       749.   Plaintiff brings this Count individually and on behalf of the other members

of the Pennsylvania Class (the “Class,” for purposes of this Count).

       750.   Polaris, Plaintiff, and the other members of the Class are “persons” within

the meaning of 73 Pa. Cons. Stat. § 201-2(2).

       751.   Polaris is engaged in “trade” or “commerce” within the meaning of 73 Pa.

Cons. Stat. § 201-2(3).

       752.   The Pennsylvania Unfair Trade Practices Act (“Pennsylvania UTPA”)

prohibits “unfair or deceptive acts or practices in the conduct of any trade or commerce . .

. .” 73 Pa. Cons. Stat. § 201-3.

       753.   By the conduct described in detail above and incorporated herein, Polaris

engaged in unfair or deceptive acts in violation of the Pennsylvania UTPA. Polaris knew

or should have known that its conduct violated the Pennsylvania UTPA.

       754.   Polaris’s omissions regarding the Excessive Heat Defect, described above,

are material facts that a reasonable person would have considered in deciding whether or

not to purchase (or to pay the same price for) the Class Vehicles.




                                            169
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 170 of 202




       755.   Polaris intended for Plaintiff and the other Class members to rely on Polaris’s

omissions regarding the Excessive Heat Defect.

       756.   Plaintiff and the other Class members justifiably acted or relied to their

detriment upon Polaris’s omissions of fact concerning the above-described Excessive Heat

Defect, as evidenced by Plaintiff and the other Class members’ purchases of Class

Vehicles.

       757.   Had Polaris disclosed all material information regarding the Excessive Heat

Defect to Plaintiff and the other Class members, Plaintiff and the other Class members

would not have purchased or leased Class Vehicles or would have paid less to do so.

       758.   Polaris’s omissions have deceived Plaintiff, and those same business

practices have deceived or are likely to deceive members of the consuming public and the

other members of the Class.

       759.   In addition to being deceptive, the business practices of Polaris were unfair

because Polaris knowingly sold Plaintiff and the other Class members’ Class Vehicles with

that are essentially unusable for the purposes for which they were sold. The injuries to

Plaintiff and the other Class members are substantial and greatly outweigh any alleged

countervailing benefit to Plaintiff and the other Class members or to competition under all

of the circumstances. Moreover, in light of Polaris’s exclusive knowledge of the Excessive

Heat Defect, the injury is not one that Plaintiff or the other Class members could have

reasonably avoided.

       760.   As a direct and proximate result of Polaris’s unfair and deceptive trade

practices, Plaintiff and the other Class members have suffered ascertainable loss and actual


                                            170
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 171 of 202




damages. Plaintiff and the other Class members who purchased or leased the Class

Vehicles would not have purchased or leased the Class Vehicles, or, alternatively, would

have paid less for them had the truth about the Excessive Heat Defect been disclosed.

Plaintiff and the other Class members also suffered diminished value of their vehicles.

Plaintiff and the other Class members are entitled to recover actual damages, attorneys’

fees and costs, and all other relief allowed under 73 Pa. Cons. Stat. § 201-9.2(a).

                                      COUNT 48
                        BREACH OF EXPRESS WARRANTY
                         13 Pa. Cons. Stat. §§ 2313 and 2A210

       761.   Plaintiff Elkin (“Plaintiff,” for the purposes of the Pennsylvania Class’s

claims) repeats and realleges paragraphs 1-268 as if fully set forth herein.

       762.   Plaintiff brings this Count individually and on behalf of the other members

of the Pennsylvania Class (the “Class,” for purposes of this Count).

       763.   Polaris is and was at all relevant times a “merchant” with respect to motor

vehicles under 13 Pa. Cons. Stat. §§ 2104 and 2A103, and a “seller” of motor vehicles

under § 2103(a).

       764.   In its Limited Warranty, Polaris expressly warranted that it would repair or

replace defects in material or workmanship free of charge if those defects became apparent

during the warranty period. Polaris provides the following language in its Ranger XP 900

Owner’s Manual, which upon information and belief, is substantially identical for all

models:

       [Polaris] gives a SIX MONTH LIMITED WARRANTY on all components
       of the POLARIS RANGER against defects in material and workmanship. . .
       . This warranty covers the parts and labor charges for repair or replacement


                                            171
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 172 of 202




       of defective parts which are covered by this warranty. This warranty begins
       on the date or purchase.

       765.   Polaris’s Limited Warranty formed the basis of the bargain that was reached

when Plaintiff and the other Class members purchased or leased their Class Vehicles.

       766.   Polaris breached its express warranty to repair defects in materials and

workmanship within the Class Vehicles. Polaris has not repaired, and has been unable to

repair, the Class Vehicles’ materials and workmanship defects.

       767.   Polaris was provided notice of these issues and defects through numerous

complaints filed against it, as well as internal knowledge derived from testing and internal

expert analysis.

       768.   The Limited Warranty fails in its essential purpose because the contractual

remedy is insufficient to make Plaintiff and the other Class members whole and because

Polaris has failed and/or has refused to adequately provide the promised remedies within a

reasonable time.

       769.   Accordingly, recovery by Plaintiff and the other Class members is not limited

to the limited warranty of repair to parts defective in materials and workmanship, and

Plaintiff, individually and on behalf of the other Class members, seeks all remedies as

allowed by law.

       770.   Also, as alleged in more detail herein, at the time that Polaris warranted and

sold the Class Vehicles it knew that the Class Vehicles did not conform to the warranty

and were inherently defective, and Polaris improperly concealed material facts regarding




                                            172
      CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 173 of 202




its Class Vehicles. Plaintiff and the other Class members were therefore induced to

purchase or lease the Polaris Vehicles under false pretenses.

        771.   Moreover, much of the damage flowing from the Class Vehicles cannot be

resolved through the limited remedy of repairs, as those incidental and consequential

damages have already been suffered due to Polaris’s improper conduct as alleged herein,

and due to its failure and/or continued failure to provide such limited remedy within a

reasonable time, and any limitation on Plaintiff’s and the other Class members’ remedies

would be insufficient to make them whole.

        772.   As a direct and proximate result of Polaris’s breach of its express warranty,

Plaintiff and the other Class members have been damaged in an amount to be determined

at trial.

                                    COUNT 49
            BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                       13 Pa. Cons. Stat. §§ 2314 and 2A212

        773.   Plaintiff Elkin (“Plaintiff,” for purposes of the Pennsylvania Class’s claims)

repeats and realleges paragraphs 1-268 as if fully set forth herein.

        774.   Plaintiff brings this Count individually and on behalf of the other members

of the Pennsylvania Class (the “Class,” for purposes of this Count).

        775.   Polaris is and was at all relevant times a “merchant” with respect to motor

vehicles under 13 Pa. Cons. Stat. §§ 2104 and 2A103, and a “seller” of motor vehicles

under § 2103(a).




                                            173
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 174 of 202




       776.    A warranty that the Class Vehicles were in merchantable condition and fit

for the ordinary purpose for which vehicles are used is implied in law pursuant to 13 Pa.

Cons. Stat. §§ 2314 and 2A212.

       777.    The Class Vehicles did not comply with the implied warranty of

merchantability because, at the time of sale and at all times thereafter, they were defective

and not in merchantable condition, would not pass without objection in the trade, and were

not fit for the ordinary purpose for which vehicles were used. Specifically, the Class

Vehicles suffer from the Excessive Heat Defect.

       778.    Polaris was provided notice of these issues and defects through numerous

complaints filed against it, as well as internal knowledge derived from testing and internal

expert analysis.

       779.    Plaintiff and the other Class members suffered injuries due to the defective

nature of the Class Vehicles and Polaris’s breach of the warranty of merchantability.

       780.    As a direct and proximate result of Polaris’s breach of the warranty of

merchantability, Plaintiff and the other Class members have been damaged in an amount

to be proven at trial.

                                    COUNT 50
                               FRAUDULENT OMISSION

       781.    Plaintiff Elkin (“Plaintiff,” for purposes of the Pennsylvania Class’s claims)

repeats and realleges paragraphs 1-268 as if fully set forth herein.

       782.    Plaintiff bring this Count individually and on behalf of the other members of

the Pennsylvania Class (the “Class,” for purposes of this Count).



                                            174
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 175 of 202




         783.   Polaris was aware of the Excessive Heat Defect within the Class Vehicles

when it marketed and sold the Class Vehicles to Plaintiff and the other members of the

Class.

         784.   Having been aware of the Excessive Heat Defect within the Class Vehicles,

and having known that Plaintiff and the other members of the Class could not have

reasonably been expected to know of the Excessive Heat Defect, Polaris had a duty to

disclose the defect to Plaintiff and the other members of the Class in connection with the

sale or lease of the Class Vehicles.

         785.   Polaris did not disclose the Excessive Heat Defect to Plaintiff and the other

members of the Class in connection with the sale of the Class Vehicles.

         786.   For the reasons set forth above, the Excessive Heat Defect within the Class

Vehicles comprises material information with respect to the sale or lease of the Class

Vehicles.

         787.   In purchasing the Class Vehicles, Plaintiff and the other members of the

Class reasonably relied on Polaris to disclose known material defects with respect to the

Class Vehicles.

         788.   Had Plaintiff and the other members of the Class known of the Excessive

Heat Defect within the Class Vehicles, they would have not purchased the Class Vehicles

or would have paid less for the Class Vehicles.

         789.   Through its omissions regarding the Excessive Heat Defect within the Class

Vehicles, Polaris intended to induce, and did induce, Plaintiff and the other members of




                                             175
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 176 of 202




the Class to either purchase a Class Vehicle that they otherwise would not have purchased,

or pay more for a Class Vehicle than they otherwise would have paid.

       790.   As a direct and proximate result of Polaris’s omissions, Plaintiff and the other

members of the Class either overpaid for the Class Vehicles or would not have purchased

the Class Vehicles at all if the Excessive Heat Defect had been disclosed to them, and,

therefore, have incurred damages in an amount to be determined at trial.

                                     COUNT 51
                                UNJUST ENRICHMENT

       791.   Plaintiff Elkin (“Plaintiff,” for purposes of the Pennsylvania Class’s claims)

repeats and realleges paragraphs 1-268 as if fully set forth herein.

       792.   Plaintiff bring this Count individually and on behalf of the other members of

the Pennsylvania Class (the “Class,” for purposes of this Count).

       793.   Polaris has benefitted from selling and leasing at an unjust profit defective

Class Vehicles that had artificially inflated prices due to Polaris’s concealment of the

Excessive Heat Defect, and Plaintiff and the other members of the Class have overpaid for

these vehicles.

       794.   Polaris has received and retained unjust benefits from Plaintiff and the other

members of the Class, and inequity has resulted.

       795.   It is inequitable and unconscionable for Polaris to retain these benefits.

       796.   Because Polaris concealed its fraud and deception, Plaintiff and the other

members of the Class were not aware of the true facts concerning the Class Vehicles and

did not benefit from Polaris’s misconduct.



                                             176
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 177 of 202




       797.   Polaris knowingly accepted the unjust benefits of its wrongful conduct.

       798.   As a result of Polaris’s misconduct, the amount of its unjust enrichment

should be disgorged and returned to Plaintiff and the other members of the Class in an

amount to be proven at trial.

L.     Claims Brought on Behalf of the South Dakota Class

                                COUNT 52
            VIOLATIONS OF THE SOUTH DAKOTA DECEPTIVE
          TRADE PRACTICES AND CONSUMER PROTECTION LAW
                   S.D. Codified Laws §§ 37-24-1, et seq.

       799.   Plaintiff Turgeon (“Plaintiff,” for the purposes of the South Dakota Class’s

claims) repeats and realleges paragraphs 1-268 as if fully set forth herein.

       800.   Plaintiff brings this Count individually and on behalf of the other members

of the South Dakota Class (the “Class,” for purposes of this Count).

       801.   Polaris, Plaintiff, and the other members of the Class are “persons” within

the meaning of S.D. Codified Laws §§ 37-24-1(8).

       802.   Polaris is engaged in “trade” or “commerce” within the meaning of S.D.

Codified Laws §§ 37-24-1(13).

       803.   The South Dakota Deceptive Trade Practices and Consumer Protection Law

(“SDDTPCPL”) prohibits “deceptive acts or practices.” S.D. Codified Laws §§ 37-24-6.

       804.   By the conduct described in detail above and incorporated herein, Polaris

engaged in unfair or deceptive acts in violation of the SDDTPCPL. Polaris knew or should

have known that its conduct violated the SDDTPCPL.




                                            177
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 178 of 202




       805.   Polaris’s omissions regarding the Excessive Heat Defect, described above,

are material facts that a reasonable person would have considered in deciding whether or

not to purchase (or to pay the same price for) the Class Vehicles.

       806.   Polaris intended for Plaintiff and the other Class members to rely on Polaris’s

omissions regarding the Excessive Heat Defect.

       807.   Plaintiff and the other Class members justifiably acted or relied to their

detriment upon Polaris’s omissions of fact concerning the above-described Excessive Heat

Defect, as evidenced by Plaintiff and the other Class members’ purchases of Class

Vehicles.

       808.   Had Polaris disclosed all material information regarding the Excessive Heat

Defect to Plaintiff and the other Class members, Plaintiff and the other Class members

would not have purchased or leased Class Vehicles or would have paid less to do so.

       809.   Polaris’s omissions have deceived Plaintiff, and those same business

practices have deceived or are likely to deceive members of the consuming public and the

other members of the Class.

       810.   In addition to being deceptive, the business practices of Polaris were unfair

because Polaris knowingly sold Plaintiff and the other Class members’ Class Vehicles with

that are essentially unusable for the purposes for which they were sold. The injuries to

Plaintiff and the other Class members are substantial and greatly outweigh any alleged

countervailing benefit to Plaintiff and the other Class members or to competition under all

of the circumstances. Moreover, in light of Polaris’s exclusive knowledge of the Excessive




                                            178
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 179 of 202




Heat Defect, the injury is not one that Plaintiff or the other Class members could have

reasonably avoided.

       811.   As a direct and proximate result of Polaris’s unfair and deceptive trade

practices, Plaintiff and the other Class members have suffered ascertainable loss and actual

damages. Plaintiff and the other Class members who purchased or leased the Class

Vehicles would not have purchased or leased the Class Vehicles, or, alternatively, would

have paid less for them had the truth about the Excessive Heat Defect been disclosed.

Plaintiff and the other Class members also suffered diminished value of their vehicles.

Plaintiff and the other Class members are entitled to recover actual damages, attorneys’

fees and costs, and all other relief allowed under 73 Pa. Cons. Stat. § 201-9.2(a).

                                      COUNT 53
                        BREACH OF EXPRESS WARRANTY
                         13 Pa. Cons. Stat. §§ 2313 and 2A210

       812.   Plaintiff Turgeon (“Plaintiff,” for the purposes of the South Dakota Class’s

claims) repeats and realleges paragraphs 1-268 as if fully set forth herein.

       813.   Plaintiff brings this Count individually and on behalf of the other members

of the South Dakota Class (the “Class,” for purposes of this Count).

       814.   Polaris is and was at all relevant times a “merchant” with respect to motor

vehicles under 13 Pa. Cons. Stat. §§ 2104 and 2A103, and a “seller” of motor vehicles

under § 2103(a).

       815.   In its Limited Warranty, Polaris expressly warranted that it would repair or

replace defects in material or workmanship free of charge if those defects became apparent

during the warranty period. Polaris provides the following language in its Ranger XP 900


                                            179
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 180 of 202




Owner’s Manual, which upon information and belief, is substantially identical for all

models:

       [Polaris] gives a SIX MONTH LIMITED WARRANTY on all components
       of the POLARIS RANGER against defects in material and workmanship. . .
       . This warranty covers the parts and labor charges for repair or replacement
       of defective parts which are covered by this warranty. This warranty begins
       on the date or purchase.

       816.   Polaris’s Limited Warranty formed the basis of the bargain that was reached

when Plaintiff and the other Class members purchased or leased their Class Vehicles.

       817.   Polaris breached its express warranty to repair defects in materials and

workmanship within the Class Vehicles. Polaris has not repaired, and has been unable to

repair, the Class Vehicles’ materials and workmanship defects.

       818.   Polaris was provided notice of these issues and defects through numerous

complaints filed against it, as well as internal knowledge derived from testing and internal

expert analysis.

       819.   The Limited Warranty fails in its essential purpose because the contractual

remedy is insufficient to make Plaintiff and the other Class members whole and because

Polaris has failed and/or has refused to adequately provide the promised remedies within a

reasonable time.

       820.   Accordingly, recovery by Plaintiff and the other Class members is not limited

to the limited warranty of repair to parts defective in materials and workmanship, and

Plaintiff, individually and on behalf of the other Class members, seeks all remedies as

allowed by law.




                                            180
      CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 181 of 202




        821.   Also, as alleged in more detail herein, at the time that Polaris warranted and

sold the Class Vehicles it knew that the Class Vehicles did not conform to the warranty

and were inherently defective, and Polaris improperly concealed material facts regarding

its Class Vehicles. Plaintiff and the other Class members were therefore induced to

purchase or lease the Polaris Vehicles under false pretenses.

        822.   Moreover, much of the damage flowing from the Class Vehicles cannot be

resolved through the limited remedy of repairs, as those incidental and consequential

damages have already been suffered due to Polaris’s improper conduct as alleged herein,

and due to its failure and/or continued failure to provide such limited remedy within a

reasonable time, and any limitation on Plaintiff’s and the other Class members’ remedies

would be insufficient to make them whole.

        823.   As a direct and proximate result of Polaris’s breach of its express warranty,

Plaintiff and the other Class members have been damaged in an amount to be determined

at trial.

                                    COUNT 54
            BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                       13 Pa. Cons. Stat. §§ 2314 and 2A212

        824.   Plaintiff Turgeon (“Plaintiff,” for the purposes of the South Dakota Class’s

claims) repeats and realleges paragraphs 1-268 as if fully set forth herein.

        825.   Plaintiff brings this Count individually and on behalf of the other members

of the South Dakota Class (the “Class,” for purposes of this Count).




                                            181
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 182 of 202




       826.    Polaris is and was at all relevant times a “merchant” with respect to motor

vehicles under 13 Pa. Cons. Stat. §§ 2104 and 2A103, and a “seller” of motor vehicles

under § 2103(a).

       827.    A warranty that the Class Vehicles were in merchantable condition and fit

for the ordinary purpose for which vehicles are used is implied in law pursuant to 13 Pa.

Cons. Stat. §§ 2314 and 2A212.

       828.    The Class Vehicles did not comply with the implied warranty of

merchantability because, at the time of sale and at all times thereafter, they were defective

and not in merchantable condition, would not pass without objection in the trade, and were

not fit for the ordinary purpose for which vehicles were used. Specifically, the Class

Vehicles suffer from the Excessive Heat Defect.

       829.    Polaris was provided notice of these issues and defects through numerous

complaints filed against it, as well as internal knowledge derived from testing and internal

expert analysis.

       830.    Plaintiff and the other Class members suffered injuries due to the defective

nature of the Class Vehicles and Polaris’s breach of the warranty of merchantability.

       831.    As a direct and proximate result of Polaris’s breach of the warranty of

merchantability, Plaintiff and the other Class members have been damaged in an amount

to be proven at trial.




                                            182
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 183 of 202




                                    COUNT 55
                               FRAUDULENT OMISSION

         832.   Plaintiff Turgeon (“Plaintiff,” for the purposes of the South Dakota Class’s

claims) repeats and realleges paragraphs 1-268 as if fully set forth herein.

         833.   Plaintiff brings this Count individually and on behalf of the other members

of the South Dakota Class (the “Class,” for purposes of this Count).

         834.   Polaris was aware of the Excessive Heat Defect within the Class Vehicles

when it marketed and sold the Class Vehicles to Plaintiff and the other members of the

Class.

         835.   Having been aware of the Excessive Heat Defect within the Class Vehicles,

and having known that Plaintiff and the other members of the Class could not have

reasonably been expected to know of the Excessive Heat Defect, Polaris had a duty to

disclose the defect to Plaintiff and the other members of the Class in connection with the

sale or lease of the Class Vehicles.

         836.   Polaris did not disclose the Excessive Heat Defect to Plaintiff and the other

members of the Class in connection with the sale of the Class Vehicles.

         837.   For the reasons set forth above, the Excessive Heat Defect within the Class

Vehicles comprises material information with respect to the sale or lease of the Class

Vehicles.

         838.   In purchasing the Class Vehicles, Plaintiff and the other members of the

Class reasonably relied on Polaris to disclose known material defects with respect to the

Class Vehicles.



                                             183
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 184 of 202




       839.   Had Plaintiff and the other members of the Class known of the Excessive

Heat Defect within the Class Vehicles, they would have not purchased the Class Vehicles

or would have paid less for the Class Vehicles.

       840.   Through its omissions regarding the Excessive Heat Defect within the Class

Vehicles, Polaris intended to induce, and did induce, Plaintiff and the other members of

the Class to either purchase a Class Vehicle that they otherwise would not have purchased,

or pay more for a Class Vehicle than they otherwise would have paid.

       841.   As a direct and proximate result of Polaris’s omissions, Plaintiff and the other

members of the Class either overpaid for the Class Vehicles or would not have purchased

the Class Vehicles at all if the Excessive Heat Defect had been disclosed to them, and,

therefore, have incurred damages in an amount to be determined at trial.

                                     COUNT 56
                                UNJUST ENRICHMENT

       842.   Plaintiff Turgeon (“Plaintiff,” for the purposes of the South Dakota Class’s

claims) repeats and realleges paragraphs 1-268 as if fully set forth herein.

       843.   Plaintiff brings this Count individually and on behalf of the other members

of the South Dakota Class (the “Class,” for purposes of this Count).

       844.   Polaris has benefitted from selling and leasing at an unjust profit defective

Class Vehicles that had artificially inflated prices due to Polaris’s concealment of the

Excessive Heat Defect, and Plaintiff and the other members of the Class have overpaid for

these vehicles.




                                            184
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 185 of 202




       845.   Polaris has received and retained unjust benefits from Plaintiff and the other

members of the Class, and inequity has resulted.

       846.   It is inequitable and unconscionable for Polaris to retain these benefits.

       847.   Because Polaris concealed its fraud and deception, Plaintiff and the other

members of the Class were not aware of the true facts concerning the Class Vehicles and

did not benefit from Polaris’s misconduct.

       848.   Polaris knowingly accepted the unjust benefits of its wrongful conduct.

       849.   As a result of Polaris’s misconduct, the amount of its unjust enrichment

should be disgorged and returned to Plaintiff and the other members of the Class in an

amount to be proven at trial.

M.     Claims Brought on Behalf of the Texas Class

                                COUNT 57
           VIOLATION OF TEXAS DECEPTIVE TRADE PRACTICES –
                     CONSUMER PROTECTION ACT
                   Tex. Bus. & Com. Code §§ 17.01, et seq.

       850.   Plaintiffs Bryan Forrest and Isaac Rodriguez (“Plaintiffs,” for purposes of

the Texas Class’s claims) repeat and reallege paragraphs 1-268 as if fully set forth herein.

       851.   Plaintiffs bring this Count individually and on behalf of the other members

of the Texas Class (the “Class,” for purposes of this Count).

       852.   The Texas Deceptive Trade Practices—Consumer Protection Act

(“TDTPA”) states that it is unlawful to commit “[f]alse, misleading, or deceptive acts or

practices in the conduct of any trade or commerce.” Tex. Bus. & Com. Code § 17.46.




                                             185
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 186 of 202




       853.   By the conduct described in detail above and incorporated herein, Polaris

engaged in false, misleading and deceptive trade practices.

       854.   Polaris was provided notice of these issues and defects through numerous

complaints filed against it, as well as internal knowledge derived from testing and internal

expert analysis.

       855.   Polaris’s omissions regarding the Excessive Heat Defect, described above,

are material facts that a reasonable person would have considered in deciding whether or

not to purchase (or to pay the same price for) the Class Vehicles.

       856.   Polaris intended for Plaintiffs and the other Class members to rely on

Polaris’s omissions regarding the Excessive Heat Defect.

       857.   Plaintiffs and the other Class members justifiably acted or relied to their

detriment upon Polaris’s omissions of fact concerning the above-described Excessive Heat

Defect, as evidenced by Plaintiffs and the other Class members’ purchases of Class

Vehicles.

       858.   Had Polaris disclosed all material information regarding the Excessive Heat

Defect to Plaintiffs and the other Class members, Plaintiffs and the other Class members

would not have purchased or leased Class Vehicles or would have paid less to do so.

       859.   Polaris’s omissions have deceived Plaintiffs, and those same business

practices have deceived or are likely to deceive members of the consuming public and the

other members of the Class.

       860.   In addition to being deceptive, the business practices of Polaris were unfair

because Polaris knowingly sold Plaintiffs and the other Class members Class Vehicles that


                                            186
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 187 of 202




are essentially unusable for the purposes for which they were sold. The injuries to Plaintiffs

and the other Class members are substantial and greatly outweigh any alleged

countervailing benefit to Plaintiffs and the other Class members or to competition under

all of the circumstances. Moreover, in light of Polaris’s exclusive knowledge of the

Excessive Heat Defect, the injury is not one that Plaintiffs or the other Class members

could have reasonably avoided.

       861.   As a direct and proximate result of Polaris’s unfair and deceptive trade

practices, Plaintiffs and the other Class members have suffered ascertainable loss and

actual damages. Plaintiffs and the other Class members who purchased or leased the Class

Vehicles would not have purchased or leased the Class Vehicles, or, alternatively, would

have paid less for them had the truth about the Excessive Heat Defect been disclosed.

Plaintiffs and the other Class members also suffered diminished value of their vehicles.

Plaintiffs and the other Class members are entitled to recover actual damages, attorneys’

fees and costs, and all other relief allowed under the TDTPA.

                                     COUNT 58
                        BREACH OF EXPRESS WARRANTY
                      Tex. Bus. & Com. Code §§ 2.313 and 2A.210

       862.   Plaintiffs Bryan Forrest and Isaac Rodriguez (“Plaintiffs,” for purposes of

the Texas Class’s claims) repeat and reallege paragraphs 1-268 as if fully set forth herein.

       863.   Plaintiffs bring this Count individually and on behalf of the other members

of the Texas Class (the “Class,” for purposes of this Count).

       864.   Polaris is and was at all relevant times a merchant with respect to the Class

Vehicles.


                                             187
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 188 of 202




       865.   In its Limited Warranty, Polaris expressly warranted that it would repair or

replace defects in material or workmanship free of charge if they became apparent during

the warranty period. Polaris provides the following language in its Ranger XP 900 Owner’s

Manual, which upon information and belief, is substantially identical for all models:

       [Polaris] gives a SIX MONTH LIMITED WARRANTY on all components
       of the POLARIS RANGER against defects in material and workmanship. . .
       . This warranty covers the parts and labor charges for repair or replacement
       of defective parts which are covered by this warranty. This warranty begins
       on the date or purchase.

       866.   Polaris’s Limited Warranty formed the basis of the bargain that was reached

when Plaintiffs and the other Class members purchased or leased their Class Vehicles.

       867.   Polaris breached its express warranty to repair defects in materials and

workmanship within the Class Vehicles. Polaris has not repaired, and has been unable to

repair, the Class Vehicles’ materials and workmanship defects.

       868.   Polaris was provided notice of these issues and defects through numerous

complaints filed against it, as well as internal knowledge derived from testing and internal

expert analysis.

       869.   The Limited Warranty fails in its essential purpose because the contractual

remedy is insufficient to make Plaintiffs and the other Class members whole and because

Polaris has failed and/or has refused to adequately provide the promised remedies within a

reasonable time.

       870.   Accordingly, recovery by Plaintiffs and the other Class members is not

limited to the limited warranty of repair to parts defective in materials and workmanship,




                                            188
      CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 189 of 202




and Plaintiffs, individually and on behalf of the other Class members, seek all remedies as

allowed by law.

        871.   Also, as alleged in more detail herein, at the time that Polaris warranted and

sold the Class Vehicles it knew that the Class Vehicles did not conform to the warranty

and were inherently defective, and Polaris improperly concealed material facts regarding

its Class Vehicles. Plaintiffs and the other Class members were, therefore, induced to

purchase or lease the Class Vehicles under false pretenses.

        872.   Moreover, much of the damage flowing from the Class Vehicles cannot be

resolved through the limited remedy of repairs, as those incidental and consequential

damages have already been suffered due to Polaris’s improper conduct as alleged herein,

and due to its failure and/or continued failure to provide such limited remedy within a

reasonable time, and any limitation on Plaintiffs’ and the other Class members’ remedies

would be insufficient to make them whole.

        873.   As a direct and proximate result of Polaris’s breach of express warranty,

Plaintiffs and the other Class members have been damaged in an amount to be determined

at trial.

                                   COUNT 59
            BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                    Tex. Bus. & Com. Code §§ 2.314 and 2A.212
        874.   Plaintiffs Bryan Forrest and Isaac Rodriguez (“Plaintiffs,” for purposes of

the Texas Class’s claims) repeat and reallege paragraphs 1-268 as if fully set forth herein.

        875.   Plaintiffs bring this Count individually and on behalf of the other members

of the Texas Class (the “Class,” for purposes of this Count).


                                            189
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 190 of 202




       876.    Polaris is and was at all relevant times a merchant with respect to motor

vehicles under Tex. Bus. & Com. Code §§ 2.104 and 2A.103.

       877.    Pursuant to Tex. Bus. & Com. Code §§ 2.314 and 2A.212, a warranty that

the Class Vehicles were in merchantable condition was implied by law, and the Class

Vehicles were bought and sold subject to an implied warranty of merchantability.

       878.    The Class Vehicles did not comply with the implied warranty of

merchantability because, at the time of sale and at all times thereafter, they were defective

and not in merchantable condition, would not pass without objection in the trade, and were

not fit for the ordinary purpose for which vehicles were used. Specifically, the Class

Vehicles suffer from the Excessive Heat Defect.

       879.    Polaris was provided notice of these issues and defects through numerous

complaints filed against it, as well as internal knowledge derived from testing and internal

expert analysis.

       880.    Plaintiffs and the other Class members suffered injuries due to the defective

nature of the Class Vehicles and Polaris’s breach of the warranty of merchantability.

       881.    As a direct and proximate result of Polaris’s breach of the warranty of

merchantability, Plaintiffs and the other Class members have been damaged in an amount

to be proven at trial.

                                   COUNT 60
                              FRAUDULENT OMISSION

       882.    Plaintiffs Bryan Forrest and Isaac Rodriguez (“Plaintiffs,” for purposes of

the Texas Class’s claims) repeat and reallege paragraphs 1-268 as if fully set forth herein.



                                            190
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 191 of 202




         883.   Plaintiffs bring this Count individually and on behalf of the other members

of the Texas Class (the “Class,” for purposes of this Count).

         884.   Polaris was aware of the Excessive Heat Defect within the Class Vehicles

when it marketed and sold the Class Vehicles to Plaintiffs and the other members of the

Class.

         885.   Having been aware of the Excessive Heat Defect within the Class Vehicles

and having known that Plaintiffs and the other members of the Class could not have

reasonably been expected to know of the Excessive Heat Defect, Polaris had a duty to

disclose the defect to Plaintiffs and the other members of the Class in connection with the

sale or lease of the Class Vehicles.

         886.   Polaris did not disclose the Excessive Heat Defect to Plaintiffs and the other

members of the Class in connection with the sale or lease of the Class Vehicles.

         887.   For the reasons set forth above, the Excessive Heat Defect within the Class

Vehicles comprises material information with respect to the sale or lease of the Class

Vehicles.

         888.   In purchasing or leasing the Class Vehicles, Plaintiffs and the other Class

members reasonably relied on Polaris to disclose known material defects with respect to

the Class Vehicles.

         889.   Had Plaintiffs and the other Class members known of the Excessive Heat

Defect within the Class Vehicles, they would have not purchased the Class Vehicles or

would have paid less for the Class Vehicles.




                                             191
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 192 of 202




       890.   Through its omissions regarding the Excessive Heat Defect within the Class

Vehicles, Polaris intended to induce, and did induce, Plaintiffs and the other Class members

to purchase or lease a Class Vehicle that they otherwise would not have purchased, or to

pay more for a Class Vehicle than they otherwise would have paid.

       891.   As a direct and proximate result of Polaris’s omissions, Plaintiffs and the

other members of the Class either overpaid for the Class Vehicles or would not have

purchased the Class Vehicles at all if the Excessive Heat Defect had been disclosed to

them, and, therefore, have incurred damages in an amount to be determined at trial.

                                    COUNT 61
                               UNJUST ENRICHMENT

       892.   Plaintiffs Bryan Forrest and Isaac Rodriguez (“Plaintiffs,” for purposes of

the Texas Class’s claims) repeat and reallege paragraphs 1-268 as if fully set forth herein.

       893.   Plaintiffs bring this Count individually and on behalf of the other members

of the Texas Class (the “Class,” for purposes of this Count).

       894.   Polaris has benefitted from selling and leasing at an unjust profit defective

Class Vehicles that had artificially inflated prices due to Polaris’s concealment of the

Excessive Heat Defect, and Plaintiffs and the other members of the Class have overpaid

for these vehicles.

       895.   Polaris has received and retained unjust benefits from Plaintiffs and the other

members of the Class, and inequity has resulted.

       896.   It is inequitable and unconscionable for Polaris to retain these benefits.




                                            192
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 193 of 202




       897.   Because Polaris concealed its fraud and deception, Plaintiffs and the other

members of the Class were not aware of the true facts concerning the Class Vehicles and

did not benefit from Polaris’s misconduct.

       898.   Polaris knowingly accepted the unjust benefits of its wrongful conduct.

       899.   As a result of Polaris’s misconduct, the amount of its unjust enrichment

should be disgorged and returned to Plaintiffs and the other members of the Class in an

amount to be proven at trial.

L.     Claims Brought on Behalf of the Wyoming Class
                                      COUNT 62
                        BREACH OF EXPRESS WARRANTY
                        Wy. Stat. §§ 34.1-213 and 34.1-2.a-210

       900.   Plaintiff Ed Beattie (“Plaintiff,” for purposes of the Wyoming Class’s claims)

repeats and realleges paragraphs 1-268 as if fully set forth herein.

       901.   Plaintiff brings this Count individually and on behalf of the other members

of the Wyoming Class (the “Class,” for purposes of this Count).

       902.   Polaris is and was at all relevant times a merchant with respect to the Class

Vehicles.

       903.   In its Limited Warranty, Polaris expressly warranted that it would repair or

replace defects in material or workmanship free of charge if those defects became apparent

during the warranty period. Polaris provides the following language in its Ranger XP 900

Owner’s Manual, which upon information and belief, is substantially identical for all

models:




                                             193
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 194 of 202




       [Polaris] gives a SIX MONTH LIMITED WARRANTY on all components
       of the POLARIS RANGER against defects in material and workmanship. . .
       . This warranty covers the parts and labor charges for repair or replacement
       of defective parts which are covered by this warranty. This warranty begins
       on the date or purchase.

       904.   Polaris’s Limited Warranty formed the basis of the bargain that was reached

when Plaintiff and the other Class members purchased or leased their Class Vehicles.

       905.   Polaris breached its express warranty to repair defects in materials and

workmanship within the Class Vehicles. Polaris has not repaired, and has been unable to

repair, the Class Vehicles’ materials and workmanship defects.

       906.   Polaris was provided notice of these issues and defects through numerous

complaints filed against it, as well as internal knowledge derived from testing and internal

expert analysis.

       907.   The Limited Warranty fails in its essential purpose because the contractual

remedy is insufficient to make Plaintiff and the other Class members whole and because

Polaris has failed and/or has refused to adequately provide the promised remedies within a

reasonable time.

       908.   Accordingly, recovery by Plaintiff and the other Class members is not limited

to the limited warranty of repair to parts defective in materials and workmanship, and

Plaintiff, individually and on behalf of the other Class members, seeks all remedies as

allowed by law.

       909.   Also, as alleged in more detail herein, at the time that Polaris warranted and

sold the Class Vehicles it knew that the Class Vehicles did not conform to the warranty

and were inherently defective, and Polaris improperly concealed material facts regarding


                                            194
      CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 195 of 202




its Class Vehicles. Plaintiff and the other Class members were therefore induced to

purchase or lease the Polaris Vehicles under false pretenses.

        910.   Moreover, much of the damage flowing from the Class Vehicles cannot be

resolved through the limited remedy of repairs, as those incidental and consequential

damages have already been suffered due to Polaris’s improper conduct as alleged herein,

and due to its failure and/or continued failure to provide such limited remedy within a

reasonable time, and any limitation on Plaintiff’s and the other Class members’ remedies

would be insufficient to make them whole.

        911.   As a direct and proximate result of Polaris’s breach of its express warranty,

Plaintiff and the other Class members have been damaged in an amount to be determined

at trial.

                                   COUNT 63
            BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                     Wy. Stat. §§ 34.1-2-314 and 34.1-2.a-212

        912.   Plaintiff Ed Beattie (“Plaintiff,” for purposes of the Wyoming Class’s claims)

repeats and realleges paragraphs 1-268 as if fully set forth herein.

        913.   Plaintiff brings this Count individually and on behalf of the other members

of the Wyoming Class (the “Class,” for purposes of this Count).

        914.   Polaris is and was at all relevant times a merchant with respect to motor

vehicles under Wy. Stat. §§ 34.1-2-104 and 34.1-2.a-103.

        915.   Pursuant to Wy. Stat. §§ 34.1-2-314 and 34.1-2.a-212, a warranty that the

Class Vehicles were in merchantable condition was implied by law, and the Class Vehicles

were bought and sold subject to an implied warranty of merchantability.


                                            195
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 196 of 202




         916.   The Class Vehicles did not comply with the implied warranty of

merchantability because, at the time of sale and at all times thereafter, they were defective

and not in merchantable condition, would not pass without objection in the trade, and were

not fit for the ordinary purpose for which vehicles were used. Specifically, the Class

Vehicles suffer from the Excessive Heat Defect.

         917.   Polaris was provided notice of these issues and defects through numerous

complaints filed against it, as well as internal knowledge derived from testing and internal

expert analysis.

         918.   Plaintiff and the other Class members suffered injuries due to the defective

nature of the Class Vehicles and Polaris’s breach of the warranty of merchantability.

         919.   As a direct and proximate result of Polaris’s breach of the warranty of

merchantability, Plaintiff and the other Class members have been damaged in an amount

to be proven at trial.

                                     COUNT 64
                                FRAUDULENT OMISSION

         920.   Plaintiff Ed Beattie (“Plaintiff,” for purposes of the Wyoming Class’s claims)

repeats and realleges paragraphs 1-268 as if fully set forth herein.

         921.   Plaintiff brings this Count individually and on behalf of the other members

of the Wyoming Class (the “Class,” for purposes of this Count).

         922.   Polaris was aware of the Excessive Heat Defect within the Class Vehicles

when it marketed and sold the Class Vehicles to Plaintiff and the other members of the

Class.



                                             196
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 197 of 202




       923.   Having been aware of the Excessive Heat Defect within the Class Vehicles

and having known that Plaintiff and the other members of the Class could not have

reasonably been expected to know of the Excessive Heat Defect, Polaris had a duty to

disclose the defect to Plaintiff and the other members of the Class in connection with the

sale or lease of the Class Vehicles.

       924.   Polaris did not disclose the Excessive Heat Defect to Plaintiff and the other

members of the Class in connection with the sale or lease of the Class Vehicles.

       925.   For the reasons set forth above, the Excessive Heat Defect within the Class

Vehicles comprises material information with respect to the sale or lease of the Class

Vehicles.

       926.   In purchasing or leasing the Class Vehicles, Plaintiff and the other Class

members reasonably relied on Polaris to disclose known material defects with respect to

the Class Vehicles.

       927.   Had Plaintiff and the other Class members known of the Excessive Heat

Defect within the Class Vehicles, they would have not purchased the Class Vehicles or

would have paid less for the Class Vehicles.

       928.   Through its omissions regarding the Excessive Heat Defect within the Class

Vehicles, Polaris intended to induce, and did induce, Plaintiff and the other Class members

to purchase or lease a Class Vehicle that they otherwise would not have purchased, or to

pay more for a Class Vehicle than they otherwise would have paid.

       929.   As a direct and proximate result of Polaris’s omissions, Plaintiff and the other

members of the Class either overpaid for the Class Vehicles or would not have purchased


                                            197
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 198 of 202




the Class Vehicles at all if the Excessive Heat Defect had been disclosed to them, and,

therefore, have incurred damages in an amount to be determined at trial.

                                     COUNT 65
                                UNJUST ENRICHMENT

       930.   Plaintiff Ed Beattie (“Plaintiff,” for purposes of the Wyoming Class’s claims)

repeats and realleges paragraphs 1-268 as if fully set forth herein.

       931.   Plaintiff brings this Count individually and on behalf of the other members

of the Wyoming Class (the “Class,” for purposes of this Count).

       932.   Polaris has benefitted from selling and leasing at an unjust profit defective

Class Vehicles that had artificially inflated prices due to Polaris’s concealment of the

Excessive Heat Defect, and Plaintiff and the other members of the Class have overpaid for

these vehicles.

       933.   Polaris has received and retained unjust benefits from Plaintiff and the other

members of the Class, and inequity has resulted.

       934.   It is inequitable and unconscionable for Polari to retain these benefits.

       935.   Because Polaris concealed its fraud and deception, Plaintiff and the other

members of the Class were not aware of the true facts concerning the Class Vehicles and

did not benefit from Polaris’s misconduct.

       936.   Polaris knowingly accepted the unjust benefits of its wrongful conduct.

       937.   As a result of Polaris’s misconduct, the amount of its unjust enrichment

should be disgorged and returned to Plaintiff and the other members of the Class in an

amount to be proven at trial.



                                             198
     CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 199 of 202




                            VIII. REQUEST FOR RELIEF

       WHEREFORE, Plaintiffs, individually and on behalf of the other members of the

Nationwide Class and the Statewide Classes, respectfully requests that the Court enter

judgment in their favor and against Defendants Polaris Industries, Inc. and Polaris Sales,

Inc. as follows:

       a.     Declaring that this action is a proper class action, certifying the Nationwide

and Statewide Classes as requested herein, designating Plaintiffs as Nationwide and

Statewide Class Representatives, and appointing Plaintiffs’ attorneys as Class Counsel;

       b.     Enjoining Polaris Industries, Inc. and Polaris Sales, Inc. from continuing the

unfair business practices alleged in this Complaint;

       c.     Ordering Polaris Industries, Inc. and Polaris Sales, Inc. to pay actual and

statutory damages (including punitive damages) and restitution to Plaintiffs and the other

Nationwide and Statewide Class members, as allowable by law;

       d.     Ordering Polaris Industries, Inc. and Polaris Sales, Inc. to pay both pre- and

post-judgment interest on any amounts awarded;

       e.     Ordering Polaris Industries, Inc. and Polaris Sales, Inc. to pay attorneys’ fees

and costs of suit; and

       f.     Ordering such other and further relief as may be just and proper.

                                  IX. JURY DEMAND

       Plaintiffs hereby demand a trial by jury on all issues so triable.




                                             199
    CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 200 of 202




DATED: May 14, 2019

                                        /s/ Karl L. Cambronne
                                        Karl L. Cambronne
                                        Bryan L. Bleichner
                                        Jeffrey D. Bores
                                        CHESTNUT CAMBRONNE, PA
                                        17 Washington Avenue North, Suite 2200
                                        Minneapolis, Minnesota 55401
                                        Telephone: 612-339-7300
                                        kcambronne@chestnutcambronne.com
                                        bbleichner@chestnutcambronne.com
                                        jbores@chestnutcambronne.com

                                        Plaintiffs’ Liaison Counsel

                                        Adam J. Levitt
                                        John E. Tangren
                                        Daniel R. Ferri
                                        DICELLO LEVITT GUTZLER LLC
                                        Ten North Dearborn Street, Eleventh Floor
                                        Chicago, Illinois 60602
                                        Telephone: 312-214-7900
                                        alevitt@dicellolevitt.com
                                        jtangren@dicellolevitt.com
                                        dferri@dicellolevitt.com

                                        W. Daniel “Dee” Miles, III
                                        H. Clay Barnett, III
                                        BEASLEY, ALLEN, CROW,
                                        METHVIN, PORTIS & MILES, P.C.
                                        272 Commerce Street
                                        Montgomery, Alabama 36104
                                        Telephone: 334-269-2343
                                        Dee.Miles@Beasleyallen.com
                                        Clay.Barnett@BeasleyAllen.com




                                  200
CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 201 of 202




                                    Roland K. Tellis
                                    David Fernandes
                                    BARON & BUDD, P.C.
                                    15910 Ventura Boulevard, #1600
                                    Encino, California 91436
                                    Telephone: 818-839-9698
                                    rtellis@baronbudd.com
                                    dfernandes@baronbudd.com

                                    Plaintiffs’ Interim Co-Lead Counsel

                                    Roger A. Dreyer
                                    Christopher W. Wood
                                    Robert Bale
                                    DREYER BABICH BUCCOLA WOOD
                                    CAMPORA, LLP
                                    20 Bicentennial Circle
                                    Sacramento, California 95826
                                    Telephone: 916-379-3500
                                    rdreyer@dbbwclaw.com;
                                    cwood@dbbwclaw.com

                                    Kirk J. Wolden
                                    Clifford L. Carter
                                    CARTER WOLDEN CURTIS, LLP
                                    1111 Exposition Boulevard, Suite 602
                                    Sacramento, California 95815
                                    Telephone: (916) 567-1111
                                    cliff@cwclawfirm.com,
                                    kirk@cwclawfirm.com

                                    Courtney L. Davenport
                                    THE DAVENPORT LAW FIRM LLC
                                    18805 Porterfield Way
                                    Germantown, Maryland 20874
                                    Telephone: 703-901-1660
                                    courtney@thedavenportlawfirm.com




                              201
CASE 0:18-cv-00939-WMW-DTS Doc. 70 Filed 05/14/19 Page 202 of 202




                                    Charles E. Schaffer
                                    Daniel C. Levin
                                    LEVIN SEDRAN & BERMAN, LLP
                                    510 Walnut Street, Suite 500
                                    Philadelphia, Pennsylvania 19106
                                    Telephone: 215-592-1500
                                    cschaffer@lfsblaw.com
                                    dlevin@lfsblaw.com

                                    Additional Counsel for Plaintiffs and the
                                    Proposed Classes




                              202
